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EXHIBIT C
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First Judicial District of Pennsylvania

51CR00034302009
Johnathan Robins

Trial: (Jury) Volume 3
March 11, 2010

First Judicial District of Pennsylvania
I 00 South 3 road Street, Second Floor
adelphia, PA 19110

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51CR00034302009
Johnathan Robins

Page {
{i]
2] IN THE COURT OF COMMON PLEAS OF PHILADELPHIA
[3] FIRST JUDICIAL DISTRICT OF PENNSYLVANIA

[4] CRIMINAL TRIAL DIVISION
{5}
COMMONWEALTH
7]
VS.

(8 ‘
JOHNATHAN ROBINS — ;: CP-51-CR-0003430-2009
{9}

[10]

[11] Courtroom 901 Justice Center °
Philadelphia, Pennsylvania
{12] Thursday, March 11, 2010
(13) -
[14] BEFORE: HONORABLE CHARLES J. CUNNINGHAM, Ii!
AND A JURY /
{15}
(16] CASE IN CHIEF .
(17] ve .
[18]
[19] (VOLUME 1)
[20}
[21]
[22]
[23]
[24]
{25]

Carl G. Sokolski
Official Court Reporter
(215) 683-8060

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Liles

Trial (Jury) Volum, ;

March 11, 2070

(1) .
2 APPEARANCES:

Bl

4] MICHAEL STACKOW, ESQ.

o Assistant District Attomey

) Counsel for the Commonwealth

[6] JOHNATHAN ROBINS, Pro Se
oy THOMAS L. McGILL, JR., ESQ.

7] _ Counsel for the defendant

J eee
Gi COMMONWEALTH'S EVIDENCE DIRECT CR REDR RECR
[10] Ericka Johnson 39 97 ,
“Lucille Freeman 170 189
[4] Officer Brian Mort = 222 235
[12] DEFENDANT'S EVIDENCE
[13] Michael M. Ward 240 255 259 260
261

5] . EXHIBITS

[16] NO. MARKED

{17] C-t., Statement of Ericka Johnson 95
C-2. Statement.of Lucille Freeman 184
[18] C-3° Police Form 75-48 22)
C-4 Police Form 75-229 232
{19] :

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[1]

(2] PROCEEDINGS. 24

13] THE COURT: Mr. DeFino, are all

[4] our jurors here in the back?

[5] COURT CRIER: Yes. Do you want

[6] me to line them up?
7 THE COURT: What have you got?

8] COURT CRIER: Your Honor,

[9] defense has a motion.

[10] THE COURT: Okay.

[11] THE DEFENDANT: To allow prior

[12] sexual contact. ,

[13] THE COURT: We haven't started

[14] the case yet.

[15] THE DEFENDANT: | just wanted

[16] to make sure..

[17] THE COURT: We haven't started

[18] the case yet.

{19} THE DEFENDANT: Sony, sir.

[20] THE COURT: We can go on the

[21] record. In Commonwealth versus Johnathan
[22] Robins, Mr. Robins handed up a motion to the
[23] Court. Does the Commonwealth have a copy of
[24] this?
[25] MR. STACKOW: [| do.

Cari G. Sokolski

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oe

2 ET
iE.COURT:
‘Ou client's motion?

¢GILL: | have, Your

1 [6] THE COURT: What's the

[7] Commonwealth's position?

[8] MR. STACKOW: Your Honor, our
[9] position is this is improper rape shield
[10] evidence that the defendant is trying to
[11] introduce, that this is evidence of other -

"(123 sexual activity just for the purpose of

[13] showing that she was having or purportedly
[44] having:a history ~
145] _ THE COURT: | don't know
tis] anything about this case so far except for the
[17] thumbnail sketch that you gave the panel.
[18] MR. STACKOW: Right.
[19] THE COURT: But some of the
[20] offenses, maybe all of the offenses, | don't
[21] know, hinge on age, right?
[22] “MR. STACKOW: Correct.
[23] :THE COURT: There was a baby
[24] born?
[25] MR. STACKOW: There was.
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_ [1] U1]

2] ° THE COURT: Are you going to ’ | [2] understand how any of this is relevant to the

[3] have DNA? [3] issue in this case. In some cases, some

4] MR. STACKOW: There is no DNA [4] sexual assault cases, there may be other

[5} evidence. [5] issues. In this case, is there any charge

[6] THE COURT: Why not? [6] before this jury that is not going to be

1 MR. STACKOW: Because there's [7] determined simply by the age of the two

[8] going to be substantial evidence that the [8] parties and sexual contact?

[9] defendant at every step has acknowledged that [9] MR. STACKOW: No. The only

[10] the baby was his. [10] tangent to that is a potential mistake of age

[11] THE COURT: So you have [11] defense that the defendant may have under two

[12] statements by the defense as far as the [12] of the charges, at least, the statutory sexual

[13] identity of the child's father. [13] assault and the involuntary deviate sexual

[14] MR. STACKOW: The father, [14] intercourse. The subsection of those charges

[15] that's right. [15] is that the defendant or that the complaining

[16] THE COURT: And for proof of [16] witness was less than sixteen.

[17] the child's mother, what do you have for that? [17] THE COURT: Let's just for my

[18] _. MR. STACKOW: Well, the mother [18] benefit go through these.

[19] is going to testify. [19} MR. STACKOW: Yes.

[20] - THE COURT: Okay. [20] THE COURT: You have five

[21] MR. STACKOW: She's going to [21] charges specified, counts one, two, three,

22] four and five. Is that what those —
MR. STACKOW: That's right.
THE COURT: They refer to the

[22] testify about the birth and the relationship
[23] that she had with the defendant prior fo the
[24] birth and after.
[25] THE COURT: I'm just trying to
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[1]

[2] MR. STACKOW: Yes.
[3] ' THE COURT: All right. So
[4] involuntary deviate sexual intercourse. Yo

TAGKOW: The same ages
oluntary deviate sexual

4]. intercours

[5] don't have to show forcible compulsion if the — 5] THE COURT: So it’s under

{6} ages are what? [6] sixteen. And is mistake of age a defense?
[7] MR. STACKOW: If the ages are, [7] MR. STACKOW: It is in that

[8] and tailored to this case, the child was less [8] case.

[9] than sixteen years of age and the defendant [9] THE COURT: Corrupting morals
[10] was four or more years older than her. [10] of a minor is also what? Under eighteen?
(11] THE COURT: And is there a [11] MR. STACKOW: Itis. .
[12] defense of age available under that statute? [12] THE COURT: And there's no
[13] MR. STACKOW: There is. It's [13] mistake of age there either, is there?
[14] the defendant's burden to prove that he , [14] MR. STACKOW: That's right,
{15] reasonably believed that the child was sixteen [15] there is not.
[16] or older. . - 0 - 16] THE COURT: And interference
[17] ‘ THE COURT: Okay. -And then [17] with the custody of a child.
[18] unlawful contact with a minor. What's the - 118] MR. STACKOW: That's right.
[1 9] age? [19] THE COURT: You're also moving
120] MR. STACKOW: That's just an [20] on that?
[21] adult having contact for a particular purpose [21] MR. STACKOW: Yes.
22] with a person Jess than eighteen. There is no [22] THE COURT: And is there an age
[23] mistake of age defense for that. [23] in there?

[24] THE COURT: Statutory sexual (24] MR. STACKOW: No, not as far as
[25] assault. [25] a mistake of age defense would go, Your Honor.

o Carl G. Sokolski Carl G. Sokolski
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[f] [1]
2] THE COURT: So if you interfere - [2] was: and she wanted to basically go and have
[3] with the custody of anyone under the age of [3] other sexual relationships outside the

[4] eighteen? [4] marriage, you know. The marriage just really
[5] MR. STACKOW: What we would [5] fell apart.

[6] have to show is that the defendant took or [6] So the reason why | want to say

[7] enticed the child from the lawful custody ofa [7] evidence of other sexual history is because,

[8] parent. [8] like | said, I'm trying to show that mistake

[9] THE COURT: What's the [9] of age, that if she goes out with other adult

. [10] definition of a child? [10] males, | have other proof that she purportedly

[14] MR. STACKOW: Less than [11] put herself out as above, as basically when we
[12] eighteen. [12] first met she said she was nineteen. So | met
[13] THE COURT: Okay. I'll hear [13] her on an adult phone line, you know, so, and
[14] from the defense, Mr. Robins, if you want to [14] she was on a dating adult phone line for

[15] make argument. How is any of this relevant? [15] eighteen and up, you know, that | just

[16] | mean what is — [16] happened to call on a humbug and met her. And
[17] THE DEFENDANT: Because when | [17] showing that she tried to go out and date
[18] first met her she was dating adult males to [18] adult men is | think part of my defense that,
[19] begin with. [19] you know, | mistook her age.

[20] THE COURT: Yes? [20] THE COURT: Well, if he does.

[21] THE DEFENDANT: And also while [21] not ask her any questions about sexual

[22] we were together and married, she had an 22] activity, if he only asks her questions about
[23] affair with another adult male, you know, 3] being in the company of adult males and

[24] which, you know, the marriage really, you presenting her age to those adult males,

[25] Know, fell apart once I found out how ol ti

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I] “

[2] was, for eighteen and up and represe r adult men too, don't

[3] people that she was older than eighteen jon't you tell them that

[4] does not ask any questions or attempt t 1;-nineteen, twenty years old?

[5] introduce any evidence about sexual activity, 5] MR. STACKOW: See, | think that

[6] how is it precluded by the rape shield law? [6} would be improper.

[7] MR. STACKOW: Well, | don't 7] THE COURT: It's dating. It's

[8] think that would be precluded by the rape [8] not sexual contact.

[9] shield law but then we get into, what it [9] MR. STACKOW: Unless there's

[10] sounds like is just hearsay and essentially [10] some. First of all, [ think that it should be

[11] rumor or suspicion on behalf of the defendant [11] limited to the time frame. It doesn't matter

[12] unless he — [12] what she's doing now, certainly. But if he's

[13] THE COURT: No. He's saying [13] saying that at the time that he was having a

[14] that he has a good faith — [14] sexual relationship with her that she was also

[15] MR. STACKOW: Unless he has [15] having intimate relationships or —

[16] some firsthand knowledge. 16] THE COURT: He's not going to

[17] THE COURT: — that he has a [17] say anything about intimate relationships or

[18] good faith basis to ask questions on cross [18] sexual conduct. He's going to to ask her

[19] examination: Isn't it true that we met on an [19] questions and maybe introduce evidence. |

[20] adult date line? [20] don't know what his witnesses are going to

[21] MR. STACKOW: Right. [21] say, but produce evidence that she tells

{22} THE COURT: Yes. Isn't it true [22] everybody that she's nineteen years old.

[23] that you have to represent that you're over [23] THE DEFENDANT: Because, like,

[24] eighteen to get on that line? Yes. Did you [24] | showed him a paper of when | got out of

[25] represent you were over eighteen? Yes, | did. [25] prison in August. | made a copy of her

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[1]
[2] if any of this was relevant to the crime
[3] charged and possible defenses. /
(4) THE DEFENDANT: Okay.

[5] THE COURT: But anything you
[6] want to introduce, that's why Mr. McGill is

[7] there to help you do that.

[8] THE DEFENDANT: .Okay. Yes,

19] sir.

[10] THE COURT: Anything else

[11] before we bring in the jury?

[12] MR. STACKOW: Can | just

[13] finish, have thirty seconds to finish talking

[14] to the complaining witness so she knows that .
[15] she's going to be testifying in about five or

[18] ten minutes?

[17] THE COURT: Okay. Yeah, go
[18] ahead.

~ [19] MR. STACKOW: Thank you.
[20] (A brief recess was taken.)

[21] MR. STACKOW: Thank you, Your
22] Honor. We're ready.

[23] THE COURT: Okay. So my

[24] understanding is you're going to open to the
[25] jury now. Mr. Robins, you are not going to
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u_ present your case, right?
H FENDANT: Yes.
HE-COURT: All right.
MR. McGILL: Judge, with regard
[6] to that, | don't know if Your Honor feels a
[7] record is necessary. Mr. Robins and | have
[8] discussed certain strategies and | made
[9] certain suggestions, some of which Mr. Robins
[10] has followed, some of which he's decided not
[11] to follow. So I don't know if it's going to
[12] be necessary to make any sort of record, if
[13] Your Honor feels that should be something that
[14] we should anticipate for down the road or.
[15] THE COURT: What kind of a
[16] record do you want to make? Yesterday he .
[17] indicated his choice. I told him he could
[18] discuss that with you and | recommended that
[19] he do discuss things like trial strategy with
[20] you. So it's one of those decisions that some
[21] people would open at the beginning and others
[22] would open at the beginning of the defense.
[23] It's a strategy. There is no right or wrong
[24] way to do it.
[25] When | was doing defense work I

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_ 17 [1]
“(2] MySpace page, which she's on there for dating. ‘| [2] It's called the rape shield law. And really -
[3] She's now on MySpace. She says she's nineteen [3] what your defense in this case is, what | hear
[4] on her MySpace pace. [4] you saying, is it's a mistake of age case and
5] THE COURT: Well, that gets [5] you want to be able to show that not only did
[6] into other issues of, you know, whether that's 1 [6] she tell me she was nineteen, everybody
,(7] admissible for other reasons. You should [7] thought she was nineteen. Anybody who wanted
[3] discuss that with your lawyer and he'll help {8} to know her age, she said she was nineteen.
{9] you find a way to get that into evidence. But [9] THE DEFENDANT: | introduced
[10] as long as he's not asking her questions about [10] her to all of my friends, everybody.
[11] or trying to introduce evidence of sexual [11] THE COURT: Okay.
[12] activity, then anything that goes to her [12] - THE DEFENDANT: One other
[13] misrepresenting her age is admissible, | [13] thing. A few other things. | also want to
[14] believe. [14] introduce like when she first came to me, when
[15] MR. STACKOW: Very good. Very [15] she first carne to me she was telling me about
[16] well. [16] like how bad a life she had, the abuse from
[17] THE COURT: Do you understand [17] her mom, the abuse from her dad. And | was
[18] the Court's order? i[18] thinking that some of that might have been the
[19] THE DEFENDANT: Yes. 149] reason why she tried to get away from that
[20] THE COURT: Anything you want [20] type of lifestyle, because --
[21] to ask her about misrepresenting her age, if [21] THE COURT: Mr. Robins, in
[22] you have a good faith basis to ask if, you can 22] terms of what you want fo present as a
[23] ask if. You are not to ask her any questions 23] defense, you should really be talking to Mr.
[24] about sexual history or activity. There's a AcGill. The only reason any of this came up
[25] specific exclusion for that kind of eviden Ve u had a motion and | had-to see
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I] [1]

[2] would always open at the beginning of a trial [2] - THE DEFENDANT: No.

[3] for two reasons: Number one, | didn't know if [3] COURT CRIER: Please remain

14] | was going to put on a defense and, number [4] seated as the jury enters the courtroom.

[5] two, | wanted to make sure the jury knew that [5] (Jury summoned.)

[6] there was something coming, that they weren't [6} COURT CRIER: All present, Your

[7] just listening to the Commonwealth's case and [7] Honor. Your Honor, may | swear in the jury?

{8] thinking that there was no defense. [8] THE COURT: Sure.

[9] On the other hand, if you open (33 COURT GRIER: Jurors, please

[10] af the beginning of the trial, by the time you [10] all rise. Please raise your right hands. / '

[14] put your defense on, you might wish you could [11] You do solemnly swear by

[12] say things differently or present things

[13] differently.

[14] So it's strictly up to you.

[15] There's no right or wrong way to do it.

[16] MR. McGILL: Thank you, Your

[17] Honor.

[18] THE COURT: But the plan

[19] currently is Mr. Stackow will open and defense

[20] will open at the beginning of the defense; is

[21] that right?

[22] THE DEFENDANT: Yes.

[23] THE COURT: Okay. Any reason

[24] we can't bring in the jury?

[25] MR. STACKOW: No, Your Honok
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[12] almighty God and those who affirm do declare
[13] and affirm that you will well and truly try

[14] the issue tried between the Commonwealth and
[15] the defendant, Johnathan Robins, and a true
[16] verdict render according to the evidence? You

[17] do?
[18] JURY COLLECTIVELY: Yes.
[19] THE COURT: You can have a

[20] seat. Mr. Robins, please stand up. Sir,
[21] please state your name. Spell your last name

3 THE DEFENDANT: Johnathan
Robins. R-O-B-I-N-S.

_ (Defendant sworn.)

kolski

Reporter

Page 20
[1]
[2] COURT CRIER: Johnathan Ri
[3] to this Common Pleas docket number CP=
[4] 0003430-2009, charging you with involunt not guilty to all charges and
[5] deviate sexual intercourse, how do you plead? [5] wishes to be tried by this jury. You may have
[6] THE DEFENDANT: Innocent. | [6] a seat.
[7] COURT CRIER: To the same [7] THE COURT: Good morning,
[8] Common Pleas docket number, charging you with [8] ladies and gentlemen.
[9] unlawful contact with minor, how do you plead? [9] JURY COLLECTIVELY: Good
[10]. THE DEFENDANT: Not guilty. [10] morning.
[11] ' COURT CRIER: To the same _ [11] THE COURT: This is the ©
[12] Common Pleas docket number, charging you with [12] beginning of the process and there are just a
[13] statutory sexual assault, how do you plead? [13] few things | want to tell you now that you
[14] THE DEFENDANT: Not guilty. [14] have been selected for the jury and you are
[15] | COURT CRIER: To the same [15] the fourteen who are actually now sitting in -
[16] Common Pleas docket number, charging you with [16] the box. :
[17] interference with custody of child, how do you [17] We're going to begin this
[18] plead? . [18] morning with opening speeches. Mr. Robins has .
[19] THE DEFENDANT: Not guilty. [19] chosen not to give an opening statement, which
[20] COURT CRIER: To the same [20] is the defense choice. They can either open 1
[21] Common Pleas docket number, charging you with [21] at the very beginning of the trial or they can .
[22] corruption of a minor, how do you plead? [22] wait until it's time for the defense case and
[23] THE DEFENDANT: Not guilty. 123] then they can open at the beginning of that “
[24] COURT CRIER: How do you wish [24] case. So the only opening you'll hear this
[25] to be tried? By judge or jury? [25] morning is from the District Attorney. *
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[1] [1]
“[2] : Any time a lawyer speaks to’ ‘(2] first witness, or. Well, that's what he’s

[3] you, what they're telling you is not evidence.
[4] It's only evidence when you hear it from the
[5] witness stand. And if any lawyer in speaking
[6] to you were to touch upon the law, -- and when
.(7] | say lawyer I'm also including Mr. Robins
[8] because he's acting as his own lawyer in this
[9] case — if a lawyer touches upon the law, says ©
10] anything about the law and it disagrees with ~
[11] what I tell you, well, they're wrong and I'm —
{12] right.
[13] So if they can't give you the
[14] evidence and if they can't give you the law,
[15] why are they talking to you? Well, they're
[16] talking to you for a very good reason, and you
[17] should listen to the speeches of counsel
[18] because what they can do for you at this point
[19] is give you an overview of what's coming in
[20] this trial. So Mr. Stackow can explain to you
[21] what the Commonwealth's case is about.
[22] Sometimes when witnesses are
[23] presented, they're not presented in the most
[24] logical order or you have to wait until you
[25] hear the second witness to understand
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(3] going to try to resolve this morning. He's

[4] going to strive to give you an overview of his

[5] case and let you know where the Commonwealth
[6] is going in this trial. And it can be very

[7} helpful in that regard and so you should pay |

[8] attention to what he has to say.

| [9] After the opening address by

[10] the District Attorney, we'll begin with the

[11] evidence. The Commonwealth will call a

[12] witness or more. The District Attorney will

[13] ask questions. Defense counsel will have an
[14] opportunity to cross examine. While a witness
[15] is testifying, you should be listening to what

[16] that witness says and looking at the witness,
117] because ultimately you have to judge the

[18] credibility, the reliability of what that

[19] witness is testifying to.

[20] 1 think that this layout of

[21] this courtroom speaks volumes as to what your

:1[22] role is and my role. Your role is to find

23] facts, and that depends on the witnesses,
which i is why you have the best seat in the

[4]
[2] witness and have an opportunity to not
[3] hear everything the witnesses says but
[4] observe the witnesses as they testify. | on
{5] the other hand, most of the time I'm looking
[6] at somebody's baid spot. | don't have a real
[7] good look at the witness. But that's not my
[8] job. I'm not here to judge credibility.
[9] Instead, | have this big desk with a lot of
[10] law books on it because my job has to do with
[11] the law.
[12] In Pennsylvania, jurors are
[13] allowed to take notes. In this case we're not
[14] going to do that because the evidence is not
[15] going to be that long or that complicated.
[16] And from your experience in school, you know .
[17] what can happen. You know that if you're
[18] taking notes sometimes your head is down,
[19] you're writing away, you're not looking at the
[20] teacher because you want to get down what the
[21] teacher is saying. If you're doing that,
722] you're not doing your job as a juror. You
[23] need to listen to and also look at the
[24] witness.
[25] After you've heard all the
eo Carl G. Sokolski
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hatever evidence is going to be
SE «case, the lawyers will have
ay an opportunity. to speak to you again at the
i5] end of the trial and then | will address you
[6] on the law, give you final instructions on it,
[7] on the law of this case. Until you get the
[8] whole package, you have to keep an open mind.
{9] I'll remind you one more time,
[10] when you leave the courthouse you can't go
[11] discuss this case with outsiders. You
[12] shouldn't even discuss it with each other
[13] until you go back to deliberate, because you
[14] have to wait until you've gotten everything
[15] and that won't be until finally when you go
[16] back to deliberate.
[17] Sometimes during testimony you
[18] may see a stenographer raise their hand and
[19] stop a witness because they didn't hear
[20] something. Somehow it got garbled. Maybe a
[21] lawyer was talking over the witness or maybe
[22] the witness just lowered their voice or for
[23] whatever reason the stenographer wants to make
[24] sure that he gets down what the witness is
[25} saying. Well, you're just as important as the
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[1] 11]

[2] stenographer. - So if a witness gets on the [2] case. - :

[3] witness stand and for whatever reason you 3] ] see that everybody is wearing

[4] can't hear what that witness is saying, you

[5] have fo let us know. If you raise your hand,

[6] what should happen is one of the court

[7] officers should come over fo you and ask you
[8] what's up, and if you explain to the court

[9] officer | can't hear or | need a drink of

[10] water or you would like us to take a break,

[11] I'd like to go back and use the restroom, we
[12] try to minimize the level of torment that

[13] you're going to have to endure on this jury.
[14] So if there's something that we can do to help
[15] you in that regard, you just have to let us

[16] know and one way to do that in the box is you
[17] can raise your hand and tell us what the

[18] problem is. But it's important that you pay
[19] attention and that you're able to hear

[20] everything the witness has fo say.

[21] | told you before that

[22] everything you get in this case has to come to

[23] you in this courtroom. So over lunch, when we .

[24] break for the day, at any time, you're not to.
[25] go out and do your own investigation in. fh
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14] their juror badges, | think. Okay. And

[5] that's important. The reason we put the badge
[6] on you is so that when you're in the elevator,
[7] for example, you've all had this experience,

[8] I'm sure, you get on the elevator or you walk
[9] into a room and you see somebody.. You khow
[10] you know them. You don't know where you, know
[11] them from. And we want don't people saying
[12] did we go to school together and then within
[13] ten seconds everybody realizes, no, you're on
[14] the jury and this is a witness or the judge

[15] or. So you wear the juror badge. That lets
[46] everybody know that you're a juror here in the
[17] courthouse.

[18] | can tell you that both of

[19] these lawyers, | don't know Mr. Robins well
[20] but | know Mr. McGill and I know Mr. Stackow,
121] they're both very friendly people and on a

22] given day | can be half friendly myself.

3) However, if we see you in the hallway, we're
not going to say hello. We're not going to

Ik to you. -And.the reason for that is very
kolski

Reporter

[1] :
[2] simple. When this case is all over, whateve
[3] you may do, whatever your verdict may
[4] nobody wants somebody coming back ant
[5] well, of course that was the jury's verdict, |
[6] saw the jurors, they were out in the hallway
[7] talking to whomever. So when we don't say
[8] hello, there's a good reason for that.
[9] And one final caution and that
[10] is if anyone comes up to you and wants to talk
[11] fo you about this case, if you're approached
[12] by anybody and they say they want to tell you
[13] something about this case, talk fo you about
[14] this case, they indicate any interest at all |
[15] in this case, you're to report that
[16] immediately to a court officer the first
[17] opportunity you get because that can be very
[18] serious.
[19] And with that, Mr. Stackow, are
[20] you prepared to address the jury?
[24] MR. McGILL: Excuse me, Your
[22] Honor. , ‘
[23] THE COURT: Mr. McGill, do you
[24] have something?
[25] MR. McGILL: Yes, sir. Would

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MR. STACKOW: Your Honor, I'm

rT]
‘| [6] sorry. Mr. McGill raised a concern. Was the

[7] jury sworn?
[8] THE COURT: Mr. DeFino, did you
[9] forget the swear the jury in?
[10] COURT CRIER: I swore them in,
[11] Your Honor.
[12] MR. STACKOW: Sorry about that.
[13] My apologies.
[14] THE COURT: You remember. You
[15] were sworn, right?
[16] | A JUROR: Yes.
[17] . THE COURT: That kind of stuff
[18] happens all the time and that why there's a
[19] judge, two lawyers and staff in the courtroom,
[20] because sometimes people do forget things and
[21] we're here to keep a check on each other. So,
[22] Mr. Stackow?
[23] MR. STACKOW: Thank you. And
[24] may it please the Court. Mr. Robins and Mr.
[25] McGill as well. Good morning, ladies and

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[4] [1] .

[2] gentlemen. [2] say that because once you hear all of the

[3] JURY COLLECTIVELY: Good [3] facts, all of the witnesses today, and then,

[4] morning. [4] whether it's later today or at some point

[5] MR. STACKOW: As | mentioned [5] tomorrow, His Honor's instructions on the law,

[6] yesterday, my name is Michael Stackow. I'm
.[7] the Assistant District Attorney that's going
[8] to be presenting this case on behalf of the
[9] Commonwealth. And, you know, | say it that
[10] way that we're going to be presenting this
[11] case. Obviously | represent the Commonwealth
[12] in its entity of all of us, meaning all of us
[13] citizens of this city and to a larger degree
[14] the Commonwealth. But! say it in that way
[15] because I'm going to be calling witnesses and
116] it's your job, as His Honor has told you, to
[17] listen very carefully to the testimony.
(18} This isn't going to be a
[19] lengthy case. This isn't a factually complex
[20] case, to be perfectly up front with you.
[21] There are certain facts that you may find are
[22] in dispute, but I think at the end of the day
[23] as the evidence is presented you'll realize
[24] that there's very few essential facts that a
[25] going to be in dispute in this case. An
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[6] it's going to be very clear exactly the crimes
[7] that have been committed in this case.
[8] Let me explain a little bit
[9] what | mean by that. The Commonwealth has
[10] brought five criminal charges against the
[11] defendant, Mr. Robins. He's charged with a
[12] crime called involuntary deviate sexual
[13] intercourse. He's charged with unlawful
[14] contact with a minor. He's charged with
[15] statutory sexual assault. He's charged with
[16] interference with the custody of a child, as
[17] well as corrupting the morals of a minor. And
[18] all of these charges are dependent on the
[19] defendant being an adult and the complaining
[20] witness or the victim or in this case Ericka
[21] Johnson being a child. We have these laws and
22] there's other laws like that, specifically in
23] Pennsylvania and in most if not all of the

i tates j in our country, . Piro children.

[1]
[2] in this case is that there was a relations
[3] between the defendant and Ericka, that
[4] relationship turned intimate or sexual, that” -
[5] Ericka actually became pregnant because of the
[6] sexual relationship with the defendant and had
[7] this child, and that for periods of time, some-

[8] extended periods of time, they were living

[9] together or essentially living together. This
[10] is while Ericka was in seventh grade at Upper
[11] Darby High School.
[12] Some of the evidence you will
[13] hear, you might scratch your head and ask
[14] yourselves, wow, why did you do that, Ericka,
[15] or where was your mom? Why would she let you
[16] do that? And that's a natural reaction to ©
[17] have. But what it comes down to is that fhe
[18] overall reason why we have crimes like this on
[19] the books is to protect children from making
[20] the immature or, frankly, stupid decisions
[21] that kids can make.
122] Ericka was fourteen at the time
[23] that she met that man, Johnathan Robins, on a
[24] telephone chat line just around December ‘06
{25} into January of ‘07. And they actually werit

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is} ‘$0 you know, tn m n fourteen. He said that's,
[6] okay, I'll still treat you well. And the
[7] evidence is going to show that in fact he did.
18] He bought her things, paid to get her hair
{9] done, and Ericka will say that she liked that.
[10] She enjoyed that she could have some nice
[11] things and look good to go fo school, you
[12] know. All along she told him how old she was
[13] and even his own common sense would have told
[14] him he new exactly how old she was.
[15] And then in May of 2007 the
116] evidence will show that she became pregnant
[17] and during the course of the pregnancy, things
[18] really changed as if the defendant started
[19] treating her differently, no longer paying for
[20] the things to keep her around or to make her
[21] feel good or look good or getting her hair
[22] done.
[23] Ericka will do her best as soon
[24] as I'm done talking to explain some of the
[25] things she did or what was going through her
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[1]
[2] eleventh of last year, the evidence will
[3] that the police came out trying to resolve ‘the
[4] dispute, but when these police officers ***
[5] realized exactly how old the defendant was ahd
[6] here was a man saying this is my child, that's
[7] the mother, | don't want to give the child to
[8] the mother, and the police officers realized
[9] exactly how old Ericka was, putting fwo and
[10] two together, they realized that a crime had
[11] been committed simply with the sexual
[12] relationship and the birth of little
[13] John-John.
[14] That's essentially the facts,
[15] ladies and gentlemen. And as | said earlier,
[16] 1 think you'll find that most if not all of
[17] those facts are not going to be in dispute.
[18] And once you find those facts, if you find
[19] those facts, apply them to the law, that the
[20] defendant was an adult, he was forty years
[21] old, Ericka was a child less than sixteen and
[22] they had a sexual relationship, he's guilty.
[23] He's guilty of the involuntary deviate sexual
[24] intercourse. He's guilty of corrupting the
[25] morals of a minor. He's guilty of statutory

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[1] [1]

[2] head at different times. And as | said [2] to shake your head and be like why, why would

[3] before, some of it may not make sense fo us as ‘| [3] you do that? And when you do, I'll just ask

[4] adults and detached adults, meaning we're not, [4] you to think back to what we all know about

[5] you know, personally involved in this case [5] the purpose for these laws.
- [6] other than here in court. And! ask you, if _ [6] So essentially, ladies and

[7] that comes up at any point or when it does [7] gentlemen, you're going to hear from Ericka

[8] come up during, you know, it raises the {8] Johnson and then later on this morning or into

[9] question in your mind, realize that that's why [9] this afternoon her mother, Lucille Freeman.

[10] we have these laws, fo protect kids from [10] She's going to testify she wasn't aware of the

[11] themselves sometimes, to protect them from [11] extent certainly of the relationship, wasn't"

[12] making immature decisions because they don’t [12] aware of it really until after the child was

[13] have the sophistication and the maturity that [13] born.

[14] adults do to make these decisions. It'sto.. [14] You're going to hear from two

[15] protect Ericka from people like Mr. Robins, to [15] police officers, two Twenty-Fifth District

[16] be perfectly honest, from what he did in [16] police officers, because on February eleventh

[17] enticing her, in getting her to the point [17] of last year, 2009, they were called to where

[18] where she agreed to the sexual relationship, [18] the defendant was living on North Eighth

[19] you know, where she wasn't fighting to leave [19] Street because there was a dispute between

[20] and was of the mindset that she thought that [20] Ericka and the defendant about the child, who

[21] that was the best thing to do at least under [21] should have the child. They had sort of

[22] the circumstances and the options that were 2] physically separated the previous August of

[23] presented to her, to continue this 2008, had been sharing custody of little

[24] relationship with the defendant. Johnathan, or John-John, as Ericka calls him.

[25] Again, some of it you're going, nd at this point; you know, on February

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5] because the statutory sexual assault relates

, [6] to the particular form of sexual intercourse,

[7] what we call vaginal intercourse, and I
[8] apologize that we have to be so graphic in
[3] some of these terms, but that's the nature of
[10] this case that's the nature of the law and
[11] that's the nature of what Mr. Robins put
[12] Ericka through when she was only fourteen.
[13] The involuntary deviate sexual
[14] intercourse refers to the oral intercourse
[15] that they had when she was fourteen and he was
[16] forty. The unlawful contact with a minor
[17] refers to the initial contact on that
{18] telephone chat line, because fo prove the
[19] defendant guilty of that we have to show that
[20] he was an adult, that Ericka was a child, and
[21] that he had contact with her for the purpose
[22] of a sexual offense.
[23] interference with the custody
[24] of a child does not refer to little John-John.
[25] It doesn't refer to Johnathan at all. It

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. 11 [1]
12] refers to the defendant enticing or taking [2] Thank you. ,
[3] Ericka away from her mother, from Ericka's [3] Thank you, Your Honor.

[4) mother. And you'll hear evidence that in fact
[5] that was to the degree that in January of
[6] 2008, he actually took her to Missouri
.[7] purportedly to get married while she was eight
[8] months pregnant. .
[9] And then you'll hear about the
110] charge of corrupting the morals of a minor,
[11] which applies to everything that the defendant .
{12] did to corrupt or that would tend to corrupt ~~
[13] the morals of a child, Ericka Johnson.
[14] So thank you, ladies and
[15] gentlemen, for your commitment yesterday, your
[16] promise to be fair and impartial jurors, to
[17] judge this case dispassionately but with a
[18] concerned mind and attentive mind to the
[19] evidence that we'll present. | know that your
[20] commitment will carry throughout the trial to
[21] pay attention, so I'm going to do my best to
[22] not waste yourselves’ or the Court's time, and
[23] | think that you'll find at the end of this
[24] case the facts really aren't in dispute. Th
[25] law is clear and the defendant is guilty.
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[10]

[4] THE COURT: Mr. Robins, at this
[5] time you do not want to open on the jury.
[6] You're going to reserve that until later?
[7] THE DEFENDANT: Yes.

[8] MR. STACKOW: Mr. Stackow, do
[9] you have a witness?

MR. STACKOW: I do.

[14] Commonwealth calls Ericka Johnson to the

[12] stand.
[13}

[14] hallway.
[15] MR. STACKOW: I'm sorry, Your

[16] Honor. It appears maybe the first witness

[17] wasn't directly out in the hallway.

[18] THE COURT: She was out there

[19] earlier before we got started?

[20] MR. STACKOW: She was. | saw

[21] her right before the opening remarks. | could’

COURT CRIER: She's not in the

[1]
[2] room. Do you want to wait for five or:ter
[3] minutes?

[4] MR. STACKOW: | would prefer to™
[5] do that.
[6] THE COURT: All right. Why

[7] don't we let the jury wait in the back.
[8] You're excused.
[9] COURT CRIER: Please remain
10] seated.

[11] THE COURT: -On the other hand,
{12] you just might want to stay here.
[13] MR. STACKOW: Thank you, Your
[14] Honor.
[15] THE COURT: That's all right.
[16] COURT CRIER: Raise your right
[17] hand. Please state your name and spell your
[18] last name for the record.
[19] THE WITNESS: Ericka Johnson.
(20) E-R-I-C-K-A. J-O-H-N-S-O-N.
[21] ERICKA JOHNSON, after having
[22] been duly sworn, was examined and testified as
[23] follows. . .
(24) COURT CRIER: Pull your chair
[25] up. You got to speak into the mike so

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THE COURT: Sure.
MR. STACKOW: Thank you.
DIRECT EXAMINATION

[3] BY MR. STACKOW.

ff Q Good morning, Ericka.
(ioc) =A Good morning.
(114) Q. Can you tell the ladies and

[12] gentlemen of this jury how old you are today?
[13] A. I'm seventeen.

[14] THE COURT: What's your birth

[15] date?
[16] THE WITNESS: 7/30/1992. ©
[17] THE COURT: 7/30/92?

[18] THE WITNESS: Yes.

[19] BY MR. STACKOW:

20] =. Now, do you have a child of

[21] your own?

[22] A. Yes. He's two.

[23] @Q. And what's your child's name?

[24] A. Johnathan Robins, Jr.

(25) + Q. When was Johnathan Junior born?

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[1] Ericka Johnson - direct [1] Ericka Johnson - direct

[2] A. February twentieth of 2008. [2] with you all the time? : -

[3] @. I'm going to ask you just a [3] (A. Yes.

[4] little bit to keep your voice a little bit [47 @Q Okay. Who takes care of him

[5] louder, | think, and you can maybe move the [5] primarily?

[6] microphone a little bit closer to you or slide Ie} (OA. I do.

[7] the chair just an inch, | think would do it. i] @. Do you have a nickname for your

[8] There you go. That should do it. Great. [8] son, by the way?

[9] When was Johnathan born? 19] A. - Yeah.

(io) SOA February twentieth of 2008. (10) Q What?

(11) Q. So he's how old now? (11) A. It's John-John.

[12] A. He just turned two. {127 Q Okay. Does your mom help out

113] Q. Was your pregnancy with [13] sometimes taking care of John-John as well?

[14] Johnathan, was that full term, full nine [14] A. Yes.

[15] months? [i5] Q. How about your little sister?

[ie] A. Yes. [16] A. Yeah.

[17] Q. And does Johnathan live with (177 @ How old is she?

[18] you now? [is] A. She's fourteen.

[19] A. Yes. [ig]°  Q. Let me ask you about John-John

[20] Q. And where do you live now, [20] being born.

[21] Ericka? [21] A. Okay.

[22] A. In Upper Darby. Q. You mentioned it was a full

[23] . Q. And who do you live with? 3] pregnancy. Was he healthy when he was born,

24) A. My mom and my little sister.

[25] Q. Now, your son, does he live he was healthy, but he

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[1] . Ericka Johnson - direct
[2] came out with pneumonia and he staye
[3] hospital for like eight days and then he

[4] home.

[5] Q. Now, who is John-John's father?
[6] A. Johnathan Robins.

7] - @. And do you see Johnathan

[8] Robins?

fg] A. Yes.

[fo] =. Your son's father here in court
[11] today?

[12] A. Yes.

[13] Q Can you point him out for the
[14] jury? ‘
(15) A. Right there.

[16] MR. STACKOW: Your Honor, the

[17] record should reflect she's identified the
" [18] defendant as the father of her child.

[19} THE COURT: Any objection?
[20] THE DEFENDANT: No.

[21] BY MR. STACKOW:

(22) Q. Ericka, was the defendant

[23] present when John-John was born?
24] A. No.
[25] Q. Did he come to the hospital at
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Ericka Johnson * direct

18] was ir in the ospital for about eight days with
[6] the pneumonia; is that right?

[7] A. Yes.

[8] Q. Since then has he been healthy?
9] A. Since he came out the hospital?
fo} «SQ Yes, for the most part.

[it] A. Yeah. You could say that,

[12] yeah.

[13] @. Other than maybe an occasional

[14] cold or ear infection or something like that?
[15] A. He never had none of that.
[ig] Okay. Good. So let me ask
[17] you, then. Now, you said you live in Upper
[18] Darby with your mom and your little sister and
[19] your son. Do you work or go to school now,
[20] Ericka?
[21] A. | dropped out of school and |
[22] work two jobs now.
[23] Q. What jobs do you work?
[241 A. | works at two McDonald's, the
[25] one in Torresdale and | work in the one in

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[6] | only have probably like two or three days

_[7] out the week that | don't got fo go to work.

[8] But | work every day.

gp] 86. Do you work at, some days, do

£10] you work at both McDonald's or ts it just one
[14] or the other? ,
112] A. Some days | work at both of

[13] them. It all depends on how my schedule is.
[14] But most of the time I'm working at both of
[15] them.

[16 Q When did you last go to school?
{17} When was it that you dropped out, Ericka?
[18] A. Around like February. | guess

[19] like February twelfth or something like that.
[20] It was around the middle of the month. It was
[21] 2008 | dropped out.

[2243 @. And why was it that you dropped
[23] out, Ericka?
(24) A. Oh. Because it got difficult,

[25] like. He wasn't helping out. ! thought h
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[1] Ericka Johnson - direct [1] Ericka Johnson - direct
72] Darby. - . [2] was supposed to help. And it got hard and |
3B] @ How many days a week do you [3] just dropped out.
[4] work? 4] @Q. When you say he was supposed to
[5] A. About, | work almost every day. [5] help, who were you referring to?

[6] A. Johnathan Robins.
[7] Q. And what was he supposed to
{8] help with? What do you mean by that?

I} OA He's supposed fo help out with
[10] his child.
[14] Q. How old was John-John when you

[12] dropped out of school?
[13] A. He didn't even turn, he wasn't. -
[14] one yet. He was about eleven months and a
[15] half. He had like at least a week and a half
[16] before his birthday.
[17] THE COURT: I'm sorry. Your
[18] son John-John's birthday is what? February? |
[19] THE WITNESS: February
[20] twentieth of 2008.
[21] THE COURT: 2008.

THE WITNESS: Yes.

THE COURT: And you dropped out
f school in mid-February of 20097
ITNESS: Oh. Yes. I'm

[1] Ericka Johnson - direct
[2] sorry. Yes.
13] THE COURT: Okay.

[4] BY MR. STACKOW:
ff) @ And where were you going to
[6] school when you dropped out?

Ty] =O A. l was going to upper Darby High
[8] School.
iy @Q And what grade were you in,

[10] Ericka?

lit] A. In the ninth.

[12]; Q. Prior fo that, prior to being

[13] in the middle of your ninth grade year, had
[14] you had to repeat any grades in school at all,
[15] Ericka? .
(16) A. The third grade. .

[i7] a. At any point from that third

[18] grade to ninth grade, did you have to repeat
[19] any grades?

(20) ~=«OA. No.
21] @Q. How were you doing in school at
{22] that time? :
[23] «OA. Before | dropped out?
[24] Q. ~— Yeah.
[25] A. Horrible.

. Carl! G. Sokolski

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Like, | couldn't get no

[7] homework done or, like, | couldn't even get up
[8] to go to school because | was tired, and then
[9] | had to keep-arguing with him on the phone.

[6] =A.

109) Q. Who's him?
11] A. Johnathan Robins.
fiz] Q. Take your time, Ericka. I'm

[13] Sorry to ask you some of these questions.
[14] What about in sixth, seventh and eighth grade?
[15] How were you doing in school for those years?

[16] A. | was doing fine.

[17] Q. When you say fine, what do you
[18] mean? What kind of grades did you usually
[19] get?

(20) =A. | always had As and Bs.

[21] @Q. Where did you go before you

[22] went to Upper Darby High School?
[23] A. Beverly Hills Middle School.
[24] It's just around the corner but it's still in
[25] Upper Darby.
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[1] Ericka Johnson - direct [1] ’ Ericka Johnson - direct

27 «a. Okay. Now, let me ask you. © [2] whatever. And then you record your greeting

[3] How was it you met this man, the defendant? [3] and then if you want to send a message out,

4] A. It was off of a chat line. [4] you got to press a button to send a message

Bb] a. What grade were you in in [5] out and then they'll, they'll send a message

[6] school? [6] back to you and you listen to it or you'll

7] A. | was in seventh grade. [7] press a number so you can connect with them,

(3) Q. And was that, what school were [8] like that. :

[9] you going to? [} Q Who were you supposed to

[10] A. Beverly Hills Middle School. [10] connect with on this chat line?

[11] Q. Do you remember exactly when it 4] AL It was, | really don’t connect

[12] was that you met the defendant? [12] with nobody on that line. | would’ probably

[13] A. lt was a little bit after [13] just like send messages out. But, like, it

[14] Christmas going into January first. [14] wasn't supposed to be him.

[15] @Q. And do you recall what year [ts] Q. Is there some age restrictions

[16] that was of January? [16] for the chat line, at least when you were

[i7] A It was fust, it was just in [17] using it back in '07?

[18] 2007 fia) OA. Yeah. You got to be eighteen.

[19] Q. Okay. Now, | want you to [19] Q. How old were you when you were

[20] explain a little bit about this chat line for [20] using it?
[21] the jury. How does the chat line work, first f21q]) A. | was fourteen.

[22] of all’? Q. How did you get to use it if

[23] A. You dial a number. You get on you were underage?

[24] there. It's certain numbers you have to press A. Because it's free to the

[25] to get to, | guess to talk to people,

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[1] Ericka Johnson - direct
[2] pick up the phone and call and they w
[3] even, they won't ask about none of that:
14] Q. I see. So do you recall
[5] exactly how it was that you were connected to
[6] or with the defendant?
[7] A. I'm not that sure, but | know |
[8] didn't press a button fo connect with him. ‘It
- [9} was just probably like a automatically
[10] connect, because it's always been a automatic
[11] connect. But | don't recall touching any
[12] button to connect with him.
[13] Q. Do you recall the first
[14] conversation that you had with.him?
[15] A. Not really. | remember asking
[16] him a question about how old he was and he
[17] wouldn't tell me. So he told me to, with all
[18] the questions | have for him, write them down
[19] on a piece of paper and he was going to meet
[20] up with me and he was going to answer all the
[21] questions. And when | met up with him, he
[22] took me out to dinner and that's when | asked
[23] him all the questions. But most of the
[24] questions, well, most of the questions he did
[25] answer but it took him a long time to give me
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€ hat:you had?

[5] Az Like his age. He took me

[6] around the whole worid just to get his age.

[7] And when | finally found out, we was walking,
[8] | think we was walking out of the place we was
[9] eating and he told me his age, and then | was
[10] like, | was shocked and | was like | don't

[11] Know what to do.

liz] Qa. What age did he tell you that
[13] he was?
[14] A. Thirty-nine. He said he just

[15] got home from jail not foo long ago with
[16] something.

[17] THE DEFENDANT: Objection.
[18] Objection.
119} THE COURT: Okay. The

[20] objection is sustained.
[21] BY MR. STACKOW:
[22] @Q. Ericka, what if anything did
[23] you tell the defendant about your age?
[24] A. Yeah, | did.
[25] Q. What did you tell him?

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_ {1 Ericka Johnson - direct [1] Ericka Johnson - direct
727 A. ‘Itold him! was fourteen. | [2] time? :
[3] said why would -- no. | didn't say like why. [3] A. i don't remember the exact
[4] | just said, like, that's nota problem for . [4] date, but it was a little after Christmas.
[5] you? That's alll kept asking. He said no. b) a. Okay. What else do you recall
[6] He said it wouldn't matter how old you are, if . [6] about that time when you fi rst met up with the
I7] | find a woman | will treat them the same [7] defendant?
[8] because they all get, they all should be [8] AC | really don't know.
[9] treated the same. Or it was something that he ig a What happened after the meal
[io] said. And | was like you right but you, you . [10] that you guys had together?
[113 cid. You not old but you older than me. So, 11] A. We went out. We went down the
[12] like, your age is not, | mean my age is nota [12] street to go watch a movie and then after
[13] problem to you? | felt that kind of weird. [13] that, he went home.
(14) Q. Now, when was it that you had [14] @Q And did you go home at that
[15] that? When did you tell him how old you were? [15] point?
lis] =A. The same day when we was [16] A. Yeah, | went home.
[17] talking on the phone. | didn’t even waste [i7] Q How did you get home?
[18] time about that. | just told him. [18] OA. ] walked. | walked down the
(193 =. Okay. So did he say, mention [19] street.
[20] anything else about your age during that phone [20] Q. Did you have any conversations
[21] conversation or during the time that you guys [21] about your home life with the defendant during
[22] went to dinner? 22] that first time you met up with him?
(23) «OA. No. A. | can't. 1 don't remember if |
[24] Q. Now, when was it that you and did or didn't. | can't remember. But |
[25] the defendant met up in person for the fi wouldn't talk:about no personal stuff the
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[1] * Ericka Johnson - direct
[2] first day.
3] Qa Did you mention where you we
[4] going to school? F
[5] A. No, !| really didn't. 5] Cambria, | think.
[fe] Q. Okay. Now, did you see the [6] @. . And what did this house look
[7] defendant again after that first night? [7] like, Ericka?. The inside of the house.
[8] A. Yeah, probably like, probably [8] A. | really don't know because it
[9] like a couple days later to a week, | guess. [9] was dark. He just took me into the front
fio} =. How was it that you met up that [10} room. The front room was livable. But |
[11] second time? [11] didn't see the rest of the house.
[12] A. Because I had called. | had [127 Q Was anybody else in the house
[13] called him and told him that | wanted my hair [13] besides you and the defendant?
[14] done and he got my hair done for me. So we [14] A. His, his niece was in there
[15] just met up on Sixty-Ninth Street and he took . [15] just for a little bit.
[16] me fo go get my hair done, and after that ! (is) Q. How old was the niece?
[17] went to his house and then from his house | 117] A. She probably like, | think
[18] just went home. 4[18] she's about to be eighteen, nineteen now. I'm
[19] Q. Now, did you actually go inside [19] not sure.
[20] the defendant's house at that time? [20] Q. Did you talk with the niece,
[21], A. Yeah. We watched a movie. [21] the defendant's niece?
22} Q. Do you remember where he was [22] ~~ A. Yeah. We was kind of friends,
[23] living at that time, on what street? [23] like. | don’t hang around girls a lot. But
(24 A, Eighth Street. [24] we was kind of friends.
[25] Q. ts that in Philadelphia? [25] Q. Did you know her or were you
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[1] Ericka Johnson - direct [1] Ericka Johnson - direct

[2] friends with her prior to seeing her at the
[3] defendant's house?

14) A. No. | only knew her from him.
[5] a. | see.

Ie) A. Yeah.

7] @. And did you actually have a

[8] conversation with this niece when you met her
[9] that night?

[10] A. About her uncle?

[114j  Q. Yeah, or just about anything,

[12] actually. Did you guys just talk?

[13] A. Yeah. | talked. | talked

[14] about him to her, and | mean she would say she
[15] don't know or probably try to beat around the
[16] bush about it. But most of the stuff -—-_

[17] THE DEFENDANT: Objection.

[18] It's hearsay.

[19] THE COURT: Yeah. Why isn't

[20] this hearsay?

[21] MR. STACKOW: Because it's not

[22] being offered for the truth. There's no

[23] statements in there by the niece. It was just

[24] to show that they had a conversation, Your

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[2] not bringing out for any substance or any -

[3] truth of the matter. So it's just to show

[4] that they had a conversation, that there were

[5] words back and forth and she didn't know. In
[6} other words, the niece's statement that she

[7] didn't know is not an assertion under the

[8] hearsay rule. There's no statement there so

[g] it's not hearsay.

[10] THE COURT: Hearsay is one of

[11] those terms that people hear even without

[12] coming to court. What hearsay means is --
[13] and this is for the jury's benefit but if ‘

[14] Ericka is listening, that's fine too -- a

[15] statement made by somebody who's not in the
[16] courtroom, and the reason we don't allow those
[17] statements in is that that person is not here
[18] to be cross examined. That person is not here
[19] for you to evaluate their credibility. The

[20] only person that's here is the person saying |
[21] had a conversation with somebody, and they can
22] be cross examined. They can be judged as to
whether they had a conversation. But the
content of the conversation, what the other -
person was.saying, is not admissible.

[1] Ericka Johnson - direct
2] So the objection is a good
[3] objection. Mr. Stackow's explanation, p
[4] much along the same lines as I've just
[5] instructed you on, is that you can consider
[6] that testimony for what it is, a description
[7] of her talking to somebody, a niece, but she's
[8] not allowed to tell you what the niece said to
(9] her and that's just not admissible. Okay?
[10]. MR. STACKOW: Thank you, Your
[11] Honor.
[12] BY MR. STACKOW:
[13] Q. Ericka, where was the defendant
[14] when you were having this conversation with
[15] his niece?
[16] A. He was in the room but, like,
[17] how we was sitting, we was ] guess by the
{18] computer and | would just whisper and stuff to
[19] her. .
[20} Q. I see.
(21), A. And she would answer.
(223 @Q. Now, after that night, was that
[23] the first fime that you had been inside the
[24] defendant's residence?
(25) A. That was like the second time.

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I'm not sure, like, how
5 many ‘days. But it was, it wasn't a while
[6] while but it was probably like a week before |
[7] saw him again. And then --
3] @Q. How is it that-you saw him
[9] again?
(io) =A. Well, at that time we had each
[11] other's phone number. So when I called him
[12] and he wouldn't answer, he would call me back
[13] and I'd be like, well, I'm bored, | ain't got
[14] nothing to do or | want to go shopping, let's
[15] go shopping. He'll take me shopping. But!
[16] didn't think nothing of it because, | mean, _
[17] I'm in school, like. Everybody want to dress
[18] nice. Everybody want to look good. And I
[19] just, like, kept going because | wanted to go
[20] shopping. | wanted things.
[21] @. When you would go shopping, was
[22] it just you and the defendant?
23) A. Yes.
[24] Q. What kind of things would you
[25] go shopping for?

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““¥ohnathan Robins March 11, 2010
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(1 Ericka Johnson - direct [1] Ericka Johnson - direct
2) OA Underwear, bras, like the [2] in Beverly Hills.
[3] uniform khaki pants, the college shirts. 13] THE WITNESS: No.
[41 @. ~Now, when you say uniforms, [4] THE COURT: All right. It's

[5] just so we're clear, are you talking about a
[6] school uniform or some other uniform?

[7] A. Yeah, school uniform.

[3] =. And where did you have to go to
[9] buy the school uniform?

fio) «6A At any store.
(114) Q. Okay.
[12] THE COURT: I'm sorry. |

[13] missed it. You said what school you were
[14] going to at the time, and | don't remember
[15] what the name of the school was.

[16] THE WITNESS: At the time?

[17] Which one? .

[18] THE COURT: Well, at the time
[19] period when you first met Mr. Robins.
[20] THE WITNESS: Oh. Beverly
(21] Hills Middle School.

[22] THE COURT.:. It's called Beverly
[23] Hills?

[24] THE WITNESS: Yes.

[25] THE COURT: Oh, yeah? It's no

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[5] called Beverly Hills Middle School. And
[6] middle school is what grades?

(7] THE WITNESS: It's from six to
[8] eight. ,
(9] THE COURT: Sixth grade to
[10] eighth grade.
1 THE WITNESS: Yes.
[12] THE COURT: And this uniform,
[13] what did this uniform look like?
[14] THE WITNESS: You can wear any

[15] type of pants but it can't be jeans. You can
[16] where any type of shirt but if has to be a
[17] collar to it.

[18] THE COURT: Acollar to it. .

[19] THE WITNESS: Yeah, That was
[20] it.

(21] THE COURT: All right. Thanks.

| THE WITNESS: You're welcome.
1 BY MR. STACKOW:
Whose idea was it to go

[1] . Ericka Johnson - direct
[2] clothes?

B] A. It was me, because | really
[4] needed them.

[5] Q. Did you tell the defendant?
[fe] «OCA. Yeah. | told him | needed them

[7] and he said, | don't remember exactly what he
[8] said but he said | guess give him some time or
[9] something, and then he took me and then we
[10] went. :

[14] @. Did he help you pick out any of
[12] the clothes?
[13] A. No, not really. When we used

[14] to go out shopping he never picked out

[15] nothing. He would just let me go ahead and do
[16] what I wanted to do, and that was it.

[17] Q. Now, at some point, Ericka, did

[18] this relationship that you had with the

[19] defendant move to a physical relationship?

720) «OA. Yeah.

[214] @Q. When did that happen?

22] AL Like around March.

[23] @Q. Of 2007?

(24) «OA Yes.

25) Q. So let me ask you about that
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[8] house?
i] A. Yes. .
3] @. What were you, before anything

[9] that brings us to court happened, what were
[10] you and Mr. Robins doing that day?
[it] A. Well, after | got my hair done
[12] | waited a couple weeks, | guess like a week
[13] and a half. | came home from school. I guess
[14] that weekend, | spent the weekend with him or
[15] a couple days with him. But | was over his
[16] house. We was watching TV, playing music, and
[17] he had went out to get something to eat. And ~
[18] then we came back upstairs, ate and we was
119] still listening to some more music, and then
[20] that's when it happened.
[2147 Qa What room in his house were you
[22] in when it happened? ,
[23] A. The front room.
[24] Q. Now, was this a living room,
[25] bedroom, or some other kind of room?

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[2] jump under the sheet? You don't want,

[3] see you or something? And | was like

[4] kind of nervous. But I don't remember iff

[5] took all of his off. I just remember that |

[6] took mine off and | flew under the sheets real

[7] quick.

jg] =. So did the defendant get into

[9] bed with you at that point?

lio) «OA Yes.

[117 Q. And what did he do once he got

[12] into the bed?

[13] A. Kissing on me, rubbing on me,

[14] touching me. That was it. Until | was like,
[15] | was still scared. [| ain't know. | was /

[16] still shaking. And then that's when we had

[17] sex and then | didn't feel no. | didn't feel

[18] like being scared and all this other stuff. |

[19] just felt like, like damn. Sorry. But! just

[20] had sex. That's how ] felt.

[24] Q. When you say you had sex, did
[22] the defendant's penis actually touch your
[23] body?

(24) A. Yes.

(25) @. What part of your body?

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ib) QF your vagina? Did you say
[6] anything to Mr. Robins after the sexual
[7] intercourse?

Is} A. No. lain't even have much to

[3] say to him after.

fio) «= Did he say anything to you?
id oA. | can't. | don't remember,

[12] because I was knocked out. | was asleep.

[13] @ Okay. Did you sleep in his bed
[14] that night?

fis; AL Yeah.
(is) Q. What happened the next morning?
[17] A.. Oh. Well, | got up, went to

[18] the bathroom, changed my clothes and | was
[19] about to go home. And then | asked him, |
[20] think | asked him for some money. He gave me
[21] the money so | could get on the bus and go
[22] home. And | got ready for school that week
[23] and that was it.
[244 Q. Now, were you living just with
[25] you and your mom and your little sister at

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[1] Ericka Johnson - direct [1] Ericka Johnson - direct
[2] A No. This was a bedroom. [2] happened.
[3] @Q. A bedroom. Bp) Q When you say it happened, did
(4) A. Uh-huh. [4] you and the. defendant have some sort of
5) Q What did the defendant do when [5] intimate?
[6} you were in the bedroom? [6] A. We had sex, yes.
i iOA~ He, he looked funny, fike, like [7] Q. You had sex?
[8] scary to me. [| didn't. | was really nervous. [3] =A. Yes.
[9] | didn't know if something was going to [9] Q. That night?
[10] happen. But | had went over there and sat on [10] ~SOA. Yes.
[11] his lap and then | hugged him and he started iif} @. In that bedroom?
[12] getting a little touchy. And | told him, 12] A. Yes. .
[13] like, | told him | was kind of scared, but [13] Q Were you on the bed or some
[14] then he was like what you need to be scared [14] other part of the bedroom?
[15] for, tike. But then it just happened. [15] A. No, on the bed.
[16 Q. Where was he touching you when [16] Q. Were your clothes on or off,
[17] you were sitting on his lap? [17] Ericka?
[is] OA. On my chest. [18] A. They was off. We turned, |
19] Q Was that where he was touching [19] think we turned the lights off. So | took
[20] you over clothes or on your skin? [20] them off and | went under the sheets real
21} A. No. | was, | had clothes on. [21] quick.
[223 @Q. Now, what happened after he 227) QQ. And what about the defendant?
[23] said there's no reason to be scared or don't What did he do when you took your clothes off
[24] be scared? What happened next? d went under the sheets?
_ 2s) AL And then it just, it just why? He said why you
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[1] Ericka Johnson - direct direct

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[1] Ericka Johnson - direct
[2] said my stuff hurt. He say, | put my fin jers
[3] in your butt and in your vagina. | said, w
[4] And I don't even think he gave me an answe
[5] for that. But | was feeling hurt because,
[6] like, you did that when I was asleep. Why
[7] would you do that? You could have just waited
[8] until ] woke up or not even just touched me,
[9] just let me sleep until | just woke up. That
[10] was it. But he never gave me ah answer why he
(11] did that.
[12] Q. Was that the only other sexual
[13] thing that happened between you and the
[14] defendant is this touching that one night?
(15) A. Yeah, that one night. But when
[16] | was over there probably like a couple weeks
[17] ago, we did have sex. It was the vagina and
[18} it was oral and that was it. lt wasn't
[19] really, like, nothing all too dramatic.
f2o)  Q. When you say oral, do you mean
[21] oral sex, Ericka?
2] A. Yes.
[23] @. When did that happen?
[244 A. lt was before. It was before |
[25] got pregnant.

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e

A got-pregnant Mothers Day.

Q. When's that?
[6s] =A. Mothers Day.

Q Mothers Day.

A Yeah.
[9] *- So I'll ask you about that in a
[10] second. But this oral sex that you mentioned,
[11] it was before Mothers Day. Where were you
[12] when that happened?

p}

[13] A. In his house.
144 Q. Is it the same front room?
115) A In the front room.

(ig) = What were you and the defendant
[17] doing just prior to the oral sex?
[ig] A | don't remember. I don't
[19] remember what happened. But all | know is,
[20} like, we got into it and we had oral sex and
[21] we had sex.
[22] Q. So there was oral sex and
[23] vaginal sexual intercourse, Ericka?
(24) A. Yeah.
(25) Q. When you say oral sex, who was
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[1] Ericka Johnson - direct [1] Ericka Johnson - direct

12] that time? - [2] house?

I] A, Yeah. ] A. Yeah.

4) @Q. Did your mom ask you where you [47 @. By the way, did Shaniqua, do

[5] were or did you say anything to her about [5] you know whether she went to school at that

[6] where you were? [6] time? . .
TOA. She asked me where | was and | i] Az ] don't know. | really didn't

[8] lied to her. | told her ! was over Shaniqua [8] get in her business.

[9] house, his niece house. And she said all i] «36. Okay. Did she live nearby

f10] right, | want to meet her. But by the time [10] where you were living at that time?

[11] Shaniqua got down there to meet me, my mom. was (11) A. What, from Upper Darby? ~

{12] gone. So] called her up and said that she 112] @. Yes.

[13] was here. Well, she was. She was right 113] A. She fived in Philly.

[14] there. | asked did she want to speak to her. 14] Q. So now was that the only time,

[15] She said no. So | just met Shaniqua at [15] the night that you just described for us,

[16] Sixty-Ninth Street and we just went to his [16] Ericka, that you and the defendant had sexual

[17] house. [17] intercourse?

(18) Q. Wait. | just want to be clear. [is] OA. Yeah, at first, that first

[19] | thought | heard you but | may have missed [19] time. But it happened like down the line

[20] it. Who was Shaniqua, again? [20] probably a couple times out of a month, like. -

(24) A. His niece. (21) It wasn't all heavy until | got pregnant. But

[22] Q The defendant's niece? 1122] one night I was over there and I| was, | was

[23] A. Yes. |] asleep. | was in a deep sleep and | woke up

[24] Q Is that the same niece that you and my vagina and stuff was wet and it was

[25] had met the first night you were over his “said, What is going on? |

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(215) 683-8060
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’ Page 73° | Page 74

[1] Ericka Johnson - direct [1] '”’ Ericka Johnson - direct

[2] performing oral sex on whom? 2] +A. Well, | didn't know I was : :

[3] A. It was both. [3] pregnant. | never had morning sickness or

47 @ So what part of his body was [4] nothing, but | started feeling a little sick.

[5] touching your mouth?

[6] (A. His mouth.

[7] Q Okay. But so it was his mouth
[8] on your mouth?

2] A. No, his mouth on my vagina.

[iq] = QQ. I see. And what about, was any

[11] part of his body touching your mouth?

112] A. Yes, his penis.

[13] Q. Was that where his penis went
[14] inside of your mouth for that oral sex?
[15] A. Yes.

[16] Q. Were you guys in the bed or

[17] some other place in the room at that time?

[18] A We was in the bed.

[19] Q. You mentioned that you became
[20] pregnant on Mothers Day?

[24] A. Yes.
‘p23 Q. 2007?

[23] A. Yes.

(24,4 @Q. Can you tell the ladies and

[25] gentlemen of the jury about that day, Eric
Carl G. Sokolski

Official Court Reporter
(215) 683-8060

[5] So | just waved it off. I kept going to
[6] school or whatever. And then | find out that

_| I'm pregnant and I'm only fourteen. | didn't

[8] know what was going on. [ ain't want to tell
[9] my mom because | was scared. So | fold him
[10] and he was like, no, you probably not

[11] pregnant, you just probably, probably it will
[12] pass. But then it just got worse. It got

[13] bigger. | was like, what's going on? My feet
[14] started swelling up. And then it just

[15] started. | mean, it wasn't hard but it

[16] started going downhill just a little bit and.

[17] then it got fixed. He fixed it. And then it

[18] just started going downhill again.

[19] Qa. What do you mean he fixed it?

Zo) «OCA Like, he when | found out | was
[21] pregnant, | was scared and | fold him that |

{22] was thinking about getting an abortion, but he

3] was like, no, it's no need for that if I'm

oing to be here helping you. But if! would

] knew today, like, | wouldn't
koiski

Reporter

3-8060:

[1] ’ Ericka Johnson - direct
[2} have probably never had the baby. |:
[3] would have had an abortion, because h
[4] helping.
[5] Q. How often were you staying at
[6] the defendant's residence or house when you
[7] were pregnant?
[8] A. 1 was living with him. |
[9] started living with him in November. | think
[10] it was November or October. It was one of
[11] them months. But I know | had just came home
[12] from the doctor's and | found out | was
[13] nineteen weeks pregnant it wasn't nothing |
[14] could do about if. But before all that, | was
[15] staying there probably every weekend or every
[16] other weekend when I could get out the house.
[17] And then I find out | was pregnant like for
[18] real for real and | had to start to move in .
[19] with him because me and my mom was going
[20] through some things.
[24] Qa Was there anyplace else you
[22] could live besides your mom's house or the
[23] defendant's house when you were pregnant,
[24] Ericka?
[25] A. No.

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' Page 76
Joh on = direct

mentioned | think at

and Judge Cunningham asked

What was your birthday, again?

. July thirtieth, 1992.

Q. Do you remember turning fi fteen

[9] in 2007?

[10] A. Yeah. | was over.my sister .

111] house. | was doing somebody hair and | had
[12] went back home and he said that he wanted fo
[13] take me somewhere. | said, where? And he
[14] wind up taking me to Florida, | guess to

[15] celebrate my birthday. And I was --

[16] THE COURT: I'm sorry. He

[17] wound up taking you where to celebrate your

AL
ie)
A

[18] birthday?

[19] THE WITNESS: Florida.
[20] THE COURT: Florida? .
[21] THE WITNESS: Yes. .
[22] THE COURT: The State of
[23] Florida?
[24] THE WITNESS: Yes.
[25] THE COURT: I thought maybe *

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. U1]

[6] take you to Florida? Did he drive?

THE WITNESS: No. We caught
[8] the plane.

THE COURT: A plane?

THE WITNESS: Yes.

THE COURT: All right.

THE WITNESS: And at that time , fz.
[13] with Mr. Robins after your birthday and as it

[14] went into the fall and before you gave birth
[15] to John-John? What was your relationship like

I

[9]

10]
[11]
[12]

[13] it was like the beginning. It was like,
[14] probably like July twenty-second, but | didn't
[15] think nothing of it because my birthday was at

[16] the end of the month. It was on the [16] with th
[17] thirtieth. And we went there. | kind of knew 17] A.

[18] | was pregnant but I didn't know if | was. |
[19] didn't know if | was sure or not. So | went.
[20] We had a good fime, and then we came home and

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“Gohnathan Robins March 11, 2010
Page 77 Page 78
Ericka Johnson - direct [1] Ericka Johnson - direct

jz] this was like Beverly Hills Middle School, it [2] A. No, not at that point. But my

[3] wasn't really in Florida. : [3] oldest sister, like, she started catching on,

[4] THE WITNESS: No. [4] like, all the little nasty stuff | would eat. ©

[5] THE COURT: Okay. How did he [5] But then | would be like no, no, I'm not, like

[6] just try and deny it. But then it was too
[7] late. Like, she knew. | knew she knew but |
[8] ain't want her to tell my mom. But she
[9] didn't. | mean she told my mom but she fold
[10] me that she didn't say nothing, but! already
[11] Know she said something.

Now, how was your relationship

e defendant during that time?

It was, it's better than now,

[18] like. He did so much more things to prove his
[19] point to me, | guess. But! didn't, ! didn't

[20] see no signs and | didn't even follow all the

[21] then that was it. [21] details.

[22] BY MR. STACKOW:
Q.
[24] anybody else know that you were or thought you
[25] were pregnant at that time?
Carl G. Sokolski
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[23]

22] Q.

Now, besides the defendant, did

Well, so it sounds like he

3] treateed you well during that time; is that

[1]
[2]

[5]

Q.
[3] situation. Did you continue to live with hi
[4] during that time?
A.
[6] in my mom's for a month because they wanted to

Ericka Johnson - direct

Now, what about your living.

After | had the baby, | moved

[7] check all around the house to see if it was [7] A.

[8] stable for the baby to stay there. And then
[9] after that, ] had moved with him. | think it
[10] was like in April or March. Like fhe end of
[11] March to April | moved with him.

{20} and let me just ask you about January of 2008
[24] when you were eight months pregnant.

(i273 Q.
[13] born?
[14] A.
(15) @Q.
- [top AL
(i177 @Q.
(18) A.
(19) Q.

This was after John-John was

W,:tell the ladies and

| wasn't going to school at

[3] that time because | just wasn't going.
[9] just feeling miserable so | decided not to go

[10] that week. And! went to his house. After |

[11] came from my mom house, I went to his house.
[12] And | was playing around and | was eating,

[13] watching TV all late. He turned around and.

_Page 80

5] gentlemen of the jury what you recall about
[6] that morning before even going to the airport.

| was

Yeah. [14] said go to sleep, we got to get up early. And

So that would have been 2008. [15] | said why, like? When. was pregnant, |

Uh-huh. [16] really didn't pay attention. So | was like,

ls that right? [17] why? He was like, because we going somewhere.
Yeah. [18] | said, where we going? He said to Missouri.

I'm going to come back to that, [19] | said why? He said to get married. | said,

{20} you don’t want to wait until I'm sixteen or
[21] eighteen? He said no, we can do it now to

[23] what we trying to do. | said, well what's you
[24] mean? What are we trying to do? He said your

[22] A. Uh-huh. _ |[22] stop your mom from getting in between, like,
(23) Q. Do you recall taking another

[24] trip with the defendant around that time?

fs] =A; Yes. January sixteenth we went

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‘ Official Court Reporter
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[25] mom keep ruling things.

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[1} Ericka Johnson - direct [1] Ericka Johnson - direct.

[2] -| mean, my mom is going to rule . . [2] Q. And that's then when he ‘ :

[3] stuff until | turn eighteen but, like, | had 13] mentioned Missouri to you; is that right?

[4] no choice for her. Like, she has to rule. 4] OA. Yeah.

[5] I'm her child. So who was him to say she 5] a Okay. So did you guys, do you

[6] taking over your life and all this stuff?

[7] Like, | understand my mom used to discipline

[8] me and all that stuff, but like who was him to

[9} come in and say that she doing it wrong?

(iq) = Did you say these things to the

[11] defendant when he brought up going to

[12] Missouri?

[13] A. Not at that point, but | told

[14] him before all this. .

[15} Q. So had you had a discussion

[16] with the defendant about getting married

[17] before?

[18] A. Yeah, we had the discussion and

[19] that's when I asked him. | said, you don't

[20] want to wait until I'm like sixteen or

[21] eighteen? Like, | think it will be better.

[22] And he said no. So then he got on the

[23] Internet and tried to find somewhere that

[24] where | was old enough but still young to get .

[25] married.

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[6] recail going to the airport and flying to
17] Missouri on January sixteenth?

8] A. Yeah.

gy «= What time did you leave for the
[10] airport? .
M1] A. We left like two o'clock in the
[12] morning.

13] Q. What do you remember about
[14] that, about going to the airport?

[is] OA | remember getting up. | put

[16] my clothes on, walked down the street, get in
[17] a car and going to the airport, getting

[18] something to eat and | started dozing off a
[19] little bit. Then the plane came and | just

[20] got’on there, and then | guess | fell asleep ..
[21] on the plane and then | woke back up.

1 Q
3] defendant?

Now, was it just you and the

‘Yeah, just me and him.

And:did you mention to anybody
Cz ykolski
Reporter

[1] Ericka Johnson - direct
[2] that you were going to Missouri?
[] A. No.
4] Q. Did you ever have a discussion":
[6] with your mom about leaving the state to get
[6] married or getting married at all?
[7] A. No.
[8] Q. So you went to Missouri. What
[9] happened when you were in Missouri?
(0) ° A. We got something to eat and
[11] then we went over to, we had to catch the bus.
[12] We went over fo this building and we was in
[13] the building. We sat there and we signed for
[14] our marriage certificate. He paid them. And
[15] then we had to go to another part of the
[16] building to stand in a fine to wait for this
[17] little envelope, and then they gave us a
[18] number. We stayed in line again and then when
[19] they called our number, we went up. And then
{20] after that we sat down.
[24] @. Did you have to show proof of
[22] age at all, Ericka?
[23] .A. No, not really.
[24] Q. Did you have a, like a driver's
[25] license? Or | guess not a driver's license

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[24] | think Thirteenth or Fourteenth and Spring
[25] Garden or Broad and Spring Garden.

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‘p] 8a. Did you have any kind of a
[6] photo identification on you?
[7] A. Yeah.
[8] Q. And what's the photo ID?
Is} OA. It was, it was from South

-([10] Carolina. It was a fake one. We went to go
[11] get this done probably like a couple months

[12] ago before all this happened. And it said |

[13] was twenty-three. So that's what we used.

[14] That's why | didn't have, that's why I didn't,

{15} my mom didn't need to sign, because they took
[16] that as in, all right, she's old enough; all

[17] right, she can go sign it herself.

fig) Q. Who was with you when you got
[19] this fake ID?

20] A. Johnathan Robins.

21) Q Where did you go to get the

[22] fake ID? ,

[23] A. It was in North Philly. It was

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* Jghnathan Robins March 11, 2010
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[1] Ericka Johnson - direct {1] Ericka Johnson - direct ~
Za Was it a government office or 12] A. Weread the little policy about

[3] some other kind of building?

4] A. No. It was like a little check

[5] cashing place. They do everything in there, |
[6] guess.
mM a How did you know to go there to
[8] get a fake ID?

[I] A. | didn't know; he knew. He

{10} Know where everything is. | was just getting
[11] used to Philly. | didn’t know nothing about
[12] it. But then he told me. He was, like, come
[13] with me and | was like why? He was like

[14] because I need you to do something, or

[15] something like that. And | said, where are we
[16] going? He said just come on. And he said,
[17] you got a ID? [ said | got my school ID: He
[18] say, all right, that's good. I gave him my

[19] school ID. We walked out and caught the bus,
[20] and we got off the bus and walked into the

[21] place.

[22] Q. To the check cashing place?
[233 «COA Yeah.

[24 Q. What happened there. at the

_ [25] check cashing place?
Carl G. Sokolski
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(215) 683-8060

[10]

[3] getting ID and then | filled out this piece of
[4] paper, gave it to him, and we picked out the
[5] ID that | wanted and I showed him my regular,
[6} my school ID, to know to tell him it was me,
[7] and he gave it to me within like ten minutes.
[8] Q. And this was what, a South

[9] Carolina ID?

Yeah. ~

What kind of ID was it?
Identification card.

Did it have your picture on it?

[14] Yeah.

[15] Was it a picture that they took
[16] there at the check cashing place or the

[17] picture from your school ID?

[11]
[12]
[13]

DPOPoOP

[18] A. No. It was the picture that
[19] they took there.
(20) 4. And it had the date of birth

[21] that would have put you about twenty-three

1122] years old at that time; is that mot

A. Yeah. It was still 7/30.
as just 1986, | believe.
uth Carolina? Who picked
kolski
Reporter

[1] Ericka Johnson - direct
[2] out South Carolina?

[3] A. Johnathan did. | ain't. |
[4] told him. | said all right, well, for me to *
[5] get a ID, why don't! get a Pennsylvania ID?
[6] And he said no. He said something and | was
[7] like that don't even make sense. He said no,
[8] we going to get South Carolina. | was like

(9] all right. | didn't know what was going on

[10] anyway. | didn't know what I was going to use
[11] it for. So I just got an ID. | thought it

[12] was going to be something that | could just
[13] flash around. [ didn't know.

14] Q. So how long after you got this

[15] ID did you get to Missouri?

(16) A. Probably like, |! wasn't, when |

[17] got the ID | wasn't even pregnant. Probably
[18] like a year later, probably.

[19]  Q. Now, when you came back from
- [20] Missouri, how Jong after that was John- John
[21] born’?
[22] A. A month later.
[23] @. How was your relationship with

[241 the defendant after your son was born?
5] A. It was cool. it was all right.
Carl G. Sokolski
. Official Court Reporter
-— (215) 683-8060

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: ‘eans: “He made it comfortable
5] for me 2 and my child. Well, our child. And he

[6] would watch him. I'll go to school, come

[7] home, go pick up the mail from my mom house,
[8] go back to his house, and then | just get up

{9} and do it all over again.

[ioc] Qa. At some point did that

[11] relationship change between you and the

[12] defendant?

[13] A. Yeah.
[14] Q. When was that, Ericka?
[15] A. Probably when the baby was

[16] probably like five, six months. And 1°
[17] decided, like, | didn't want to stay there
[18] because every time | would ask him to fix up
[19] up the house, he wouldn't. Like, he wanted to
[20] at a point but then he would say my dad this,
[21] my dad that. And | just got tired of it and I
[22] told my mom, | said, Mom, | want to come home.
[23] She said come on. So | just got some of my
[24] stuff and | just left. And then | had to go
[25] back. My aunt had fo take me up there to get

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[1] Ericka Johnson - direct [1] - Ericka Johnson - direct

- [2] the rest of my stuff. And:after that, like, |

[3] haven't been talking to him. ~

47 @ To the defendant.

b] A. Uh-huh.

fe a After you moved back: to your oo

[7] mom's house, where did John-John stay? Where

[3] did he live?

[9] (A; He stayed with me.

[io] +=. Did the defendant get to see

[11] John-John at all?

[12] A. Yeah. Yeah. We set up some

[13] type of routine and it was he would get him

_ [14] six o'clock in the morning and I'd have to

[15] walk to the bus stop to catch my bus and go

[16] home, and then by the time | get home he'll be

[17] at the bus stop waiting. Or if! tell him,

[18] like, can you meet me a little later like

[19] around six or seven o'clock, he'll do it. But

[20] it was like a every-day thing: And when I.

[21] wouldn't feel good, | would call him early in

[22] the morning. | would call him that night,

[23] probably. | don’t really feel good, | don’t

[24] think I'm going in, so you shouldn't come

[25] And he would say all right, well, why you

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[2] don't want to go to school? I'd say because -
[3] | don't feel good, | don’t want to go to
[4] school and they got to send me back home.
[5] That's like more extra work my mom got fo do.
[6] So most of the time he'll come and get him and
[7] then some of the time he won't.
3) Q. Now, Jet me ask you about
[9] February eleventh of fast year. Do you recall
[10] police or going to the defendant's house
[11] regarding your son around February eleventh of
[12] last year?
[13] A. Yeah.
14) = Q. Why did you go to the
[15] defendant's house? .
[16] A. Because every time | would call
[17] him, he wouldn't answer the phone. This was
[18] going on for like two days straight. So |
. i{19] wanted to know where my child was. He
[20] wouldn't answer the phone. He wouldn't even .
_ |[21] pick itup. | would Jeave several voice

[22] messages on his phone and he wouldn't answer.
So | guess, what was that,

onday or Tuesday? | called him early in the
5). morning, like: ‘clock. He answered the
skolski
Reporter
3-8060

[1] Ericka Johnson - direct
[2] phone. | said, well, where you been at:
[3] do you want to know? | said all right, w
[4] can | have my child? Like, can I get myc
[5] back? And he said, he said, | was up there at
[6] Sixty-Ninth Street waiting for you for a whole
[7] hour and a half. | said | understand that,
[8] but | called and put it on the answering
[9] machine that | was sick and | didn't feel like
[10] it.

1 So, | mean, then | guess he got
[12] mad. | think, | don't know if he hung up on
[13] me or not. But he wasn't saying nothing. So
[14] | called him again. He wouldn't answer. Then
[15] | called him again. He wouldn't answer. Sol |
[16] called him one more time. He answered and |
[17] like we really, | was fike cursing him out but
[18] he wasn't saying nothing. So | just hung up
[19] the phone, called my mom, said Mom, | got to
[20] borrow ten dollars, can | get ten dollars? So
[21] | went up to her house, got the ten dollars,
[22] got on the El and all this other stuff, and |
[23] went up to his house. .
[244 Q. When you say all the other
[25] stuff, you mean catching the bus to get up

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: Ahat stuff.
*“B) Q. Got you. So what happened when

[6] you went to the defendant's house that day?
IN A. When | went to his house he
[3] wasn't there. So now I'm saying, like, all
[9] right, he trying to run away with my child, he
[10] not trying to give him to me, like. So | was,
[11] | sat there. I sat there and sat there at the
[12] door and keep knocking and kicking and
[13] knocking and kicking. So 1 got my mom on the
[14] other line and | got somebody else on the
[15] other line to put my mom on the three-way
[16] because the phone that,! had, I could only
[17] talk to the people that's in that service. So
[18] | called my mom. My mom said just stay there
[19] until you see him, and | was like all right.
[20] So | was just sitting there and
[21] it was cold outside. So | was about to start
[22] walking. Next thing you know, he come down
[23] the street. | guess he was at the laundromat.
[24] But he come down the street with the cart and
[25] my child in his hands. And when | went to go

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[1] Ericka Johnson - direct
27] @Q. Did the police take you
[3] somewhere after that, after they put yo
[4] the car?
fb] A. They took me to, I forgot the
[6] street but it was still in North Philly. It
[7] was probably like down the street from there a
[8] couple blocks. They took me to Special
[9] Victims and | sat there. | think | talked to
[10] two people about it.
[11] Q. Do you remember talking to a
[12] female detective by the last name of Wilson?
[13] A. Yeah.
[14] MR. STACKOW: Your Honor, if !
[15] could have this document marked as
[16] Commonwealth C-1, please. A copy has been
[17] previously provided to the defense, but I'd
[18] ask if you need an extra.
[19] COURT CRIER: So marked
[20] Commonwealth Exhibit C-1 and shown to the
[21] witness, Your Honor.
[22] THE COURT: Thank you.
[23] BY MR. STACKOW:
[24] @Q. Ericka, do you recognize this
125] document, this three-page statement? _
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Official Court Reporter
-— (215) 683-8060

vats that, Ericka?
A" This-is. what happened that day.
bp] Q. Is this the statement that you
[6] gave to Detective Wilson at the Special ”
[7] Victims Unit?
Is] «OA Yeah.
[9] Q. And did you sign this anywhere,
[10] Ericka?
[11] A. Yeah. | signed it at the
[12] bottom and | signed it at the bottom of the
[13] other page and at the bottom of the other
[14] page.
[15] MR. STACKOW: All right.
[16] Ericka, thank you very much. That's all the
[17] questions | have for you at this time.
[18] THE WITNESS: All right.
[19] MR. STACKOW: Thank you, Your
[20] Honor.
[21] THE COURT: All right. Ericka,
[22] you have to stay there, just for a little bit,
[23] maybe. | don't know. But the lawyers take
[24] turns. So Mr. Stackow is done with his
[25] questions. Now it's, Mr. Robins is
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[1] Ericka Johnson - direct [1] Ericka Johnson - direct ~
“ {2] try to grab my child, he wouldn't give him to- [2] keep my baby in that house with him.

[3] me. And when | saw my child, he had all these i} Now, | don’t want you to tell

[4] bumps on his face. He had a hoodie on. He [4] us what the police said to you or to

[5] had too small pants on: His socks was too [5] Johnathan, but at some point did the police

[6] small. And I don't even think he had a hat _| [6] ask you for identification?
_[7) on. Like, it didn't, tt didn't look right for’ [I] A. Yeah, they did, but] didn't

[8] a eleven month old baby to be out with no type [8] have nothing on me. So | just told them my

[9] of clothes on. Like, he didn't have nothing [9] birth date and all that and then they said all

{10] on. And that really made me mad. _i[10} right. And then they asked him a question and

(114) Qa So what happened at that point? [11] then they said all right. And the police said

[12] What did you do? [12] something to him and he gave the baby up. |

[13] A. And we was still walking across [13] guess when he went in the house, they gave the

[14] the street and | was still trying to take him [14] baby to me and told me sit in the car. And

[15] and he would keep going like this with his [15] then I saw them lock him up. | saw them

[16] arm. And I'm like, look, I'm going to get [16] arrest him and put him in the car.

[i7] him. He said, You're not getting my child (17 Q And did that surprise you that

[18] today, you're not going to get him. So | was [18] they were arresting him, Ericka?

[19] like, all right, well, you want to keep (19) A. No. | knew it was going to

[20] playing games, | don't feel like playing games [20] happen. | mean, they wouldn't be like, all

[21] right now. So | told my mom that] was going [21] right, you the dad, we going to let you slide

[22] to call her back. So | hung up with all them j on that. It was his age. That's what they

[23] and | called the police and the police came. was really looking at, his age.

[24] And | sat right there at his steps so he fe, Q. I see.

[25] wouldn't get in, because he was not goi And:they just, they got him.

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[1] Ericka Johnson - cross ‘ [1] - Ericka Johnson - cross

.[2} representing himself. He is his own lawyer in
[3] this case, so he'll be asking you questions.
[4] Before we do that, does anybody
[5] in the jury need to take a break? Are you
[6] okay? Js your back bothering you? Are you

[7] okay there?
[8] A JUROR: I'll be all right.
[9] THE COURT: Mr. Robins, it's

[10} your turn. Mr. Robins, you'll remain seated
[11] at the table.

{12] THE DEFENDANT: | just need to
[13] get something out of my bag.

[14] THE COURT: Okay.

[15] CROSS EXAMINATION

[16] BY THE DEFENDANT:
(i7] @ Okay. First question. You
[18] said that when you --
[19] THE COURT: Mr. Robins, it
[20] would be helpful if you were to put the
{21] microphone in front of you.
[22} THE DEFENDANT: I'm sorry.
[23] THE-COURT: So-everybody,
[24] especially the stenographer, would pick up .
[25] your questions.
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[2] BY THE DEFENDANT:

3] °° Q. When we first met, why do you

[4] think, well, before we even met and we talked
[5] to each other on the adult phone date line,

[6] why do you think I was attracted to you before
[7] | met you? The conversation that we had, what
[8] were we talking about?

[9] MR. STACKOW: Objection to —
[10] that, Your Honor. ‘
[11] THE COURT: Well, there's

[12] nothing objectionable to what were we talking
[13] about.

[14] MR. STACKOW: Okay. It was
[15] about speculating as to his thoughts.
[16] THE COURT: Yeah, | got you.

[17] The question is what were you talking about on
[18] the chat line before you ever met him in

[19] person? What did you talk about?

[20] THE WITNESS: | can't even

[21] remember. You trying to go way back. | don't
22] remember. But all | was talking about was |
asked you was my age a problem fo you and you
id no, and | asked you why and you said
mething about you think that all women
Ikolski

t Reporter

[1] Ericka Johnson - cross
[2] should be treated the same, don't ma
[3] old they are or something like that. Thaf’s
[4] what you. | remember you saying that. T
[5] all ! remember. | don't remember saying
[6] nothing out of the ordinary about nothing.
[7] BY THE DEFENDANT:

i] | have a question. Why is our
[9] son named Johnathan Robins, Jr.?

[io] «=A Because that's what you wanted
[11] him to be named.

[12] Q. Did we agree on who was to name
[13] the children?

(14) A. I'msorry? .

[15] Q. Did we agree on who was to name
[16] the children?

[17] A. Yeah. You said you name the

[18] boys and | name the girls. | said it's not
[19] necessary for no girls because this is the
[20] last, this is the first and last child | will
[21] have.
22] Q. No, but when did we have that
[23] discussion? The first time we had that
[24] discussion.
(25) A. ] don't remember the first time

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(215) 683-8060

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] remember the
é had about kids was when |
“ and before, like, probably like

5] two, three months before | was pregnant.

je} So before we actually met, we

[7] never had a discussion about children.

[3] #~OA. No, not that | can recall.

fg] Qa Did we have any discussion

[10] about marriage?

[11] A. It wasn't a hard conversation

[12] about it. We touched on it but then it blew

[13] away, like. We wasn't on it every day.

[14] Q. Again, what do you think in our

[15] conversation made me attracted to you besides

-1[16] you saying, you know, what your age was that

[17] you claim? Besides that, what else in our
[18] conversation do you think attracted me to you?

[19] MR. STACKOW: Objection to
[20] that. ,
[21] THE COURT: Yeah. Asking what

[22] somebody thinks about your thoughts, that's
[23] not appropriate for any witness.
[24] THE DEFENDANT: Okay. Sorry.
[25] THE COURT: You can ask
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[1] Ericka Johnson - cross , [1] Ericka Johnson - cross

{21 questions like what did | say or do but.not,
[3] you can't ask her to be a mindreader.

[4] THE DEFENDANT: Okay. You're
[5] right.

[6) BY THE DEFENDANT:

7] @ = You were dating other men
[8] before me, correct?

[9] A. Not other men. It was only
410] one.

[iq] - Q Why did you tell me you left
[12] him? ,

[13] A. Why did | leave my old

[14] boyfriend before | met you?

(15) . Q. Yeah.

[16] A. We broke up. | never left him.

[17] We been broke up.

[18] Q. But didn't you tell me that the

[19] reason why you didn't want to be with him,

[20] because he didn't want to make a commitment?

[24] ~A. Yeah. That was because he knew

[22] my age and he was just a little bit older than

[23] me. He say he didn't feel like taking that

[24] route and | said all right, well, | can't be

[25] with you. Like, he wanted to go around ¢
Carl G. Sokolski

Official Court Reporter

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Ifo] A.

[2] deal with the other girls and | wanted that

[3] person that was not going to do that, like,

[4] stay with me, don't try to mess around on

[5] people. That's how diseases come.

[6] Q. So when we first had our

[7] conversation before we actually met for

[8] dinner, wasn't our conversation about

[9] commitment?

Yeah, it was. But it wasn'ta

[11] heavy. It wasn't a heavy talk about

[12] commitment. The heavy talk about commitment
[13] was when we made it official January what?
[14] January first of the new year. That's when it
[15] was official. That's when we started hitting

[16] base on it. We wasn't like talking about it

[17] like every single day.

[isy] =, So on January first, 2007, what

[19] did we talk about that was the conversation
[20] about commitment?

[21] A. Johnathan, that was like three

22] years ago. 1 don't remember. | remember you
23] saying that you want to be with somebody, you
do want to get married, you do want to have
Kids. | said 0, | said, but not right

rt Reporter
-8060

[1] Ericka Johnson - cross
[2] now. You said we could wait. | said ar
[3] willing to wait? You said yeah. | said a
[4] right. | said when | see you in person, we'll
[5] talk about it. That's when I asked you. |

[6] asked you a question. You told me whatever
[7] question | had, to write it down on a piece of
[8] paper and then when we see each other, read
[9] the questions that was on my paper fo you.
[10] That's exactly what you told me.

(14) Q. And that was before we met?

[12] A. Yes. It's when we was on the
[13] phone.
(14) Q.° Okay. So basically we was

[15] having a conversation about all the questions

[16] we wanted to ask each other before we met.

[17] A. No. You told me to ask the

[18] questions when we were in person. You said

[19] you wasn't answering no questions over the

[20] phone, because | had asked you your age like

[21] twice and you wouldn't tell me. You said, you

[22] know what? | got something for you. Because

[23] | kept on asking you questions and you say,

[24] you know what? Since you want to ask me all

125] these questions, how about you write it down
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Johi cross :
en-we:meet up you can ask me the

5] ‘couple of questions. 1 did ask you your age.
[6] You dragged that on. You didn't tell me when
[7] we was in fhere. And | asked you a couple
[8] other things and it took me, it took a long
[9] time to get the answers but I got the answers.
[10] After we walked out the building where we was
[11] eating at, that's when you finally told me
[12] your age. And | said, well, my age is not a
[13] problem? You said no.
(147 @Q. Okay. Another question. So
[15] again, did we have a conversation on who was
[16] to name the children before you got pregnant?
N17] A. Yeah. We talked about it but
[18] it didn't even hit base. It wasn't, it wasn't
[19] a strong conversation about it. Because |
[20] told you off the gate [ was going to name
[21] them. You said no and we came to agreement
[22] that you would name the boys and | would name
1123] the girls. And I told you. | just said it.
[24] | said this would be the first and last child
[25] that | will have by you. | specifically said

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[1] Ericka Johnson - cross [1] Ericka Johnson - cross

[2] that. | remember me saying that, because | . [2] THE DEFENDANT: But the

{3] Know | didn't want fo have no more kids by [3] pregnancy was with me.

[4] you. —tt4y THE COURT: Mr. Robins,

[5] Q. That's what you said. When did eo _ | [5] objection sustained.

[6] you say that? When did you make that ~ / {6] THE DEFENDANT: I'm sorry, sir. °

[7] statement? [7] BY THE DEFENDANT:

[8] A, ! said that during when | was - / [8] Q. When we started going out, did

[9] pregnant, when | didn't know | was pregnant, _ [9] | or did 1 not introduce you to everybody that

[10] in the beginning of the pregnancy and at the [107 | knew?

[11] end of the pregnancy. | told you. | said lit] A. You did. : .
[12] this is my first and last child by you, | _ |[12] Q. My mother, father, sister.

[13] don't want no more kids. Because before | got [13] A. You did.

[14] pregnant, you was doing everything you could (14) @ Friends.

[15] to keep me. But now, since you got me because (15) A. But the thing about that was

[16] I'm pregnant and | got your baby, you ain't [16] you didn't tell them my age.

[17] got nothing to prove because you already got [17] @. Well, who told them your age?

[18] me. That's how | felt. . [is] OA. Well, we had an agreement that

(193 Q. Now, before you got pregnant [19] | wasn't going to tell them my age.

[20] with Johnathan Robins, Jr., weren't you [20] Q. Well, did anybody tell them

[21] pregnant before? [21] your age?

[22] ° MR. STACKOW: Objection to 22) =A. Not that | can recall, no.
- [23] that, Your Honor. . . Q No. So you mean to tell me

[24] THE COURT: Yeah. Objection e're around all my friends, my mom, my dad,

y sister andieverybody, and nobody fold them
kolski
t Reporter

[25] sustained.
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. Page 108
[1] . Ericka Johnson - cross son’ cross
[2] how old you were, not even you. at? Eight times? Or what
[3] A. No. Around your friends but =
[4] not around your family. Your family never | said it was a couple
[5] how old | was. Do you remember that? [5] of times, because most of the time | didn't
[6] @. Oh. So! got a good question [6] want fo go.
[7] here. So do you mean to tell me, how many 7] MR. STACKOW: Your Honor, could
[8] times have you gone out with my sister and my [8] | just interject for one moment? Because the
[9] mom and her friends and gone with their [9] witness made a motion during a previous answer
[10] friends to Atlantic City and all, all this [10] about the birthday.
[11] other stuff? How many times have we done [11] THE COURT: Right.
[12] that? [12] MR. STACKOW: And when she
[13] A. A couple times. [13] testified, that she looked to the defendant
14] Q. A couple? {14] and the defendant just went like this. The
[15] A. Yeah, a couple of times. [15] record should reflect that she shrugged her
[16] Q. So you haven't been — [16] shoulders, that's all. | just wanted the
[17] A. All that time they didn't know [17] record to reflect that.
[18] my age and you knew because when Vicky -- [18] THE DEFENDANT: When was that?
[ig] Q. Go ahead. ‘ (19) THE COURT: All right. Ericka,
[20] ~A. When Vicky had her birthday - [20] was that an accurate description of what you
[21] party, they was asking me how old | was and | [21] did? | couldn't see.
[22] was looking at you and you went like that [22] THE WITNESS: Yeah. That's
[23] (indicating). What was | supposed to do? [23] what he did to me. He went like this
[24] What was | supposed to say? [24] (indicating).
[25] @Q. So we haven't been around my [25] THE COURT: You looked at him 7
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[1] Ericka Johnson - cross [1] Ericka Johnson - cross

{2] and he shrugged his shoulders. . [2] come on, Jet's go. Where are we going? Don't

[3] THE WITNESS: Yes. [3] worry about it, come on, Jet's go, | want you

(4 THE COURT: Okay. © [4] to meet somebody. That's all 1 heard from

[5] BY THE DEFENDANT: , [5] your mouth. That's all.

[is] -Q. So you mean fo tell me that my [a] =. So we never planned when we
_{7] family and my friends just accepted not ’ 4 [7] went to see my family or anything. We just

. [8] knowing your.age? [8] jumped up and went...

I] 4A. They didn't. Now they do. I] A. No. We planned. I'm talking

{10] They didn’t know my age until, like, probably [10] about like in the beginning. Every time |

[11] like last year or something. It was around : [11] would say, well, where are we going, you said

[12] that time. But from when we started talking [12] come on, don't worry about it, | got somebody

[13] until | was pregnant until after | had the [13] for you to meet. You wouldn't tell me who it

[14] baby, probably like a couple months down, they ~ [14] is until we get to them. But now, like, when

[15] didn't know my age. Now, you know they know [15] | know them now, like, I'm knowing them

[16] they didn't know my age. ' {[16] enough, you say, oh, come on, we going to my

[17]  Q. Why did | introduce you to my [17] mom house. You would say that. Or sometimes

[18] family? Did | tell you why? [18] you would slip up and say, um, come on, come

[19] A. You didn't tell me why. You , [19] on, we just going to go out. | said where are

[20] just introduced me to them. You didn't sit [20] we going? Just come on. We wind up-going to

[21] there and tell me why you did it. You didn't . le] probably your friend's house or down to your

22] mom's house. That's about it.
Q. Okay. Did we also attend my
ister's reception?

[22] say none of that.
[23] Q. Okay.
[24] A. Not that I recall. 1 mean, |
[25] don't remember. Last time | asked, you.
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[1] Ericka Johnson - cross
[27 a What?
[3] A Reception? Wedding?
4] Q Yeah, reception in Atlantic i out, oh, yeah, I'm fi fteen
[5] City. . “+15] messing around with a forty-year-old guy? You
fe) A In June. [6] Know they would look at you like you retarded,
7] a In June of what? (right? They didn't know my age.
i] A 2007. [a] «=. Okay. Now, did we or did we
[] QQ. 2007. That was the first time [9] not decide to start a family? That's why we
[10] you basically were introduced to my family, [10] started going together.
[14] right? [11] A. We did. But then I asked you
[12] A. Yeah, all of them. [12] if you could wait, not like. | asked you if
[13] Q. Yeah. [13] you could wait. You said yeah. | said but
(14) A. But still at that time they [14] then | really wanted to rush into things
[15] didn't know my age. [15] because me and my mom wasn't working out and |
(16) Q. So you mean to tell me that — [16] was like, well, if | take full control of it,
[17] okay. I've been through that. | say that you [17] then she wouldn't have nothing to say. And we
[18] told them what your age was but you're saying [18] agreed on that. We talked about that. |
[19] that you didn't. M9] =, So did we when we were first
[20] =A. | didn't. At that time her [20] going together around January first, 2007,
[21] reception, wedding, whatever it was, that was [21] discuss children, who's going to name the
[22] a month after Mothers Day. That was June. {22] children, marriage, and is that one of the
[23] She got married in June or whatever itis. . [23] main reasons why we started going together?
[24] What she had in Atlantic City, that event was [24] A. You asked that question before
[25] in June. [| was a couple weeks pregnant. | [25] and | told you. I said we talked about it but
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1 Official Court Reporter , ’ Official Court Reporter
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[1] Ericka Johnson - cross [1] ’ Ericka Johnson - cross

[2] it wasn't as serious as it was when | found 2] A. Yeah, at one point.

[3] out | was pregnant or, like, during | was 3B) @ Okay.

[4] pregnant. We talked about it a little bit.

[5] It was hint and hint, that was it. Butit. .

[6] wasn't about, it wasn't nothing like so

[7] serious. It wasn't serious. But then I took

[8] it serious because | was pregnant. At that
[9] time you didn't want to take it serious. You
[10] thought everything was a joke.

‘Ti] Q. Oh. Who thought everything was
[12] a joke?
[13] - A. You. :
(14) @Q Why do you say that?
[15] =A. Because you just did.
16] @ How?
(i7] OA Because you did.
[18] Q. How?
[19] MR. STACKOW: Objection, Your
[20] Honor.

[21] THE DEFENDANT: Okay. You're
[22] right. Okay.
[23] BY THE DEFENDANT:
[244 @Q. Were we actually trying to have.
[25] a baby?
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14) A, We was trying to have a baby

[5] because we sat there and talked about it. |

[6] say | do want to have a child and | was

[7] roaring in my head like you too old for me to
[8] have a child by you. | didn't say that to

[9] you. This is what | was thinking. But then |
[10] said, you know what? Allright. Boom. Then
[11] when | found out | was pregnant, you said you
[12] know it's going to be difficult because of

[13] this relationship. I said, well, what's you

[14] mean, like? Why? You say because your age
[15] and my age, somebody going to try to take

[16] this, try to rip it apart. You did say that

[17] to me. And I said, well, I'l! do everything

[18] in my power to keep this relationship going,

[19] because at that time | really wanted to be

[20] with you because | thought it was going to -

[21] work because you took care of me. For most of

22] the part you took care of me. You did.

3] Everything | asked you to do, you did it

thout no hesitation.

' Q. So:everything that you asked me
Cc okolski

Reporter

[1] Ericka Johnson - cross
[2] to do | did without hesitation. That's :
[3] exactly what you just said, correct?

[4] A. Yeah, | said it.
[5] Q. Okay.
fe] «CA. But that still don't justify

[7] you. You not supposed to listen to no fifteen
[3] year old saying that she want to have a baby
[9] and you give it to her. Like, you supposed to
[10] be the grown-up about it. You supposed to say
[11] | don't think that's a good idea or try to
[12] talk me out of it. You ain't even, you ain't
[13] do none of that. You said all right, you want
[14] this done? Okay, Ill give itto you. You
[15] want a baby? Okay, I'll give you a baby. Now
[16] this is the end result right here.
“7 «6 Do you remember who gave a
[18] marriage ring to who first?
[19] =A. Who what?
20] Q. Who first gave a marriage ring
[21] to somebody? Me or you?
22] A. | remember it was in the
[23] summertime. | did. But it wasn't. You would
[24] call that probably like a engagement ring, a
[25] marriage ring. Because at that time we wasn't -

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or engagement: That could have been for

+15) something else. That ring could have been for

[6] something else. Anybody can go around wearing
[7] a plain ring. | can, you can. What do that?
[8] A ring don't got a name to it.

[9] MR. STACKOW: Objection at this
[10] point, Your Honor.

[11] THE COURT: Overruled.

(12) MR. STACKOW: There's got to be
[13] some questions. ‘

[14] THE COURT: Overruled. That's
[15] her answer. It's a run-on answer but that's
[16] her answer.

[17] MR. STACKOW: | understand.

[18] BY THE DEFENDANT:

(19) Q. But didn't you want to go

[20] looking for marriage rings?

21] A. Yeah, I did.
[22] @. So when you gave me the ring —
23] A.  Butstill, aring can mean .

[24] anything. If you don't have papers, the ring
[25] don't mean nothing. That's how | look at it.
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1] Ericka Johnson - cross [1] Ericka Johnson - cross

i2] We went to look for rings and you give me a

[3] fake ring. It looked like it was real but it

[4] was fake. What ring, | mean? How was that,

[5] like? | don't understand.

[63 Now, when you got pregnant and
_[7] we both realized you were pregnant, where was
[8] | working? What was | doing? ‘

I] A. You was working for Verizon

{10] selling FiOS.

fi] Qa No, the first, when | was first

[12] working. | wasn't working during that year.

[13] A. You said during when | was

[14] pregnant. During when I was pregnant you was
[15] doing the FiOS. You was doing Verizon.

(16) Q. When you first got pregnant.

[17] A. When | first got pregnant you

[18] were was working at Spaghetti Warehouse and
[19] McCormick & Schmick.

fo) QQ Now, once | Jearned that you
[21] were pregnant, what did | decide to do?
[22] MR. STACKOW: Objection.

[23] THE COURT: Well, what did he
[24] do after you told him that you were preg

[2] in his mind that he decided that he need to

[3] get a real job. We sat there and we talked

[4] about it. | said you need a job that's going

[5] to keep you on a schedule. That's what I told
[6] him. And you got a job that kept you on a

[7] schedule.

[8] BY THE DEFENDANT:

I] Q. . You said] needed a job to keep

[10] me on a schedule. Why?

[11] A. Because you would leave out

[12] different hours of the night even though you
[13] supposed to be at home with me because I'm the
[14] one pregnant. | know, | understand you had to
[15] work, but you need. | wanted you for family
[16] time and | need you to go to work sometimes.
[17] So you had to be on a schedule.

fig) Q. Now, before | started working

[19] selling Verizon FiOS, did we discuss the job?
20) «CA. Yeah, we did.

21) Qa Do you remember what the job

[22] entailed me doing and why I actually took that

job?

Going out to sell FiOS to |

wanted it, and you was trying
kolski

Reporter

[25] THE WITNESS: | guess he wr
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[1] Ericka Johnson - cross

[2] to get a higher place. You was frying:
[3] owner or a trainer or whatever it was.

4) .Q So what were like the hours an
[5] the —
[6] A. The hours? Well, by the time |

[7] would wake up, you would be gone. I'd take a
[8] nap. By the time | ate dinner and go to

[9] sleep, when | wake up, try to go to the
[10] bathroom, you'd be home. So probably what?
[11] From six in the morning to probably like six
[12] at night or seven at night. Most of the time
[13] | was 'sleep.
[14] Q. Okay. And this job, if you
[15] said | wanted to go to a higher, you knew
[16] that — well, I'm asking. Did you know that |
[17] was trying to get, like you said, my own
[18] business off of that? Because I'll explain to
[19] the jury later about that job. But that it
[20] would probably take me on average a couple of
[21] years to actually do that? Do you remember?
[22] A. You told me. | remember you

[23] saying that. And | said if it make you happy,
[24] go ahead and do it.
125] @. And that | would have to work

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5] because one day | asked you to stay home and
[6] you didn't. It was one day. | was eight

[7] months pregnant. - My stomach hurt and all.

[8] And you couldn't stay home.

i} «=. Did | tell you why?

[io] «=o Just for that one day.

[11] Q. But did | tell you why?

[12] A. So you can get somebody under

[13] you. So you can train somebody so they can be
[14] under you. But still, don't family come
[15] first? Anything could have happened to me and
[16] the baby while | was in the house by myself.
117] And it didn't even work. That person didn't
[18] even come. So you risked that person, well,
[19] you risked me for that person. You don't care
[20] if | got hurt that day.
[21] @. Why did | take the job in the
[22] first place, do you think? Okay. You're
[23] right. Okay. Like you said, | was taking
[24] better. Was it your understanding that | was
[25] taking better jobs for us?

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[1] Ericka Johnson - cross [1] Ericka Johnson - cross

(2]) A. You was. : , , : [2] you really couldn't take off days?

[3] Q. And was it your understanding (3] MR. STACKOW: Objection,

[4] that | was trying to get, like you said, a [4] relevance.

[5] better job and better income as fast as [5] THE COURT: Yeah. Mr. Robins,

[6] possible? , , . [6] what's the relevance of all of this? ! mean,

OA. Yes. ‘[7] so you and she were living together and you

[3] @. And you're saying that[ put _ [8] got married and she was pregnant and, [ mean,

[9] the job over you, but from your understanding, [9] so what?

[10] why did ] have a job? [10] THE DEFENDANT: I'll move on.

[14] A. You had the job so that when [11] THE COURT: Can you just

[12] your child came out, he had everything that he [12] explain to me how it's relevant to the charge

[13] needed. [13] here?

[14] Q. Did | also have a job for you? [14] THE DEFENDANT: Well, | will

[15] AL Yeah, but | wasn't even worried [15] explain.

[16] about myself. | was worried about when he [16] THE COURT: Or you can just

[17] came out, what he was going to get and what he [17] move on to something. That's all right.

[18] was going to have. But it seemed like you [18] THE DEFENDANT: ['ll move on.

[19] wasn't worried about that. You was worried [19] I'll move on.

[20] about the job. So when he finally did come [20] BY THE DEFENDANT:

[21] out, what did you get him? Two, three things, 21] @Q. After the baby was born, you

22] said you were living with your mother and
everything. When did | come fo the hospital?
A. You came to the hospital the

me day the:baby was bom but probably like

[22] that's it. You were supposed to be working a
[23] big job that got money, right?
[24] Q. Well, did you also understand
[25] that there are certain rules to that job lik
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{1] Ericka Johnson - cross at
[2] seven o'clock, seven or eight o'clock: sn't.even paying attention to
[3] morning. first came, | did tell you
4] Q. Okay. that, 1:did'tell-them that you was my uncle
} A. After my mom left, you came. 5] just because on the simple fact that | didn't
fe] Q. And what did you tell the staff . [6] even want all this drama. But then | guess
[7] who | was? [7] when you told her, | guess when you left, |
[8] =A. | said this is my husband. [8] was still there and | said. She said, well,
[9] This is the father. [9] who was that? | said, yeah, that was my
[1c] =. You didn't tell -- 110] husband. She was like, yeah, because he
[11] A. And they went back and they [11] showed me all types of identification saying
[12] told my mom. [12] that is his baby. I said, oh.
[13] Q. You didn't tell the staff that: [13] Then the news got back to my
[14] |] was your uncle? [14] mom. One of the nurses came back home to my
[15] A. . | don'tremember. | do [15] mom and told her that, oh, well, your daughter
[16] remember me saying that you was my uncle, but [16] is married, she got a older guy coming to see
[17] when you came, when they asked me when you [17] his child. My mom asked me. | denied it.
118} left, | said that's my husband. And that's [183 @.°° Okay. Also, we used to talk
[19] how the word. Listen. That's how the word [19] back and forth on cell phones, correct? /
{20] got back out to my mom that you was the (20) A. Yeah. -
{21] father. . |[24] @. Whose cell phones were they? ,
22] @Q. Who was the first one to tell [22] ~A. Yours.
[23] the staff | was your husband? [23] Q. . When did we first get them? ®
(24) A. You said something and then I (24) A. Before Valentine's Day. ~
[25] said something. But you said something when [25] Q. So we got two cell phones both *
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Official Court Reporter . Official Court Reporter
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[2] the baby was born, correct?
[3] A. Yeah.

[4] Q. Do you want to tell everybody,
[5] do you know why?

(6) =~ You left the job afterthe baby
[7] was born but you couldn't stay home that day
[8] when I asked you to.

i) «6 After the baby was born, who

[10] mainly was the one taking care of him, taking
[11] him back and forth to the doctor?

12] A. You did, because | was trying

[13] to finish my education in school.

(4) Q. Yeah. So basically | was

[15] unemployed for that amount of time, correct?

[16] A. Just for a little bit.
[17] Q. For how long?
. [18] A. I'm not sure how long it was,

[19] but you knew you could just go out. You knew
[20] you could have went out anywhere and got a
[21] job.
22) @Q. But at that time | was watching
[23] the baby and | also had other things that |
[24] had to take care of too at that time, did |
[25] not?
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THE COURT: Mr. Robins, I'm
{6] going to ask you again. What's the relevance
[7] of all of this? You are not charged with
[8] being a deficient husband or a deficient
[9] father. All of these crimes relate to you
[10] having sexual intercourse or other sexual acts
[11] with someone. In some of these statutes it
[12] says under the age of of sixteen. In other —
[13] statutes it's under the age of eighteen. And
[14] that's what you are charged with. So you
[15] could be father of the year. You could be
[16] husband of the year. You could be the most
[17] attentive paramour that any woman in the City
[18] of Philadelphia has ever known. It would have
[19] nothing to do with the charges in this case.
[20] So unless you can come up with
[21] some relevant questions, I'm going to have to
[22] rule that you have no more questions. Now, do
[23] you have some relevant questions?
[24] THE DEFENDANT: Yes.
[25] BY THE DEFENDANT:
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[1] Ericka Johnson - cross [1] Ericka Johnson - cross
[2] in my name, one for you, one for me. [2] born in February. | moved out at the end of
[3] A. Yeah. [3] March to the first of April because the doctor
47 Q And how long did you have the [4] kept coming back and forth to check him. And
[5] phone for? [5] you told me, oh, why did you go down there and
[e] A Like a year, almost two. {6] have the baby? You should have just came up
7] @ =~ And you used a cell phone. 7] here. All this stuff would have been just
[8] Your mother never asked you where the cell [8] squashed. That's what you told me. And |
[9] phone came from? [9] said everything is down here for me. I'm not
io] OAL No, because it's a cell phone. [10] going to go up there and have my child in
[11]. {t's not nothing major. [11] Philadelphia when | don't know nothing about
fiz] Qa So if she wanted to find out [12] it. And | came down there to visit my mom and
[13] who the cell phone came from, it would have [13] | wind up having the baby down there. That
[14] been real easy, right? [14] wasn't my fault.
[15] A. | guess so. It was under your (i5) Q. Okay. When I left my job, why
[16] name, right? [16] did |] leave my job?
[i7] Q. Yes. [17] MR. STACKOW: Objection.
[18] A. All right. [18] THE COURT: Did he ever tell
[19] Q. Now, when you came back, when [19] you why he left his job?
[20] you came back to, after the baby was born and [20] THE WITNESS: No. If l asked
[21] you stayed at your mother's house for like a [21] him something, he would drag me around. So |
[22] week or something or -- 22] never really got a real answer for it.
(23] «A. A month. THE COURT: Okay.
244 Qa You stayed there a whole month? BY THE DEFENDANT:
[25] A. Yes. | told you. The baby w " il left the job soon after
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[1} Ericka Johnson - cross

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[1] Ericka Johnson - cross [1] °° Ericka Johnson - cross

2]. Q. Is one of the reasons why you [2] The court officers will tell you where to come :

[3] are coming to court now is because you were

[4] worried about me taking custody of our son?

[5] A. Yeah. .

[6] Q. So that is -- ,

7] THE COURT: That is also

[8] irrelevant unless her coming to court is going

[9] to change her age or it's going to change your

[10] age. It doesn't matter whether she's

[11] concerned about who has custody of her child.

[12] It doesn't matter. I'm going to ask you to

[13] restrict your questions to relevant issues and

[14] I'm going to give you the lunch break to think

[15] about that.

[16] THE DEFENDANT: Yes, sir.

[17] THE COURT: And we were going

[18] to have to break close to 12:30 anyway because

[19] all those people who keep coming in and out of

[20] court are not on this case. They're on

[21] another case that ] pushed back from the

[22] morning list until this afternoon when you

[23] would be at lunch.

[24] So we'll break now with the

[25] idea that we will resume at, let's say, 1:

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. |[3] back in order to be on time. While we were

- [4] doing jury selection, there was one episode
oO ’ | [5] where people straggled in ten, fifteen minutes
[6] late. You can't do that once you're on the.
[7] jury, because if one of you is late, then ail
[8] of you are late. We can't begin until
[9] everybody is back.
[10] Let me remind you about what
[11] I've told you at other times, and that is keep
[12] on the jury badge. Don't discuss the case
[13] among yourselves. Don't discuss it with
[14] anybody outside, and if anybody approaches
[15] you, let the court officers know about that at

[16] the first opportunity.

[17] Anything else before the jury
[18] is excused for the morning?

[19] MR. STACKOW: No, Your Honor.
120] THE DEFENDANT: No.

[21] THE COURT: All right. 1:45.

[22] Follow the directions of the court officer.
COURT CRIER: Please remain

[1] Ericka Johnson - cross

[2] THE COURT: Ericka, that me:
{3] you're going to have to be back at 1:45
[4] Okay?

[) THE WITNESS: All right.

[6] THE COURT: All right. Just

[7] talk to the District Attorney. Well, actually

[8] you can't talk to the DA because you're under
[9] cross examination right now. So I'm reminding
[10] the witness that because she's under cross
[11] examination, she's not to discuss this matter
[12] with the District Attorney. You understand

[13] that, right, Mr. Stackow?

[14] - MR. STACKOW: | do, yes, Your
[15] Honor. .
[16] THE COURT: All right. But it

[17] is important that whatever you do over the
[18] lunch break that you come back here before

[19] 1:45.

[20] THE WITNESS: Okay.

[21] THE COURT: All right?

[22] THE WITNESS: All right.

[23] THE COURT: Sometimes it's a

[24] problem getting through the lobby because of
- [25] the metal detectors and all of that, so you
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2. back in the building by 1:30
hat‘you're back here by 1:45.
THE-WITNESS: All right.

(5) THE COURT: We'll see you then.

[6} Mr. DeFino, help the witness off the stand.

17] (Witness excused.)

[8] THE COURT: Mr. Robins, maybe

[9} you want to speak to Mr. McGill over the lunch
[10] break. The law says that I am to give you no
[11] additional consideration because you're not a
[12] lawyer. | have, however. | mean, throughout
[13] the morning I've tried to help you in

[14] formulating questions and explaining how to
[15] present issues to the witness. But when we |
[16] come back this afternoon, the basic rule is
[17] you don't ask anything unless it's relevant to
[18] the case.

119] | don't know when the last time

[21] not the day to have that long overdue
[22] conversation about how do you feel and this is
[23] how | feel and why do you think | did that.
[24] You're to confine your questions to relevant
[25] issues. And in this case, the relevant issues

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[20] was you spoke to the complainant, but today is

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[1]
" [2] are how old she was, how old you were, and
[3] whether you actually had, whether the two of
[4] you actually had sexual contact as described
[5] in these statutes. Do you understand?

[6] THE DEFENDANT: Yes. | was —
_[7] just trying to --
[8] THE COURT: It doesn't matter,

[9] Mr. Robins. You don't have to explain
£10] anything to me.

[11] THE DEFENDANT: I'm sorry, sir.
[12] THE COURT:: And I'll see you

[13] this afternoon, no later than 1:45. All

[14] right?

[15] MR. STACKOW: Yes, Your Honor.
[16] (A luncheon recess was taken.)
[17] MR. STACKOW: Your Honor, |

[18] believe the defense has an issue that he

[19] wanted to raise.

[20] THE COURT: All right. Before

[21] we bring the jury in, is there something that

[22] you want fo address?

[23] MR. McGILL: Judge, as Your

[24] Honor is aware, Mr. Robins' investigator w:

[25] to serve subpoena a Detective Rowe, R-O
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[22] back to her.

[1]

[2] from the Delaware County Police Department.
[3] On Tuesday, the investigator went to the

[4] Delaware County Police Department. Detective
[5] Rowe was not present but his sergeant, his

[6] supervisor, was, and his supervisor sergeant
[7] accepted the subpoena. He advised that

[8] Tuesday was Detective Rowe's day off and he
[9] was not in a position to contact him but that
[10] he would take care of it the next day.

[11] Wednesday the investigator

[12] called to follow up and was told that

[13] Detective Rowe was not in and that the

[14] sergeant had no way of contacting him. This
[15] morning, the investigator called once again
[16] and was not able to speak to the sergeant but
[17] was given the sergeant's voice mail and on it
[18] she left a detailed message that the subpoena
[19] had been served, it's a court order, and

[20] wanted the sergeant to ensure that the ~

[21] detective would honor the subpoena, please get

As of | guess about one o'clock
when | spoke to the investigator, she had not
25] heard back fror

[1]

[2] call him again but also suggested that.

[3] if the Court put in a call, that that might

[4] raise more interest in the detective honoring”

[5] the subpoena.

6] THE COURT: Well, when you get

[7] the detective, what's the offer of proof?

[8] What would the detective testify to?

[9] MR. McGILL: Well, that's what

[10] [ also mentioned to Mr. Robins, that he talk
_ [11] to Mr. Stackow about a possible stipulation.

[12] THE COURT: Why don't you tell

[13] me. What's the offer of proof? You expect

[14] the detective to testify to what?.

[15] THE DEFENDANT: Ericka was

[16} questioned about the baby's father and all

[17] that, and he's to testify whether she divulged

[18] to him that she misrepresented her age to me

[19] when he was questioning her.

[20] THE COURT: What information do
[21] you have to make you think that she did?
[22] THE DEFENDANT: Well, Ericka
[23] told me that, you know, that he questioned
(241 her.

[25] THE COURT: | don't understand

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detective?
THE-DEFENDANT: No, | do not.

TB] THE COURT: Have you spoken to
[6} the detective?
[7] THE DEFENDANT: No, | have not.
[8] THE COURT: So are you just
[9] fishing? .
[10] THE DEFENDANT: I'm going by

[11] what Ericka told me. Yes. | understand that
[12] you can't hold up the trial if he does not

[13] appear.

[14] THE COURT: All right. Well,

[15] if he's here, maybe I'll let him testify. In

[16] the meantime, maybe you want to ask Ericka on
[17] cross examination if she ever did that.

[18] THE DEFENDANT: Okay.

[19} THE COURT: Do you have any
{20} other questions for Ericka?

[21] THE DEFENDANT: Yes. And

[22] they'll stick, they'll be specifically about
[23] her age and what she told people her age when
[24] she goes for employment.
[25] THE COURT: Okay. That's fine.
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[1]
[2] You don't have to tell me, just as long as we

[3] keep it relevant.

[4] MR. STACKOW: Your Honor,

[5] there's a gentleman here who told me that he's
[6] the defendant's father. He was the gentleman
[7] that just came in. He is not a Commonwealth
[8] witness. Just for sequestration purposes.

(9] And | know that while it may not have been

[10] specifically stated, we've both been complying
[11] with the sequestration of all witnesses. But
[12] just so it's clear he's not a witness for the

[13] Commonwealth, if he wants to come in and
[14] observe.

[15] THE COURT: Is that your father

[16] in the audience? Let's put it this way. Do

{17] you know the man in the audience?

[18] THE DEFENDANT: Well, that's

[19] not my father. He's outside.

[20] . THE COURT: Oh, okay. Well, do

[21] you have any objection to —

[22] THE DEFENDANT: Yeah, | do.
[23] THE COURT: So you don't want
[24] your father in here.

I]
[2] want himin here, no. . - Lo:
[3] THE COURT: That's fine. He
[4] can stay outside. And the man who's in the
[5] courtroom, you have no objection to him being
[6] here?
7] THE DEFENDANT: He's one of
[8] the, he's actually one of our witnesses. He
[9] needs to be sequestered.
[10] MR. McGILL: He's the witness
[11] that was subpoenaed from the Delaware County
[12] Assistance office. He's the custodian of
[13] records for DHS. And that's another witness
[14] that Mr. Robins had the investigator subpoena.
[15] THE COURT: Okay.
[16] MR. STACKOW: And just so Your
[17] Honor knows, there may be a relevancy
[18] objection to that, but for the sake of keeping
[19] the case moving, we can wait.
[20] THE COURT: Why don't we just
[21] put the young lady back on the stand. Do you
[22] want to bring her in?
COURT CRIER: Sure.
MR. STACKOW: And, sir, you'll
e. :

[25] THE DEFENDANT: No, I don't
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[1]
[2] THE COURT: Do you have

[3] proposed points on all of the five charges
[4] MR. STACKOW: Yes. That's all
[5] that | have at this point, Your Honor. |
[6] didn't put them together in a complete package
[7] but | just printed those out.
[8] COURT CRIER: She just went to
[9] the restroom, Your Honor.
[10] THE COURT: You got to take her
[11] name down. She would make a good juror.
[12] Well, while we have time to do
[13] it, Mr. Robins, can you give us an offer of
[14] proof with regard to this witness who is
[15] sitting there related to the Department of
[16] Public Welfare in Upper Darby?
[17] THE DEFENDANT: Well, what |
[18] was trying to prove, one, is that fraud, that
[19] Ericka was lying to Welfare about her
[20] marriage. The reason why I wanted that was
[21] because to show that Ericka, you know, will
[22] defraud and that's the reason. | know you
[23] said before the reason why —
[24] THE COURT: No, that's okay.
[25] You want to show that she was lying about her
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-ENDANT: Her marital
Status*and because she actually. gets more
15) money that way.

[6] THE COURT: All right. That's
[7] fine.
[8] THE DEFENDANT: Also, one other
[9] question, to also show that she's also worried
[10] about me getting custody of my son. Or
[11] that's? I'm just going to ask her, you know,
[12] just, you know, just that question. If not,
[13] then. Well, if not, we'll just stick with the
[14] welfare issues. Because | actually want to
[15] show that | was taking care of the child and
[16] that they were defrauding Welfare and only
[17] when | tried to get custody of the child did
[18] they get me locked up to stop me from getting
[19] custody and to stop me from stopping them
[20] getting welfare for the child.
[21] COURT CRIER: May | bring her
[22] in, Your Honor?

[23] THE COURT: Sure.
[24] (Witness summoned.)
[25] COURT CRIER: May | remind you ~

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[1] [1] Ericka Johnson - cross
[2] that you're still under oath, [2] about your age for any particular reason?
[3] May I, Your Honor? 3] A. It's not a reason to.
[4] THE COURT: Yes. 4] @. Oh. It's never a reason to?
[5] COURT CRIER: Please remain 5) A No.
[6] seated as the jury enters the courtroom. [s) = Do you ever lie about your age
TW (Jury summoned.) [7] for any type of employment?
[8] COURT CRIER: All present, Your [8] MR. STACKOW: Objection, Your
[9] Honor. [9] Honor.

£10] THE COURT: Sorry for the

[11] delay. That sentencing matter went on for
[12] longer than we had expected and when that was
[13] finished, the people in the courtroom still
[14] had to go to lunch, which they're constantly
[15] reminding me of. So that's why we couldn't
[18] resume until just a few minutes ago.

[17] When we left off, the witness

[18] was On cross examination and that's where
[19] we're going to pick up now. Mr. Robins, do
[20] you have additional questions?

[21] THE DEFENDANT: Yes.
[22] THE COURT: Okay.
[23] CROSS EXAMINATION (Cont'd.)

[24] BY THE DEFENDANT:
[25] Q. Miss Johnson, do you ever lie &
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[10] THE COURT: No, overruled.

{11] THE WITNESS: No, because now

[12] these jobs that | have, they know my age.

[13] BY THE DEFENDANT:

(14) Q Before, did you or did you not

[15] work for places where you had to be eighteen

[16] and over?

[17] A. You're talking about Dynamite

i[18] Braids On The Go Team. Is that what you're

[19] talking about?

[20] Q. Yes.

[21] THE COURT: I'm sorry. |

didn't hear that. You're talking about what?
THE WITNESS: Dynamite Braids

n The Go Team. .

THE; COURT: Dynamite...

[1] Ericka Johnson - cross :
[2] THE WITNESS: ...Braids On ‘Tt
[3] Go Team.

[4] THE COURT: Braids On The Gor
[5] Team

[6] - THE WITNESSS: Yeah. All

[7] right. What he talking about is with the job,
[8] you have had to be eighteen or older.

[9] THE COURT: What is it? What
[10] is Dynamite Braids On The Go Team?
[11] THE WITNESS: It's when I set

[12] an appointment with a person that want to get

[13] their hair done and | go to their house and

[14] braid their hair and.get the money and give it

[15] back to my manager, and that's how | get my

[16] check.

{17] THE COURT: Okay. So you

[18] worked for a company and the company is called

{19] Dynamite Braids On The Go Team.

[20] THE WITNESS: Yes.

[21] THE COURT: Not to be confused

[22] with any other company by a similar name. So

[23] you were working for them and you would go to

[24] the people's houses, braid their hair. You

[25] would get paid for that. And the company told .
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+181 THE COURT. | 2. the thing

[6] about that was | told her | didn't want to
[7] work there no more. She asked why. I said
[8] because I'm not eighteen. She said all right,
{9} well, it's not a big deal. She came to my
[10] house on Kent Road and she told my mom what
[11] was the thing, what was going on, and she had
[12] my mom sign her signature where my signature
[13] was. She signed it. So she gave me another
[14] chance. She could have just said no, but she
[15] didn't. She gave me another chance and | was
[16] working again.
{17] BY THE DEFENDANT:
[18] Q. Didn't you also work at another
[19] braiding store near Sixty-Ninth Street?
[20) A. That was for about a month.
[21] Q. So this, the braiding service
[22] that you said came to your mother's house, you
i[23] said they gave you another chance. So you had
[24] to lie fo them first to get the job. Am |
[25] correct?

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(1} Ericka Johnson - cross [1] Ericka Johnson - cross

2] A. Yeah. : . 7 OA The last time I've been on . 2

[3] @. Okay. [3] there was when? What? This is when John-John

4] A. Because | really wanted that [4] was born. My sister have access to it. My

[5] job. But the whole thing that | messed up . [5] older sister have access to it. A friend

[6] about it was I could have sat there and talked’ [6] across the street have access to it. | don't

[7] to her about it. That's what she told me. [7] have an Internet to get on.

[8] But I didn't know. [is] «=. Now, so why would they decide

9 @ So do you everon any dating — [9] to put your age at nineteen?

[10] sites or any dating or social networks lie [10] MR. STACKOW: Objection. 7

[11] about your age? [11] THE COURT: Well, you can't be ‘

[12] A. No, because | be at work all [12] a mindreader. But what he's asking is, do you

[13] the time. I don't get on none of that stuff. [13] know of any reason why somebody else with

[14] | learned my lesson from you. Why would | go [14] access to your MySpace page would put anything

[15] back and do it over again? [15] on that page that's not true, including your

[16] Q So this copy of your MySpace [16] age?

[17] page that | printed out August fifteenth of [17] THE WITNESS: | mean, I don't

[18] 2009 that states your age being nineteen, — [18] Know why they would do it but, like, | give

[19] =A. Okay. I understand that, but [19] them, like, | gave them permission to do it.

[20] you have to understand I'm not the only one [20] It ain't like they did it behind my back. |

[21] gave them my password because | don't go on
j there. My littie sister and her friends go on
3] there. They change things around. | don't
care because I'm never on there. That's what

[21] that has my password.

22) @Q Oh. Oh, really.

[23] +A. Yes, really.

[24] Q. So when was the last time

[25] you've actually looked at it?
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[y Ericka Johnson - cross
[2] THE COURT: So the answer: .
[3] the question is no, you don't know any rei C ORT: If you break that
[4] why they would do that. # he first is do you know what
(5) THE WITNESS: | don't know of +15] the legal age for getting married in Missouri
[6] any reason why they would do that. If! did 1 [6] is?
[7] would tell him, but I don't know. [7] THE WITNESS: No, | really
(8] THE COURT: Okay. [3] don't.
[9] BY THE DEFENDANT: [9] THE COURT: Before you started
[ioq} «6 Qh We went on a trip to, like you [10] out for Missouri, did he tell you that you
[11] said, in July to Florida. We also went to [11] were going to Missouri in order fo get
[12] Missouri. Now, you say the reason why we went [12] married?
[13] to Missouri was to get married. Now, could it [13] THE WITNESS: Yeah, and we —
[14] have been because we were, it was | wanted [14] THE COURT: Did he ever give
[15] something special for our marriage or because [15] you an explanation for why Missouri?
[16] the actual law in Missouri is that you [16] THE WITNESS: He said because
[17] actually have to be eighteen to get married, [17] you had to be fourteen. The age had to be
[18] the same law that there is in this state? So [18] fourteen and with a parent's consent.
[19] if the law is exactly the same in Missouri as {19] THE COURT: So maybe it's true,
[20] here, what's the difference? Why would we [20] maybe it's not true, but that's what he told .
[21] have to go to Missouri when we could have just [21] you. .
[22} done it here? [22] THE WITNESS: Yeah.
[23] A. You asking me that? | don't [23] THE COURT: All right.
. [24] know. [24] THE DEFENDANT: | have a copy
[25] MR. STACKOW: | object fo that (25) of the Missouri law right here. That states .
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[1] Ericka Johnson - cross [1] Ericka Johnson - cross

[2] even with parental consent -- , [2] showing any proof of age?

[3] THE COURT: Mr. Robins. [3] THE WITNESS: The South

14] THE DEFENDANT: Yes. [4] Carolina ID.

[5] THE COURT: Have you shown a [5] THE COURT: Oh. South

[6] copy to counsel? [6] Carolina. | forgot.
T MR. STACKOW: He did show me [7] THE WITNESS: Yeah.

[3] this earlier, Your Honor. : [8] THE COURT: The one you got on

[9] THE COURT: Okay. / {9] Broad Street that says you were born in —

410] BY THE DEFENDANT: [10] THE WITNESS: Yeah. That's how

1] @Q So without a parent we must be [11] it was,

[12] eighteen. , [12] THE COURT: — eighty

[13] MR. STACKOW: And I'm objecting — [13] something? ‘86.

[14] to the form now of the question. . [14] THE WITNESS: Yes.

[15] THE COURT: Well, it doesn't [15] THE COURT: All right.

[16] really matter what the law in Missouri is. [16] BY THE DEFENDANT:

[17] What matters is what people thought the law - [177 @Q Okay. | have a question. In

[18] was when they got on a plane and went to : if 8] sometime around in January of 2008, did you

[19] Missouri. [19] ever complain to me that it seemed like |

[20] Since you got married, have you [20] didn't want to touch you or hold you or have

[21] learned anything different about the law in [21] sex with you or anything like that?

[22] Missouri? sf A, Yeah, at one point.

[23] THE WITNESS: No. Q. Why?

[24] THE COURT: When you were in MR. STACKOW: Objection.

[25] Missouri, you said you got married wit RT: No, overruled.
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[1] Ericka Johnson - cross
[2] THE WITNESS: Oh. Because.
[3] cheated on you. And I told you I didn't
[4] you said we was going to work it out. An 1 would put my real age, real
[5] started working it out, but then at the end, 5] ‘birth date down. That's how | would be able
(6) like, | really didn't want to be with you. [6] to get the job. Wouldn't nobody take no South

[7] BY THE DEFENDANT: [7] Carolina ID. Everything has to be

“(g] «=. But is it or is it not that [8] Pennsylvania.

[9] that's when it started coming out really how [7 @Q Okay. Do you remember when you
[10] old you are? [10] were trying to get a, because my licenseis ~
[11] A. When? | don't understand the [11] messed up and we have a car, but you needed fo
[12] question. [12] get a license? Do you remember when in June
[13] @. Around that, time is when you [13] of '07 you went to go apply for a license?

[14] had to divulge a few things to me. Like when (14) A. Yeah, | remember that. But do

[15] the baby was’ being born, you had to start [15] you remember who whose idea it was?

[16] telling me certain things. So around that (ig) Qa For you to go get a license?

[17] time, did you or did you not confess to me [17] Yeah, it was my idea for you to go get a

[18] really what your age was? [18] license.

(19) A. No. | told you already when | [19] A. Exactly. So you asking me the

(20] met you. , [20] questions. You already know about it. Why
[21] @. Okay. Another question. Did [21] are you asking me?

[22] you ever defraud, fill out any other : [22] Q. Okay. .What age did you put

[23] applications for any government agencies lying [23] down when you went to apply?

{24] about how old you were? (24) ~#A. | really can't remember, but |

(2) «OAL Not that | can recall. | don't [25] did put a age that it wasn't my age. So that

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[1] Ericka Johnson - cross [1] Ericka Johnson - cross
[2] was only so we can get the license. Because [2] THE DEFENDANT: -Yeah.
[3] that was your idea. That wasn't my idea. | . [3] MR. STACKOW: I[ have not been
[4] told you | could wait until | turned sixteen. 14] provided with this.
[5] THE COURT: You're talking [5] THE DEFENDANT: Yeah, because |
[6] about a marriage license? [6] didn't want to walk itup there. _
[7] THE DEFENDANT: No. We're [7] MR. STACKOW: Could | ask the
[8] talking about a driver's license. [8] court staff if they could make an extra copy
[9] THE WITNESS: No. We're — 19] of this, Your Honor? | don't have a copy.
[10] talking about the driver's license. [10] THE COURT: Can you do that?
[11] THE COURT: Driver's license. ‘ [11] Mr. Gerard will do it.
[12] THE WITNESS: Yes. [12] MR. STACKOW: Thank you very
[13] THE COURT: And you have to be [13] much. | appreciate that.
[14] sixteen to get a driver's license. [14] BY THE DEFENDANT:
[15] THE WITNESS: Yes. [16] @. So is there any other job that
116] THE COURT: So you put down 116] you lied about your age about except for those
[17] some age so that it would work, you could get [17] two hair braiding jobs?
[18] it. [18] A. No, not that! can recall,
[19] THE WITNESS: Yeah, and it was [19] because | haven't been working. This is my
[20] his idea to do that. [20] first time really holding a job and with a
[21] BY THE DEFENDANT: . _ |[21] steady income. Can !? | can ask hima
[22] Q. So this is your signature on [22] question?
[23] this application? , 3 MR. STACKOW: No.
(24) A. Yeah, it's my signature. THE COURT: No.
[25] MR. STACKOW: Can | see it?
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[1] Ericka Johnson - cress
[2] BY THE DEFENDANT: ‘
[3] Q. So at the time that, after the
[4] time that you say | did, basically after

[5] January 2008, did you go apply for a license “T5) A. Do you want me to tell you what
[6] again? [6} you talking about?
[7] A. January eighth? 7 a Go ahead.
[3] .Q. No, after January. After the [3] OA. All right. Well, it went like
[9] month of January 2008, did you go apply for a [9] this. If you can remember, it was your idea
[10] license again, a driver's license? [10] to get this driver's license because you
[ii] A. No. [11] didn't have a car because your stuff was
_ (12) @ Well, were you going to apply [12] méssed up. The second time was when you made
[13] for a driver's license? [13] that fake birth certificate for me and you
(14) A No, | wasn't going. to apply for [14] told me to go down there and try it and it
[15] a driver's license. I was going to apply for [15] didn't work. That's what happened.
[16] a ID, state ID. [ig] Q So you said a what? A fake
(i7] @ Because you, see, on one [17] who?
[18] driver's license copy before, underneath what [18] A Birth certificate. You made
[19] your real age was you put down that you were [19] it.
[20] born in '86, and after we had the revelation (20) Q. | made it.
[21] or whatever and if you want to see both of [21] A. Yes, over your friend house.
[22] them, after on, what is this? August of 2008. 22] @Q Over my friend's house.
[23] You actually applied again for a driver's [23] A. Yes. *
[24] license with your signature, but this time you (244 QQ. And you say —
[25] put your real age like you were supposed to. [25] A. It was your idea for all this ~
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[1] Ericka Johnson - cross :
12] MR. STACKOW: Objection to'tt
[3] as well, Your Honor.

14] THE COURT: Overruled.

15] Everybody understands the conversation that's
[6] going on.

[7] BY THE DEFENDANT:

fs] =a So the question that ] had

[9] before is, like, you said that every deception
[10] in age was my idea, but before you even knew |
[11] existed you got on a phone talk line for

[12] adults and you were not, so the age deception
[13] before | even met you was yours.

[14] A. No, not really.

[15] MR. STACKOW: Objection to

[16] that, Your Honor. It's no question.

[17] THE COURT: Right. You're

[18] going to have to move on to something else.
[19] We all understand that she went on a chat line
{20] where it's implicit that you're over the age

[21] of eighteen if you're talking to somebody

[22] there that would be over the age of eighteen,
[23] and she said that she went on there, for what
[24] it's worth.
*[25] BY THE DEFENDANT:

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: “of how.often | was taking care of my
“-f5] child and you collecting welfare? What is

[6] your understanding of how much | had him and
[7] how much you had him and what benefits you, if
[8] at all, if any, were supposed to receive from

[9] Welfare?

[10] A. | don't even understand your
[11] question. ,
[12] Q.- Okay. I'm sorry. When did

[13] your mother apply for welfare for our son?
(14) A. My mother applied for welfare
[15] for my child when | was about probably like
[16] six months pregnant. | had to eat. | had to
[17] feed the child, right? You wasn't giving me
[18] the money to eat. -

(19) Q. You said when you were six.
[20] months pregnant? ,

21] A. Yes.

22] @Q Were you living with me at the
[23] time?

(24) A. No, | didn't, not yet. When |

[25] applied, that's when | moved with you. How
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Tt] Ericka Johnson - cross TA] Ericka Johnson - cross
12] to start. . 27 Qa Do you understand what you just
[3] @.  Itwas my idea completely. [3] said? .
(4) A. Yes. I'm fifteen years old, 4] .MR. STACKOW: Objection to
[5] don't know nothing about no law, don't know [5] that.
[6] nothing about no fake stuff. When | meet you, [6] THE COURT: You have to phrase
_[7) everything goes down. | see fake thisand [7] it as a question and it has to be a relevant
[8] fake that and you can do this and you can.do [8] question, Mr. Robins, which means not arguing
(9] that. [ never knew | could do this stuff [9] with the witness.
410] before | met you. [10] THE DEFENDANT: Okay.
[11] @Q So it was any time you lied or [11] THE COURT: Just asking a-
[12] defrauded about your age, it was my idea;is . [12] question.
[13] that correct? [13] BY THE DEFENDANT:
(i4] A. Yes, it was, because | had no. (14) Q So you're saying when you go on
[15] reason fo lie. [15] this phone talk line you don't divulge your
li6] Q. So when you got on the adult _ [16] proper age.
[17] Website that's supposed to be for eighteen and [17] A. No. When ! met you, | didn't
[18] over and | have not met you yet, | guess that [18] tell you my real age, | mean my real name.
[19] was my idea too. , [i9] =. What did you just say?
[20] - A. Your idea to get on? Yes, it [20] «CAC | said when I met you | didn't
[21] was your idea to get on there. But when | go [21] tell you my real name.
[22] on there, | don't say my age. ! give them a Q. Well, before you said that.
- [23] fake name and | give them a fake place where A. | said | didn't tell you my
(24] I'm at. | never go on there and say my age, eal age. I didn't mean to say that.
[25] and my real name. You're not supposed uess not
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: Page 161 . Page 162 :
[1] Ericka Johnson - cross [1] Ericka Johnson - cross

[2] you thought you could get all that food in

[3] your house? How do you thought | was eating?
[4] @ Well, was | not working?

(5) A. You was working but you was

[6] stingy with the money. And then | was still
[7] going to school. | had to pay for my books,
[3] all that other stuff, and you wasn't giving me
[9] the money for it.

[10] =. Okay. So when we got married,
{11] did you divulge to the Welfare officials that
[12] we were married?

[13] A. Yeah, | told them, but they

[14] said that they couldn't do nothing about it
[15] because it's not Pennsylvania.

[16] Q. When did you tell? You told

[17] your caseworker. When did you tell him?

[18] A. ] told him.
(19) Q. When?
20} + A. - | don't remember when | told

[21] him but [ told him, like, | told him after’!
[22] got off and | told him when I just recently
[23] got back on because my son need medical. And
[24] | told him. | said me and Johnathan Robi .
[25] married. He said, well, it's nothing that
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[2} can do because everything is still under my
[3] mom case. I'm still a minor, so everything is
[4] still under my mother's case.

pb) Qa. And do you know if I told him

(6 first that, you know, that | gave the proper
[7] facts to the officials first before you did?

I] A. Okay. That's fine. But I'm

[9] saying, like, you wasn't helping. What was |

- 110] going to do when my child need medical and |

[11] need to go to the doctor too? Was you going
[12] to pay hundreds of dollars for them to see me?
[13] Q. Did you tell Welfare how much |
[14] was watching the child, or did you act like |
[15] wasn't there? Which one was it?

[16] A.- You was watching him but then

[17] you saying, oh, well, | need to do things and
[18] this, that and the third, da-da-da-da-da,

[19] like. You seemed like you didn't want to

[20] watch him no more. So [ just, | got up and
[21] left.

722] @Q. What do you mean? When was
this when you supposedly got up and left?
A. August.

Aug t of what?

[1] Ericka Johnson - cross

2] A. Of '08.

3] @. Okay. And was | watching the

[4] child after that?

[5] A. Yeah. We was doing the

[6] halfway. It was you got him one week or I got

[7] him one week and you had him two weeks, | had
[8] him two weeks. We was going back and forth

[9] with it.
[ic] Qa Did you tell Welfare about .
[11] that’?
[12] A. No. | only told him, like, he

[13] was taking care of him for most of the part.
[14] But they not looking at what happened before.
[15] They looking at what happened now. And now
[16] you're not there to help. So what am |
[17] supposed to do?
[18] Q. So you're saying within the
[19] past how long have | not been there to help?
20) «OA. Two years.
[21] @Q. Even though I've paid since
[22] within the past what, six months, over about
[23] six thousand dollars in child support, |
[24] haven't been there?
(25) A. Johnathan, that's your problem.

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1 ‘about the custody of our son between you, me
[6] and your mother?

[7] +A. Yes, | was, because | didn't \
[8] want none of you all to have him. | didn't

[9} want you to have him. | didn't want my mom to
[10] have him. That's my child. If you not

[11] helping me, you not the dad. If she not

[12] helping me, she not the grandmom.

113] Q. Well, after we realized that

[14] you needed to get your education, did | or did
[15] | not want to take care of the child and let

[16] you go be and mature and do what you had to

[17] do?

[18] MR. STACKOW: Objection,
[19] relevance.

[20] THE COURT: Yeah. We're

[21] getting back into that father of the year line
[22] of questioning.
[23] THE DEFENDANT: Okay. Sorry.
[24] THE COURT: That's not the
[25] issue in this case. The issue is under some

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[1] Ericka Johnson - cross (1] Ericka Johnson - cross

[2] of these statutes, if she's under sixteen, [2] age there? :

[3] it's a crime. If she's under eighteen, it's a Bp] A, Yeah, because it was your idea.

[4] crime. That's what this case is about.
[5] BY THE DEFENDANT:

6) So again, did you or did you
._[7] not lie to my family and friends about your

[8] age?

9] THE COURT: No, no "again."

140] The question has been asked and it has been

[11] answered. If you have something new and it's

[12] relevant, then ask the question.

[13] BY THE DEFENDANT:

(14) @Q Okay. So since it's your

[15] testimony that you told no one, you know, your

[16] age or whatever, did like, okay, Neil Bower,

[17] you know, Spaghetti Warehouse.

[18] THE COURT: Is that a question?

[19] THE DEFENDANT: Yeah. I'm

[20] telling her the name of the person.

[21] THE COURT: There are no

[22] preambles. Just ask a question.

[23] BY THE DEFENDANT:

(24) @Q. ° When you applied for a job at

[25] Spaghetti Warehouse, did you lie abo
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[4] You not getting it through your head. It's
[5] your idea. | never knew nothing about this
[6] until | met you. You don’t get it.

1 Qa So it was my idea for you to
[8] apply?
i] «OAC Before | met you, | was in

[10] school. | was doing what I had to do. Now |

[11] met you, I'm everywhere now. That's not fair.

[12] Q. So you said | wanted you to get

[13] a job at Spaghetti Warehouse? Or did you ask .
[14] me to get a job or you said it was my idea?

[is] AL | wanted a job.
(16) Q. You wanted a job?
(i7] A. You said apply for Spaghetti

[18] Warehouse. | said, well, how old you got to

[19] be to work there? You said eighteen. | said,
[20] well, what age am | going to put there? You
[21] said: [ don't know, make up one. Because J
22) wasn't going to apply for it if | had to be

23] eighteen. You know, my thing is doing hair,

your testimony that
kolski
Reporter

[1] Ericka Johnson - cross
[2] all the time we were together that my f
[3] did not Know your age?

[4] MR. STACKOW: Objection.

5 THE COURT: Yeah. That's been
[6] asked and answered several times. Objection
[7] sustained. Plus the form of the question.

[8] BY THE DEFENDANT:

i «=. Can | ask, did you specifically

[10] tell Vicky, a name Vicky, that your age was

[11] nineteen? Could I?

(12] THE COURT: Do you know

[13] somebody named Vicky?

[14] THE WITNESS: Uh-huh. Yes, |

[15] do.

[16] THE COURT: And is Vicky

[17] related to --

[18] THE WITNESS: No. Sheis on

[19] his part of the family. And the only reason

[20] why | came up with a answer so quick, because
[21] she kept hounding me about my age.

[22] THE COURT: All right. So what

[23] did you tell her your age was?

[24] THE WITNESS: | told her

25} nineteen. | didn't say nothing too young, too

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~~ ~

s tel he some stuff would have kicked off.

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.while we was at her birthday

[6] THE COURT: You mean if you had
[7] told her that you were fourteen years old.
[8] THE WITNESS: Yeah. They would

[9] have looked at him. Somebody would have
[10] probably got on the phone and called the cops,
[11] or they probably would have just waited until
[12] we left and we would have been at this, we

[13] would have been here a year ago, probably.
[14] BY THE DEFENDANT:

(is) Q. So Tyra Felder, did you tell

[16] Tyra Felder how old you were?

[17] A. | told Tyra.

[18] Q. How old did you tell her?
[ig] A. That | was what? Almost
[20] sixteen.

21] Q That's what you told Tyra.
22] A. Yeah, that | was almost

[23] sixteen.

[24] THE COURT: At the time that

1[25] you told her that, were you almost sixteen?
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[1]

[2] follows. .

[3] MR. STACKOW: May | proceed
[4] Your Honor?

[5] THE COURT: Sure.

[6] MR. STACKOW: Thank you.
‘FF _ DIRECT EXAMINATION

[8] BY MR. STACKOW:

ig] Q Good afternoon, Miss Freeman.
110] OA. Good afternoon.
[11] @ Can you introduce yourself to

[12] the ladies and gentlemen of the jury and begin
[13] by telling us if you know the young lady that
[14] just testified, Ericka Freeman?

[15] AL Yes.
[16] Q. Or Ericka Johnson. I'm sorry.
[i7] A. Yes. I'm Lucille Freeman,

[18] Ericka Johnson's mother.

(19) @Q How old is Ericka?

(20) (A. Ericka is seventeen years old.
[24] Q. When is her birthday?

[22] A July the thirtieth, 1992.

[23] Q. Do you have other children as
[24] well? .

[25] 4A. Yes, ! do.

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other children do you

[6] current ages?

[7] A. My oldest, her name Shenai

[8] Freeman. She's twenty-three years old. My
[9] other daughter, Devette Alexander, she's

[10] fourteen years old. My other daughter's name
[11] ls Tericka Johnson. She's sixteen years old.
[12] Q. And you don't have to give us

[13] the exact address, but where do you live

[14] generally now, ma'am?

[15] A. In Upper Darby, PA.

[16] Q. How long have you lived at your
[17] current residence? ,

[is] A. Since last year, March the

[19] fifth.

(29) Q How long have you lived in

[21] Upper Darby?

(223 «OA Since '06.

23] @. And back in 2006 and 2007, how

[24] far away were you living from your current
[25] residence?
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[1] ‘Ericka Johnson - cross [1] .
[2] THE WITNESS: Yeah, | was. ._ [2] because | don't even remember, recall saying 5
[3] That's when the time that we had got a U-Haul [3] my age to him.
[4] truck and tried fo take it to my mom, tried to [4] THE DEFENDANT: Your Honor, I'm
[5] get it to my mom house. Because they — [5] finished with this witness.
[6] THE COURT: That's okay. [6]. THE COURT: !s there any
[7] You've answered the question. [7] redirect?
[8] BY THE DEFENDANT: [8} MR. STACKOW: No, thank you.
I] @Q. When Tyra was actually, you and [9] THE CQURT: All right. You can
[10] Tyra was taking the stuff out of the house and [10] step down. You're excused.
[11] everything, did your mother ask Tyra did she [11] (Witness excused.)
[12] know how old you were? [12]. MR. STACKOW: May this witness
[13] A. Yeah, my mom asked Tyra that. [13] step out of the room, Your Honor?
[14] Tyra didn't respond. Tyra didn't say [14] THE COURT: Sure.
[15] anything.” [15] MR. STACKOW: The Commonwealth,
[16] THE COURT: This is all after [16] if | may call our next witness, Lucille
[17] the baby is born? [17] Freeman.
[18] THE WITNESS: Uh-huh. [18] COURT CRIER: Right up here,
[19] BY THE DEFENDANT: [19] ma'am. Please remain standing. Raise your
(20.9 Q. So before the baby was born did [20] right hand. Please state your name. Spell
[21] you tell Tyra your real age? [21] your name for the record.
[22] +A. No. | told her | was eighteen. 2] THE WITNESS: Lucille Freeman.
(233 Q. Okay. Neil Bower, how old did 3] L-U-C-I-L-L-E. F-R-E-E-M-A-N.
[24] you tell him you were? LUCILLE FREEMAN, after having
(25) A. Now, I,can't remember that en duly sworn _was examined and testified as
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* [1]
2) Maybe about two blocks.

[3] Who lives with you now?

[4] Ericka Johnson, Tericka Johnson

[5] and Devette Alexander and Johnathan Robins.

A.
Q.
A.

[4]

[2] all kinds of awards and certificates and

[3] stuff. That's when | attended there for her.
4 @ Was there a uniform that she

[5] needed to wear or a set of clothes that she
[6] needed to wear to school?

(] Q Who is Johnathan Robins?

7] 2A. My grandson. 1 A. Yes. They wore black, tan,
“ TB] Q. How old is Johnathan? [8] blue, orange. Anything that had a collar

[9] A. Two. [9] shirt, they could wear with. That's what they
M10). Now, let me ask you just a [10] could wear to school.

[11] little bit about your daughter Ericka. [11] Q. How about the bottoms? What
[12] Thinking back to 2007 at the end of that [12] kind of bottoms?

[13] school year and then into the summer, my first 13] A. Black pants, tan pants, brown

[14] question is where was Ericka attending school

[15] back in 2007?

[16] A. She was attending Beverly Hills

[17] Middie School. That's in Upper Darby.

[18] Q. How far away was that from the

[19] house where you were living at that time?

[20] A. Maybe like nine blocks.

(21] Q. Did you ever go to her school

[22] or walk her to her school at any dates when

[23] she was attending school there?

(24) A. Yes. | have attended there for

[25] a parents’ conference and when she has
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[14] pants. Just the solid colors that they could
[15] wear to school.

{16] Q, Now, Miss Freeman, | have to

[17] ask you a couple what may be difficult

[18] questions, but forgive me. Do you know the
[19] father of Ericka's baby, Johnathan? Do you
[20] know that person's name?

[21] A. As far as | know, it's

[22] Johnathan Robins.

3] Have you ever met that person

or seen him in person?

A, Whe rst seen him, he was
kolski

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[1]

[2] in Upper Darby inside of a McDonald's,
[3] first seen him, and | approached him and’h
[4] looked at me and | looked at him. And I told™!,
[5] him, | said, You know you're messing with a
[6] minor? And he looked away again. And | said,

[7] Did you just hear what I said? | said, If it

[8] was a cop around, I'd have got you locked up.

[9] He turned away again. | said, | know you take

[10] care of my grandson, because he had a baby bag
[11] on the side to take the baby in.

[12] @Q. So let me ask you this. My

[13] next question was going to be when did this

[14] encounter happen? Do you recall the date that
[15] that happened, ma'am?

[16] A. Oh, not really.

[17] Q. You mentioned something about

[18] your grandson. Was your grandson born by the

McDonald's in Upper

STS] Who else was he with?

Is) =A He was, well, at the time when

[7] | did see him, he was walking down the street
18] with my daughter. And I'm sitting in the nail

[9] salon and | happen to look up and look out the
[10] window, and that's when | seem them two

[11] walking down the street. And I'm like, that
[12] can't be. Oh, that can't be. So after I got

[13] finished doing what | was doing, I Jeft and |
[14] walked down the street. She already had

[15] departed from him. He was still inside the

[16] McDonald's ordering food or whatever he was
[17] doing. And that's when | wentin. 1

[18] approached him and started talking to him.

[19] time that you had that encounter? [19] Q, What did he say to you when

(20) A. Yeah, he was born. He was, he [20] you —

[21] had a baby pouch across his side with the baby [21] A. ‘He just looked at me like he

[22] in it. [22] was retarded or he was stupid or whatever, you
[23] Q. So that's the first time you [23] know, like he didn't have nothing to say, you
[24] saw the father of your grandson? [24] know.

25) A. That's the first time. (25) Q Did you tell him who you were?

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[1] [1]
2] A. Yes, | did. | told him] was [2] Tuesday or a Wednesday morning she went in. £
[3] Ericka Johnson's mother. And he looked at me. [3] When she went in, she had the baby and
14] He looked up and down and turned his head fo [4] everything. When after she had the baby, |
[5] the other way. [5] told Ericka | was going to go home and get
js) Do you see that man that you [6] ready for work and when | get home from work
[7] had this encounter with here in court today? [7] I'll be back. She said okay, Mom. So [I'm
[3] A. Yes, | do. , [8] going down in one elevator. He's coming up in
19] Q. Could you point him out for [9] another elevator.
[10] these folks on the jury? id) @ When you say he, who were you
[tq] A. (Witness points.) [11] referring to?
[12] MR. STACKOW: The record should (i2] A Mr. Johnathan Robins was coming
[13] reflect she's identified the defendant as the [13] up in the next elevator.
[14] person she had this encounter with. [14] Q. Did you actually see him in
[15] THE COURT: Any objection to [15] that elevator or you learned later that he
[16] that? [16] was?
[17] THE DEFENDANT: No. [17] A. No. | learned later that he
[18] BY MR. STACKOW: [18] was coming up.
(19) @. Miss Freeman, let me take you [19] THE DEFENDANT: Objection.
[20] back to your grandson's birth. When young [20] That's hearsay.
[21] Johnathan was born, do you recall that date, [21] THE WITNESS: He was coming up
[22] actually, Miss Freeman? [22] in the next elevator.
[23] (A. When John-John went in, when THE COURT: No. The objection
[24] Ericka went into the hospital, we went i is that you couldn't know that unless somebody
125] 5:05 that morning. | think it was on a A
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[5] BY MR. STACKOW:
js} ° Q. Without saying what was told to

[7] you, did you in fact have a conversation with
[8} somebody?

19) A. Uh-huh.
fio]. Q. At the hospital?
[11] A. No. At the hospital, | didn't

[12] have any conversations at the hospital at all.
[13] One of the midwives came fo my house. They
[14] come out to, when you come home from the

[15] hospital with your baby, they come out to your ~

* {16] house to do, to check on you and the baby.
{17] @Q. And when was that? How long
[18] after John-John was born was that?
[19] =A. Maybe about two to three weeks.
[20] No. Two or three days. Yeah, two or three
[21] days. They come out. They check on you and
[22] the baby. Because the midwife said that
[23] Ericka left the hospital so fast that she
[24] forgot her pump for her breasts to feed the
[25] baby. So she comes in. She says, Hi, Miss

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you doing? | said I'm fine,
nd'she says, | have some --
ét:me stop you for a second
TS] because | don't Want you to get into the

[6] conversation back and forth that you had with
{7] this midwife that came out to the house.
[Is] «OCA Uh-huh.
I @. But as a result of that
[10] conversation, Miss Freeman, did you speak to
[14] your daughter about the father of her child?
[12] A. Yes, | did. :
13] @ And what did you Jearn during
[14] that conversation with your daughter?
[15] A. Well, for one thing, she told
[16] me that the baby’s father was a younger boy.

[18] was the baby's dad. Come fo find out it ©
[19] wasn't the baby's dad. So she had lied to me
[20] and said that that was the baby’s dad, and on
[21] down the line it wasn't. It was Johnathan

[22] Robins.

[23] @ All right. The defendant in
[24} court here.

[25] =A. Yes.

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[17] We met the young boy and we assumed that that

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M1] . [1] .
27° Q. Now, how long aiter you learned [2] me and asked me what was going on and | told

[3] that was it that you had this encounter with

[4] the defendant in the McDonald's? .

Ib] A. I'd say about a month.

[6] Q. Now, up until that, well, at
_[7] any point did you ever give the defendant

[8] permission to have your daughter live with

[9] him?

f10) OAL No, | didn't.

[11] Q. Did you ever give him

[12] permission to take your daughter out of state?

[13] A. No, | didn't.

(14) Q. Did you ever give him or

[15] anybody permission to marry your daughter,

[16] Ericka Johnson?

[17] A. No, | didn't.

[18] Q. Miss Freeman, just a couple

[19] more questions. Once you learned the identity

[20] of the father of your grandson John-John, did
* [21] you call the police?

[22] A. Yes, | did.
[23] @. And who did you first call?
(24) A. 1 called the Upper Darby Police

[25] Department. They sent someone out
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[3] them. They said right now take it over to:

[4] Philadelphia court, | mean Philadelphia police .
[5] station, and have them, you know, do more
[6] investigation than that too, So that's what |

[7] did. And | didn’t hear from them for a good

[8] long time so | figured maybe they probably

[9] went on and started investigating or doing

[10] what they would do, whatever. But | haven't
[11] heard from them for a while. It's been a

[12] while since | haven't heard from them.

[13] @Q. Let me ask you then about

[14] February eleventh of last year. Do you recall
[15] talking to your daughter on the telephone

[16] regarding the custody of your grandson?

[i7] OA Repeat that again?

[is] = Yeah. The question was,

[19] directing your attention to February eleventh
[20] of last year, 2009, do you recall talking to

[21] your daughter Ericka on the telephone about
22] her trying to get, find out or find where her
son was, your grandson was?

A. Yes, | did.

Q. Oka

[1]

[2] A. Yes, | did.
3] Q. Now, did you go to the police
[4] that day as well? Do you recall going to
[5] police that day?

[6s] A; No. | didn't go to the police.
7) 3 @. Do you recall talking with a
[8] police officer?

fo] A. Yes. | recall calling them and

[10] they said that call over to the Philadelphia
[11] police and let them know what's going on.
[12] That's what they told me.
[13] MR. STACKOW: Your Honor, I'd
[14] like to have this document marked as
[15] Commonwealth Exhibit C-2. Again, a copy was
[16] previously provided to defense. | have an
[17] extra copy here. Do you need an extra copy?
[18] THE DEFENDANT: Yes. Thanks.
[19] MR. STACKOW: You're welcome.
[20] COURT CRIER: So marked
[21] Commonwealth Exhibit C-2 and shown to the
[22] witness.
[23] BY MR. STACKOW:
[24] Q. Miss Freeman, just take a
* [25] moment to look over the three pages of the
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rked as Commonwealth exhibit
nize this document, Miss

A. No I on't.

“rT5] .
(6) @. Okay. Does your signature ”
[7] appear on that?
I] OA. Uh-huh.
[] Q. Is that in fact your signature?
[10] «=A Yes, that's it.
[11] Q. Okay. And what's the date and

[12] the time of that signature on there?

[13] A. The time is 12:14, 2/11/09.

(14) Q Do you recall going to a police

[15] office at Front and Lehigh Streets in the City
[16] of Philadelphia on that day?

[17] A. Yes. Yes.

(ig) = Is that where that statement
[19] took place, as you recall, ma'am?

20] =A. Yes.

21] Q. Now, let me ask you about

[22] the —- and I'm not going to ask you any more ,
[23] questions about that document. You can put it
[24] to the side if you'd like, Miss Freeman. My
[25] questions are, was there a time after
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[1] ‘

[2] John-John your grandson was born that-he and

[3] his mother, your daughter Ericka, did not live

[4] with you?

[5] A. Yes. It was, oh, about | think

[6] two months.

[7] Q. What was it that led to Ericka

[8] and her child not living in your home? Why

[9] was that? :

(io) «SCA. Well, Ericka Johnson told me

[11] she was a fully grown woman, she's married

[12] now, that she said she didn't want to live

[13] here no more. | said, Really? She said yeah.

[14] | said, Why you don't want to live here and

[15] you sfilla minor? Oh, John-John's dad said

[16] I'm a fully grown woman, I'm his wife. So

[17] after that, | just walked away.

[13] @ How long was your daughter

[19] living outside of your home then? For how

[20] long? You know, how many months or weeks or

[21] days?

[22] A. Well, when? Before she met him

[23] or?

124) @. No. After you had that

[25] conversation with her, did she move out;

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[1]
[2] that conversation?
3] =A. Yeah.

4] @. Yeah. And how long did she

[5] move out for?

(6) «OA; She was gone for about a good,

[7] a good three months.

[8] Q. Did she come back to live with

[9] you after those three months?

liq) «=A She came back because she said,

[11] she came back and she said, Mom, she can't

[12] deal with it because the baby was a infant and

[13] she said that --

14] THE DEFENDANT: Objection.
(15) THE COURT: The basis?

[16] THE DEFENDANT: This is
[17] hearsay.

[18] THE COURT: No, overruled.

[19] BY MR. STACKOW:
[20] Q. You can go ahead, Miss Freeman.

(21) What did your daughter say when she came back
22] home? .

A She said, Mom, | can't take it
any more. She said that it was hot, it was a

[1]
[2] down in the basement and turned the:
[3] electricity off. So when he turned the
[4] electricity off, he turned the air off too.
[5] So that's a baby. And I said, Well, pack your °
[6] things up and come on back home.
7] When she got home she was
[8] crying, | said, Ericka, did he put his hands
[2] on you? Ericka looked at me and she just

10] walked away. | said, Ericka, come here. |
[11] said, Did he put his hands on you? And she
[12] wanted to tell me something right then and
[13] there and after that she just said, Mom, |
[14] can't deal with it any more, | just can't take
[15] it any more.
116] . @. ~~ And has Ericka lived with you
[17] ever since that time?
[18] A, Yes, she has.

Tg} Has your grandson John-John
[20] lived with you ever since that.time?
21] A. Yes, he has.
[22] Q. Now, if you know, Miss Freeman,
[23] has the defendant had visitation or times
[24] where he would see your grandson?
(25) A. He would come out when Ericka

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“i5] Morning. And then when Ericka get out of

[6] school, he meets Ericka up Sixty-Ninth Street

[7] to pick the baby up.

[8] @Q. ° And for how long did that go on

[9] for? How Jong? How much time?

(io) SA. | guess until she got tired of

[11] his nonsense, whatever he was doing to her.

[12} Q. Since the time that you went to

[13] the police department on February eleventh,

[14] 2009, has the defendant had any visitations or

[15] custody with your grandson?

[16] A, Not that | know of.

[17] ' MR. STACKOW:. Thank you very

[18] much, Miss Freeman. That's all the questions

119] | have of this witness, Your Honor.

[20] THE COURT: Do you have any

[21] questions? |

[22] THE DEFENDANT: Yes, sir.

[23] CROSS EXAMINATION

[24] BY THE DEFENDANT:

[25] Q. Okay. You said Ericka would go "

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I) Lucille Freeman - cross

[2] to‘school at the time before she met me.

(3] That's what you had said before. When did
[4] Ericka stop going to school?

[] A. Ericka stopped going to school
[6] when you were stalking her.

[7] Q. No, no.
* [8] THE DEFENDANT: Objection.

[9] THE COURT: What's the basis?
£10] THE DEFENDANT: Because she's
[11] saying | was stalking her.

[12] THE COURT: Objection is

[13] overruled. You were saying that Ericka went

[14] to school until he started stalking her?

[15] THE WITNESS: Yes.

[16] THE COURT: Are you able to

[17] give some date for that or? Or what do you

[18] mean by stalking her?

[19] THE WITNESS: The principal

[20] would call me and she said, Miss Freeman, --

[21] THE COURT: Well, you can't

[22] tell us what the principal said to you.

[23] THE WITNESS: Okay. Well, he

[24] was stalking her in the morning and in th

[25] evening when she gets out of school. A
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(1] Lucille Freeman - cross

[2] says she can't take it any more, why is he
[3] doing that? And I said ! don't know about
[4] that.

[5] BY THE DEFENDANT:

(6) Q. ° What time frame was this

[7] supposed to be? Around when?

[8] A. From Monday through Friday,
[9] every day.

[10] Q. Well, what year, month?

(it) A, The time after she didn't have

[12] the baby. That was when she went back to
[13] school. So it had to be when she had, after
[14] she had the baby. That was around what? In

[15] '08.

(16) @. And Ericka said that | was
[17] stalking her?

(18) 3A. Ericka said it and the

[19] principal said it.

[20] Q. Well, you can't say what the

[21] principal said. So after the baby was born,

--|[22] you're saying in August of '08 | was stalking

her. That's what she told you. _
That's what she told me, yes.

(1] Lucille Freeman - cross
[2] specific days or times? You say, okay.
[3] August of '08 she was going to school
[4] was stalking her.

(5] A. Yes.

[6s] - Q. August is summer. There's no
[7] school. ,

[83] =A. | didn't say August. I didn't

[9] say August. | said the time she was going to
[10}'school. You only go to school, you only go to
[11] school from January to September, from

[12] January, | mean from September till June.
[13] Okay?

{i4] @Q. Okay. So the question | had

[15] asked is, when did Ericka? Before she had the
[16] child, was she going to school?

[17] ~A. Yes, she was going to school.

[18] Q. Then why? What year and month
[19] did you get a fine for her not going to

(20) school?

(24) A. | got a fine for her for, as a

[22] matter of fact, it was for her maternity

[23] leave.

[24] °Q. So the school never tried to

[25] fine you before she was pregnant for her not

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did not notify me at

[5] © MR. STACKOW: Objection.

[6] THE DEFENDANT: The relevancy
[7] of the question is if mistake in age —

[8] MR. STACKOW: Objection to the
[9] statement.

[10] THE COURT: Yeah, there's no

[11] statements. At the conclusion of the case
[12] you'll be able to address the jury and to
[13] explain to the jury whatever relevancy you
[14] think any of this has. But for now it's just
[15] a matter of you asking questions.

[16] THE DEFENDANT: Okay.

[17] BY THE DEFENDANT:

[18] Q. So before, you say before

[19] January of 2008, you knew nothing of me at
[20] all.

[21] A. No.

22] Q. So when she was, when did you

[23] know she was pregnant?
(24) A. When | knew Ericka Johnson was
[25] pregnant is when my daughter said, Mom, look
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[1] Lucille Freeman - cross (1] Lucille Freeman - cross
[2] at Ericka's stomach. And | said maybe she 12) and had a cell phone in 2007? t
[3] just gaining a little weight. And my daughter 3) A. Yeah. | knew she had a cell
[4] said no, Mom, look at Ericka's navel, it's [4] phone. I knew she had clothes and going
[5] popped out. 15) shopping. Like | said again, the
fe) QQ. Around what month was this? [6] eighteen-year-old boy she was with. And In m
7] (OA That was around, probably {7] thinking that he's the one that was buying her
[8] around May or June, one of those months. [8] the things that she was getting.
9 86. And at that point in time did i} @. Did you try to find out who the
[10] you inquire of who the father was? [10] phone actually belonged to? | mean, you never
[11] A. At that time, like | said, she © [11] attempted to find out who the cell phone?
[12] told me it was that eighteen-year-old boy that [12] A No, | didn't, because it's just
[13] we had met. She didn't say nothing about no [13] a cell phone.
[14] older guy. She said it was the young boy she [144 @ Did you think it was your
[15] was involved with that she had brung out to [15] daughter's or someone else's?
[16] the house to meet us. That was it. (ie) A. No. It was my daughter's.
fi7] @. So she basically lied to you (177 Q. Did she get a bill for it?
[18] about who the baby's father was. [18] A. No. I did not see a bill.
[19] ~OA.w Yes, she did. [19] Q. So if you didn't see a bill,
(20) @. And did she lie to you about [20] don't you think maybe somebody else gave if to
[21] the pregnancy until a certain point? [21] her? .
[22] A. No, she did not lie to me. She MR. STACKOW: Objection.
[23] didn't tell me she was pregnant. THE COURT: Overruled.
[24] @Q. Did you notice at times when... THE WITNESS: Well, like I said
[25] she might have gone shopping and had: -she was involved with probably
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[1] Lucille Freeman - cross

[2] gave her the phone or paid for the phor

[3] however it went. And, no, | was not try
_ (4) ask all kinds of questions about no cell *

[5] phone.

[6] BY THE DEFENDANT: |

my a. Okay. You claim that and your

[8] daughter was pregnant in, you noticed in May

[9] or June she was pregnant and her birth date is

[10] July. So she was fourteen when she got

[11] pregnant, correct?

[12] A. Yeah. | think so, yeah.

113} @. And you said that you thought

[14] the father was an eighteen-year-old person.
[15) A Yes.

(is) Q Did you pursue any remedies

[17] about that?

[18] OA. No.

lig) QQ Okay. When Ericka came and

[20] picked up her stuff somewhere in early 2008,
[21] she came with a U-Haul van.
[22] +A. Yes, she did.
[23] Did you say anything to the
[24] person that was with her? Did you ask the
[25] person any questions?

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15] that came and picked her things up. | said,
[6] Oh, yeah? And | asked her, | said, Well,

[7] where is he-at? And she said, He's home with
18} the baby. | said, Oh, okay. After that, she
[9] got all her things up. | closed my door up
[10] and | locked it, and that was it.
[11] Q Did you ask the young lady that
[12] was with Ericka did you know how old Ericka
[13] was?
14] A. No, | didn't.
[15] THE DEFENDANT: May | just have
[16] a moment for a second, Your Honor, to get
[17] myself together? |
[18] BY THE DEFENDANT:
[19] Q Here's a question. When on
[20] February eleventh, 2009, at the time that |
[21] was arrested and you had to go make out this
[22] statement, did you or Ericka call me before
[23] the police were called out?
(24) A, Ericka might have called you.
[25] GQ. But you never called me?

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{1] Lucille Freeman - cross , [1] - Lucille Freeman - cross

2] A. Call you for what? [2] my house to take anybody out because the baby

B) Q. I'm just asking. [3] is sick. So Ericka gets mad even more. She

4] A Call you for what? [4] calls the police. [| say you can call the

[fp] Q. I'm just asking. [5] police all you want.

[s) A. No. [6] So the police came, knocked on

Mm a. Okay. So another question. 17] the door. | let them in and ! explained to

“ 1g] When around January first of 2008, did you °

[9] refuse to give Ericka her child back?

Mo) OA. Yes, | did refuse to give her

[11] baby to her.

[12] THE COURT: I'm sorry. That

[13] date was what? January first, 2000 —

[14] THE DEFENDANT: 2008. Well,

[15] 2009. My fault. Wrong.

116} THE COURT: So when the baby

[17] was about a year old, less than a year old.

[18] THE WITNESS: Yes. When Ericka

[19] had came home, she was out with other people
[20] and it was below zero outside. The baby was
[21] already sick. I told Ericka she was not

122] taking that baby back out in the air again.

[23] Ericka put up a fight. First thing she did

[24] was get mad, call Johnathan Robins to com out
[25] to take the baby. | said he's not comin

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[8] the police what was going on, and | told them
[9] the baby's already sick with a cold and he's

[10] not going to go back out there and it's below
[11] ero out there. So they told me, Well, you

[12] got to listen to what your mom says. Whatever

. {[13] mom say goes, because it is cold out there.

[14] They did not have a car seat for him. They
[15] did not have a.car for him. Okay? They were
[16] walking with this baby to take him back up to
[17] Philly. And then that's when the police told
[18] thern to go home

[19] BY THE DEFENDANT:

209) @. So when the police were called,

[21] Ericka called me and | knew the police were
22) there. Well, | came there with the police
there. Did | run or deny who | was?

A. Say that again?

the police there at your

kolski

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[1] Lucille Freeman - cross
[2] house on January first, 2009, did | den
[3] was? Did | tell them who! was? Or what’
14] | say, to your knowledge? Who did | repré
[5] myself to them as?
[6] A. | don't know what you
[7] represented to them because | was in the
[8] house. You was outside talking to the police.
[9] So I didn't know what you was saying to the
[10] police. | was inside.
(1i]°  Q Okay. Is there any other time
[12] the police were called to your house when |
[13] was outside your house?
[14] A. Yes. They were there because |
[15] called them. It was another time. He came
[16] out early in the morning, seven o'clock in the
[17] morning, to get the baby. It was raining and
[18] it was still cold again. Okay? Another time.
[19] He's not going out because he's still sick
(20) again. Mind you, he was born with asthma.
[21] Not asthma. Oh, God. | can't even get it
[22] out. Pneumonia. He was born with pneumonia.
- [23] And he was still congested and everything. So
[24] | told Ericka to go tell Mr. Robins to go
* [25] home, come back tomorrow fo get him. He
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> Cross
stayed out there for
hours or whatever.
ed the police. The
15] ‘police came out. ‘| told the police that he
[6] wasn't getting him today, come back tomorrow
[7] to get him. Like he said, the cop told him
[8] you don't have a car, you don't have a car
[9] seat to take the baby with you. So like the
[10] mom said, you're not taking the baby at all
[11] today.
[12] So the police told him to go
[13] home. He refused to leave. And then he
[14] started saying some things to the police
[15] officer and the police officer say, | don't
[16] care, just go home. If she doesn't give you
[17] the baby tomorrow, then you call the police
[18] back. And after that, that was it.
(19) Q. So do you know how often J or
(20) Ericka took care of the baby?
21] A (No response.)
[22] Q. Since the baby was born, who
[23] was taking care of the baby?
(24) A. To be honest, | look at it that
[25] Ericka was taking care of that baby.
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[1] Lucille Freeman - cross [1] Lucille Freeman - cross
[2] A. I don't recall what month that

2 a Okay. You said Ericka was

[3] taking care of him. So when | was going back
[4] and forth picking him up, | wasn't taking care

[5] of him or?

je) =A. You were just picking him up

[7] while she goes to school.

[3] =@. And who filed for welfare for

{9] the child? :

[io] A. | filed for welfare for the

[11] baby.

[i273 Q. And when was that?

[13] A. | think it was in ‘09.

(i4) Q. Did you file welfare for the

[15] baby earlier than that?

[ie] A. No.. I filed for it when she

[17] said she need medical assistance, the baby
[18] needs his shot records and stuff. She did not
[19] have no kind of insurance for the baby. Okay?
[20] And then she said the money that Mr. Robins .
[21] said he was going to give her to take care of
[22] the baby, she didn't see any of that money.

23] Q. So what exact date did you

[24] file? Well, what month, what year? That's
[25] fine.
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[3] | did it, but | Know | did it.
4] @. You didn't file twice? You

"| [5] only filed once?

[eo] OA. It only take one time to file
[7] for public assistance for a baby.

jf) Q. And for having a child on

[9] public assistance, do you get extra things

[10] like housing allowance because you have a baby
[11] on the housing allowance?

[i2] A. | don't know about all that.

[13] All | know is | applied for assistance for her

‘1(14] and her baby.

(15) QQ. And did you when you filed, did
[16] you mention at all any type of care that |
[17] might be caring for the baby at all?

[18] OA. At that time, | didn't care if

[19] you did or you didn't.

[2043 Q. So how long have you been on

_ [21] public assistance?
(22) A. I'm not on assistance. My

3] daughters are on assistance.
So when Ericka left the house
ul:van, did you come looking for

[1] Lucille Freeman - cross
[2] her?
[3] A. Yes, | did.
[4] Q. What month, what year?
[5] A. ] don't know what month. But
[6] me and my aunt had came up there to find where
[7] you lived at. We got lost finding where you
[8] lived at, Mr. Robins lives at. And they told
[9] us to go on to a different street. So we went
[10] on a different street. We got lost. We
[11] circled back around. We came back around.
[12] And then we found Mr. Robins’ house. We went
[13] there. We knocked on Mr. Robins' door. We
[14] kicked his door. We pound on Mr. Robins'
[15] door. We told Mr. Robins, You know you got a
[16] minor living up in that house, you know you
[17] are doing something that you don't have no
[18] business doing to this child. Okay? We
[19] didn't hear anything else. But the neighbor
{20] came out. The neighbor says, He's up in
[21] there, we just seen him go up in there with
[22] the baby. | said, Oh, realty? And the
[23] neighbor said yes.
[24] So we sit outside for over two
[25] and a half hours. We called the police. It

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hat? Two and a half hours
\ere‘to see us to see what was
was the problem. We siill
5] waited and waited and waited. Then the police
[6] came. When they finally came, | told the
[7] police what was going on and everything. The
[8] police officer said, Well, you got to take it
[9] down to the courthouse. So we took it down
[10] there. No, to the police station. We went
[11] down there. We put the complaint in. And
[12] then they said after that they couldn't do
[13] anything else. So after we went from there,
[14] then we went back on home.
[is] Qa Question. From the time that
[16] you allowed Ericka to leave to the time that
[17] you went looking for her, why? What changed
[18] your mind to make you go looking for her?
19] A. Well, for one thing, the things
[20] that she said to me, and } look at it this
[21] way. Ericka’shouldn't be living with no grown
[22] man with no baby at all.
23] Q So what things did Ericka say
[24] to you that changed your mind to have you from
[25] the time that you let her leave?

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i) Lucille Freeman - cross , [1] Lucille Freeman - cross

(2) A: She told me that she don't know [2] Were you describing a telephone conversation

[3] how to be a wife. This is her first baby. [3] when you said she just turned and walked away?

[4] She doesn't know how to really take care of a [4] THE WITNESS: No. We were

[5] baby. She said he want things from her that , [5] together. We did have conversations on the

[6] she doesn't even know how to do. And I'm [6] phone talking and then she comes and she talks

[7] asking her, Well, what is the things that he [7] to me. The time that she's not with him, she
“[8] wants you to do? And then after that, she [8] does come and talk to me about different

[9] turns her head and then she walks away. And {9] things about him.

£10) that was it. [10] THE COURT: But the original

(1jy Qa What? So you had a 44] question was, what did Ericka tell you that

[12} conversation, not a telephone call but a [12] changed your mind and caused you to go to his

[13] conversation with her about this that changed , [13] house to try fo change the situation?

[14] your mind to make you come looking for her? 114] THE WITNESS: Like I said, she —

(15) =A. | told her when she called me. [15] told me that she said she don't know how to be

[16] She called me on the phone. [16] a wife to this man. He wants things done and

li77 Q So she called you on the phone. [17] she doesn’t know how to do it. And that was

[is] A. Yes, she called me on the [18] it.

[19] phone. [19] BY THE DEFENDANT:

[20] Qa. And that conversation that you [20] @. What things specifically? Did

[21] just told us about was a phone conversation, [21] she say?

[22] right? 22] A. She turned her face to me and

[23] MR. STACKOW: Objection to . |] walked away. She didn't tell me everything.
[24] cutting the witness off. So Just some vague. So she
[25] THE COURT: No, overruled. i

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[1] Lucille Freeman - cross
[2] A. No, she didn't. : 0 when the welfare
3) @. Is the reason you came up ere, you said that you first

in 2009; is that correct?

[4] there, was it actually looking for the child’
aid | filed for, probably

[5] because Ericka and | had called Welfare and -

[6].told them to get our son off of your check? [6] applied for the baby in ‘08. [ just got her

[7] |s that the reason why you came up there? [7] turned off in '09 because she asked me, Mom,

(83) OA. No, it was not the reason at [8] can you take me off of public assistance? And

[9] all. [9] ] said, Are you sure you want to do that? She

(10) Qa So you said that Ericka and | [10] said yes.
_ [14] was living together for what? [11] @Q. | thought you said 2009 when

[12] A. It had to be for like three [12] you first. So when in 2008 do you say now

[13] months. [13] fhat you had the check turned on?

(14) Q. Three months in what? 2008? (14) A. She asked me to put her on, it

[15] A, It had to be somewhere around [15] had to be in March or April.

[16] there. ~ 116] ‘JHE COURT: So it's after the

7] =. And was the check cut off for [17] baby was born? Was it after the baby was

[18] him while she was with me in 2008? [18] born’?

[19] MR. STACKOW: Objection. [19] THE WITNESS: Yes.

[20] THE COURT: Well, overruled. [20] BY THE DEFENDANT: .

[21] At any time was the welfare check for the baby (21) Q. ‘And you were receiving the

[22] cut off? [22] check, correct? In your name.

[23] THE WITNESS: No, it wasn't. [23] A. Yes, because she's still

[24] It was still on. " 3[24) underage to get any kind of assistance. She
* [25] BY THE DEFENDANT: [25] has to be eighteen to get her own assistance.

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a, Page 210
[1] Lucille Freeman - cross [1] ° Lucille Freeman - cross

[2] Q. And so for, like you said,

[3] three to four months myself, my wife and my

[4] child were living with me but you were

[5] collecting the check. ,

fe] «COA. | was getting the check and

[7] Ericka would come to me, ask me, Mom, when do

[3] | get my little digits? And | would tell her.

[9] She would come down and pick it up.’ And after

[10] that she'll tell me the baby needs diapers,

111] the baby needs wipes or the baby needs some

[12] onesies, T-shirts. | would give Ericka her

[13] money so she could go and do whatever she had

[14] to do for her baby.

[15] Q. Okay. Do you know who was

[16] taking the baby to the hospital when he was

[17] first born, to the clinic when he was first

[18] born?

[i9]) A. | guess you was.

20] Q. But | wasn't on any paperwork

[21] for the child as far as taking care of him,

[22] correct?

[23] A. 1] don't know. | really don't

[24] know.

[25] @. Well, you filled out the
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[2] paperwork.
i] A. What paperwork?
4] @Q The paperwork to apply for

‘1 [5] welfare. Right?

[Is] A. Yeah.
7] @ Okay. Did you put down when

| [8] Ericka, when you put Ericka on welfare, did

[9] you put down the fact that she was married on

[10] the application?
Itt] A. No, | didn't. .
[12] Q. Did she tell you that she was

[13] married? .

114] A. . Yeah, she told me she was

[15] married.

lig} QQ. When you first filed the

[17] application?

[18] OA. She been told me she was

[19] married way before | went to the public

[20] assistance office to put in for assistance for

[21] her.

22] @. So, okay. So how long were we

married before you found out we were married?

THE COURT: Well, that actually

at's not in evidence. So

[1] Lucille Freeman - cross
[2] far, we've heard that you have to be e hte
[3] in Missouri to get married, that Ericka was
[4] not eighteen, that she had a phony ID. S6
[5] there is a question open as fo whether you
[6] were ever married. From what we've heard in
[7] this case so far, you were never married. So
[8] you can't ask her a question that assumes a
[9] fact that's not in evidence.
[10} You could rephrase the
[11] question, you know, related to when did you go
[12] to Missouri, when did you come back from
113] Missouri, when did you go through a phony
[14] ceremony or however you want to characterize
[15] it. But you can't ask her a question that
[16] assumes that you and Ericka were ever married
[17] because there's no evidence that you ever
[18] were.
[19] , THE DEFENDANT: Can | present
[20] evidence, the law? Do! have to? The law
[21] about marriage. Do | present it now or do |
[22] got to wait? Okay. I'll wait.
[23] BY THE DEFENDANT:
[244 Q. So from January 2008, at what
125] point in time did you learn that supposedly we
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JKAYs::.

5] did you learn that we went to Missouri to get
[6] married?
1 A. | didn't even know you had
[8] left, neither one of you all had left to go do
[9] anything.
(199 Q. At what point in. time did you
[11] know this?
[12] A... Like 1 said, | did not know.
[13] Q At what point in time did you
[14] find out?
[is] A. When I found out, when my
[16] daughter and them had went on it's a thing
[17] called MySpace and Ericka is all over MySpace.
[18] My daughter said, Mom, you need to look at
[19] this, look at Ericka, she's all on the beach
[20] and everything. Then she says on vacation.
[24] On her MySpace page says on vacation. And
[22] then when | did catch up with Ericka when she
[23] did come back home, | said, Where was you at?
[24] She said, Oh, | was on the beach. What beach?
[25] She said, Mom, it's just a regular beach. |

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i Lucille Freeman - cross
(2) said, Oh, okay. And after that | left it
[3] alone.
4) @Q But the question is, when did
[5] you find out Ericka and | had went to Missouri
[6] to get married?
[7] #A.« ] didn't find that out until,
“1g] like | said, when Ericka came home. That was
[9] like maybe two weeks later after she done came
£10] home.
(iy Qa Came home from where? What
[12] month? What month? What year? Around about.

[i3}° AL ! don't know what month it was.
(14) Q. Late 2008? Early 20097

(15) A. It had to be in '08.

16] .Q. Late 2008?

(17) A. ‘08, '09, whatever. You all

[18] went off and did this. You all went off and

[19] snuck off and did this and you know you wasn't
[20] supposed to go do nothing like that.

21] Qa All I'm asking is when --

[22] THE COURT: The answer to the

[23] question is she doesn't know.

|

j[16]

(1] Lucille Freeman - cross

(2) THE COURT: And that's her

[3] answer. I'm not even sure you're talking

[4] about the same thing, unless there's a beach
[5] in Missouri.

{6} THE DEFENDANT: Yeah, ! Know

[7] that. So the question about Missouri, | got
[8] fo think the same thing. So the answer to

{9] Missouri would not come up with beaches. The
[10] reason that | was asking the question is

[11] because she said that —

[12] MR. STACKOW: Objection.

[13] THE COURT: The objection is

[14] sustained.

[15] BY THE DEFENDANT:

Q. Well, earlier, did you not say

[17] that you put down that she was married on the
[18] application? Did you put down that she was
[19] married on the application or supposedly
[20] married on the application?

[21] A. No, I did not put down nothing

=. 1[22] like that.

Okay. Did you know that I had

[24] THE DEFENDANT: She doesn't
[25] know. ©

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[1] Lucille Freeman - cross :ucille Freeman’- cross
2] «a. How did you find out? ah; it'would have stopped it.
[3] =A. Ericka told me. Q: okay.” Did Ericka act
[4] @. And what did she have to say * [4 Concerned about me getting custody of my son?
{5] about it? ib) OA. Yeah. ,
[6] A. She said -- [ay Do you know there was a time
[7] MR. STACKOW: Objection. [7] where some hair -- | forget the name of this
[8] THE COURT: Well, overruled. [8] hair company place, Dynamite something or

[9] Ericka toid you that this man filed for
[10] custody of John-John.
[14] THE WITNESS: Uh-huh.
[12] THE COURT: Okay.
[13] BY THE DEFENDANT:
[14] Q. And if | had won custody, would
[15] that have stopped his check going to you or
[16] Ericka?
[17] MR. STACKOW: Objection.
[18] THE COURT: Well, overruled.
[19] If she knows.
[20] THE WITNESS: Repeat that
[21] again.
[22] BY THE DEFENDANT:
(23) @Q. lf |] had won custody of my son,
[24] would that have stopped welfare from going to
* [25] you or Ericka?
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[9] whatever.

[io] SAY It's called Dynamite Braids,
[11] yes.

[iz] Q. This lady came to your house.

[13] Did you have to tell her what age Ericka was?
[147 A. No, | didn't. ,
(15) Q. Okay. Do you know if Ericka
{16] ever lied to her about her age to Dynamite
[17] Braids?
(is) =A. ] don't know if she did or she
[19] didn't, but the lady never asked me how old
[20] was Ericka to do hair.
[21] Q. Did you ever offer to tell her
[22] how old she was?
[23] A. No, | didn't offer to tell her
[24] because she didn't ask. She was looking for a
[25] hairstylist that does good hair to help her

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[1] Lucille Freeman - cross [1] .

[2] company out, and she seen what kind of styles

[3] that Ericka can bring for her and she told

[4] Ericka welcome aboard, you got the job.

fp Q. Well, don't you think, so did

[6] you have to sign any papers or anything?

i] «OCA: No, | didn't. .

[a] «=. Okay. Do you know if she ever

[9] lied about her age to get any jobs?

10) A. Well, like | said, if she did,

[11] she wasn't with me to lie to get a job.

127 a Do you know if she lied about

[13] her age when she was dating anyone or she

[14] tried to date anyone? /

(15) A. Yeah. She did lie about one

[16] particular time. At one time she did tell

[17] somebody she was a certain age and then when

[18] the boy came back and told me that Ericka said

[19] she was, | said no, she was not, she’s not.

[20]:So she did lie about her age. -

21) aQ. You said you looked at her

[22] MySpace page. You say she's on MySpace

[23] extensively sometimes?

(24) A. | looked at that MySpace page

[25] one time when my daughter said, Mom,,
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[2] look at the page? Look at her, look on-the

[3] MySpace page so you can see where Ericka's at.
[4] She's on the beach. That's it. I don't look

[5] at MySpace page, things like that.

[6] THE DEFENDANT: I'm done with

[7] this witness.

[8] - THE COURT: Any redirect?

[9] THE WITNESS: Excuse me. Can |

[10] say something? .
[11] THE COURT: No. You just have :
[12] to wait one second.

[13] MR. STACKOW: No. | don't have

[14] any redirect. Thank you.

[15] THE COURT: You're excused.

[16] You can step down.

[17] (Witness excused.)

[18] THE COURT: Do you have another
[19] witness?

[20] MR. STACKOW: Ido. | was

[21] going to ask for a five minute recess before
[22] calling that witness. | think we can finish
that witness certainly before quarter after

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[1] ot |

[2] Stackow is now making reckless predi COURT: Well, he has his

[3] about how long witnesses will take. Buto id:'d like to if we have time
[4] the outside chance that he's right, we'll tak et startéd with his witness.

[5] a five minute recess. You can get out of the MR. STACKOW: Let me see if |

[6] box and we'll see you in about five minutes or [6] can clear things up with the other officer.

[7] SO. . [7] I'd also like to use the restroom. That was

[8] MR. STACKOW: Thank you. [8] the main reason. If | may.

19] COURT CRIER: Everyone remain [9] THE COURT: All right.

[10] seated while the jury leaves the room. [10] MR. STACKOW: Thank you. I'm
[11] (Jury excused.) [11] going to hustle.
[12] .THE GOURT: And this would be [12] (A brief recess was taken.)

[13] your last witness? [13] COURT CRIER: Court is back in
[14] MR. STACKOW: Yes, likely the [14] session. .

[15] last witness for the case, not just the day. [15] THE COURT: Do you think the
[16], THE COURT: For the case, © [16] jury is ready to come back in? -

[17] right. [17] COURT CRIER: Anthony is in

[18] MR. STACKOW: Yes. I may ask [18] with them now, Your Honor.

[19] not to rest formally today. [19] THE COURT: Do you have your
120} THE COURT: Why? 120] witness?

[21] _ MR. STACKOW: Because there's [21] MR. STACKOW: | do, Your Honor.
[22] another police officer that isn't here this [22] He's in the back.

[23] afternoon that | just wanted to talk to [23] COURT CRIER: May I, Your

[24] briefly before deciding whether to call him or [24] Honor?

[25] not. (25] THE COURT: Yes.

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. . Page 221 Page 222
Al] Officer Mort - direct : [1] Officer Mort - direct

[2] ‘COURT CRIER: Please remain : [2] ° DIRECT EXAMINATION

[3] seated as the jury enters the courtroom. [3] BY MR. STACKOW:

[4] (Jury summoned.) 4) Qa Good afternoon, Officer.

[5] COURT CRIER: All present, Your , 5] A. Good afternoon.

[6] Honor. jf Q. Can you tell the ladies and

7] THE COURT: Mr. Stackow? [7] gentlemen of the jury how Jong you've been a
” [8] MR. STACKOW: Thank you, Your | [8] Philadelphia police officer?

[9] Honor. The Commonwealth's next witness is , ()} A. Currently about two and a half

410] Police Officer Brian Mort. [10] years.

[11] COURT CRIER: Please state your . I11]) Q. Have you been assigned to the

[12] name, your assignment, your badge number. [12] Twenty-Fifth District that entire time?

[13] Spell your last name for the record. - (13] A. That's correct. .

[14] THE WITNESS: Brian Mort. (14) Q Where in the city, generally

[15] M-O-R-T. Badge number 4632, currently [15] speaking, is the Twenty-Fifth District?

[16] assigned Twenty-Fifth District. [is] =O AL It's bordered by Broad to G

[17] OFFICER BRIAN MORT, after [17] Street and Lehigh up to Roosevelt Boulevard.

[18] having been duly sworn, was examined and [18] Q. Let me direct your attention to

[19] testified as follows. . . [19] February eleventh of last year, 2009, at

{20} COURT CRIER: Have a seat and [20] approximately ten o'clock in the morning.

[21] speak into the mike so everybody can hear you. [21] Were you working as a officer assigned to the

[22] MR. STACKOW: May | begin, Your :. [22] Twenty-Fifth District at that time?

[23] Honor? A. That's correct.

[24] THE COURT: Yes. Q. Were you by yourself or with a

[25] - MR. STACKOW: Thank you. ‘partner?

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[1] Officer Mort - direct fi Mort - direct

2] A. — | was with a partner, Office A 1 you see at that time,

[3] Boone. His badge number is 1525.
4 @ And you and Officer Boone, we
[5] you on foot patrol or in a patrol car?

Jat time there was a verbal
ar TB] dispute befween the defendant, with the suit

[eo] OA A marked patrol vehicle. [6] on with the ponytail, and complainant Ericka
7 @. At around ten o'clock that [7] Johnson.
[8] morning did you have an occasion to respond to 3] +Q And where was this dispute
[9] a residence in the area of Eighth and Cambria [9] generally taking place?
[10} Streets? [i0) =A. It was out front of the
[11] A. That's correct. : [11] location of 2931 North Eighth Street.
[12] @Q. And what was the purpose for fiz7 Qa What did you do when you
[13] going to that residence? [13] arrived and you realized that there was a
[14] A. It was a domestic dispute. [14] dispute?
[15]. Q. And how did you get made, be " (fis) A. Once we arrived, me and my
[16] made? Excuse me. How were you made aware of [16] partner talked to the defendant and the
[17] that domestic dispute? How did that come [17] complainant. It was a dispute over a
[18] across to you? [18] one-year-old child. She was stating that it
(19) A. It was a radio call. [19] was her day to have the child. Defendant also
20] «—«Q. So that goes to the radio in [20] stated that it was his day to have the child
[21] the patrol car, | imagine? [21] also.
22] #A.« That's correct. 227 Q Was this child there?
23] @Q. When you arrived at that [23] +A. The defendant was holding the
[24] location, and I'm speaking specifically of the [24] child in his hand.

* [25] twenty-nine hundred block of North Eighth (25) Q. Okay. Was this a male child, a

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[1] Officer Mort - direct s

[2] little baby boy?
A. That's correct. [3] Q.
Q. Now, was there anybody else
[5] besides the child, the defendant and the .
[6] complaining witness, Ericka Johnson? fe) A.
A. Just me and my partner. .
Q. What did you do once you began
[9] speaking with the defendant and the
[10] complaining witness?

[3]
[4]

I7]
[8]

[11]

[12] we can't just take children and give it to
[13] her, that we don't make that decision, that

Officer Mort - direct (1

A. | advised the complainant that [114] Q

[14] she had to go to 34 South Eleventh Street to [14] A.

[15] get the proper paperwork for the custody.

[16]

[17] questions. The term complaining witness or
[18] complainant, what does that mean in police

Q. Now, let me ask you a couple of
ii7] @

[19] lingo? [19] A.

[20]

[21] called police so she was the one that we made
[22] the complainant, because she wanted the child

A. She was the one who told us she [20] Q.-
[21] What do you have to do to prepare that report?

2] A.

[2] produce that paperwork to me.

Okay. And 34 South Eleventh

| [4] Street, what is the significance of that
[5] address?

It's basically Family Court

[7] where you you can go down there and basically

[8] for child custody disputes, landlord-tenant

[9] disputes. They have lot of different things .
[10] you can do down there. — ;

Have you had the occasion in

[12] the past to advise people that that's probably
[13] where they should go?

That's correct, yes. And for

[15] them to go there, you have to do a report and
[16] give them the DC number.

So did you begin preparing up a

[18] report?

That's correct.
What does this report entail?

Basically, | need the

[23] and she stated that it was her day to have it,
[24] so she had to have the proper paperwork
[25] stating that that was her day. She couldn
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complainant's name, which would have been
‘icka Johnson, with her date of birth on it

[1] Officer Mort - direct
[2] number.
[3] @Q. Now, I'm going to get to the

[4] actual report in a minute here. But while
[5] you're gathering the information that you need
[6] to make this report, are you talking to both

[7] Ericka Johnson and and the defendant or does

[3] that separate at some point?

[9] A. At that time they're still
[10] together.
[11] Q. So how does the conversation go

[12] at that point? What happens?
[13] A. Once | retrieved her

[14] information, | went to the defendant and asked

[15] him his name, got his information with his

[16] date of birth. At that time it dawned on me
[17] and my partner that she was sixteen at the
[18] time and he was forty-two.

[19] Q. Why did it dawn? When you say
[20] it dawned on you, what do you mean by that?
[24] A. Just put the math together and

[22] realized she was sixteen and he was forty-two.

[23] And when | asked how old the child was, she
[24] stated it was almost a year old.
[25] Q. And did that raise some
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Now, what did you do at that

[7] point? Well, actually, you know what? Let me
[8] just stop you. How did you Jearn the

[9] defendant's date of birth, first of all?

[io] =A | believe both of them produced
[11] ID to me.
[12] Q. And did you use that ID to

[13] record the information on your report?

[14] A, That's correct.

[15] MR. STACKOW: All right. Let

[16] me show you that report at this point. If |

[17] could have this marked as Commonwealth Exhibit
[18] C-3. I'll provide the defendant with an extra

[19] copy there.

[20] COURT CRIER: So marked :
[21] Commonwealth Exhibit C-3 and shown to the -

_ [22] witness.

[23] THE WITNESS: Thank you.
[24] BY MR. STACKOW:
[25] Q Officer, do you recognize this
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1 Officer Mort - direct : [1] Officer Mort - direct ‘

[2] document? , . ' [2] A She gave me 256 Kent, it looks

3] A. That's correct. [3] like PD, Upper Darby, PA.

47 Qa Is this the report that wé've 4) @ And the address from the

[5] been talking about that you prepared? | {5] complainant, or the defendant Mr. Robins?

[6] OA Yes, that's correct. , , [6] What address did he provide? -—

[7] Q. What's the actual name for this i) A. 2931 North Eighth Street.
“ 18] report in the Philadelphia Police Department? i} a Now, once the age discrepancy

i] A. Itsa 75-48. [9] or difference dawned on you, what did you do

fio} All right. The copy that you . [10] at that point, Officer?

[11] have in front of you, that's obviously a copy, [11] A. Atthat time | believe my

[12] a photocopy of the original; is that correct? [12] partner separated the two individuals and |

[13] A. That's correct. . [13] believe | received information from my partner

(i147 Q. All right. Is that a true and . [14] that she stated that she had sex with the

[15] correct copy of the original that you [15] male, that she was fourteen when she first had

[16] prepared? [16] sex and he was | think thirty-nine, almost

[17] A. Yes. [17] going to be forty.

(1g) Q. What was the date of birth that 118) Q. Where were you when you learned

[19] the defendant provided to you? [19] that information?

(20) A 3/29/66. [20] A. | was with the defendant.

24] Q. And how about the complainant, . at) What were you and the defendant

22} talking about prior to getting that
93] information?
JA. | don't recall.

[22] the date of birth you got from Ericka Johnson?
[23] =A. Would be 7/30/92.
[244 Q. And what address did Miss
(25) Johnson provide to you at that time?
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[1] Officer Mort - direct _
{2] boy? and he take after you spoke
[3] A. He was still holding the child ‘Mictims Unit?
[4] Q. Did the defendant make any : at time he was placed
[5] statement as to who the father of that child | 15] under arrest and transported to Special
[6] was? [6] Victims along with the complainant to be
7] =OA He stated he was the legal [7] interviewed.
[8] guardian, the father of the child. 18] MR. STACKOW: Your Honor, I'd
[9] Q. Once you got that information [9] like to have this document marked as C-4,
[10] from your partner, what did you do at that [ic] please. I've provided the defendant with an
[11] point? [11] extra copy, Your Honor.
12] A. My partner actually contacted [12] COURT CRIER: So marked
[13] special victims and let them know of the [13] Commonwealth Exhibit C-4 and shown to the
[14] situation of what was going on. [14] witness. :
(15) Q. Without saying what was Special [15] THE WITNESS: Thank you.
[16] Victims contact -- or let me back up. What's _ #18] BY MR. STACKOW:
[17] Special Victims Unit? What does that mean? [17] Q. Officer Mort, do you recognize
[18] | A. Whenever you have anything that [18] this document, the two-page document marked as
[19] has to do with I believe young children or any [19] C-4?
f20] kind of sexual encounter, you would have to [20] «OAC That's correct.
[21] call them instead of East Detectives. They 2 a. And what is that document?
[22] would handle the job. (22) A. It's a 229. When you arrest
[23] @. Allright. So without saying [23] somebody you have to fill out this paperwork.
[24] directly what was communicated from the [24] Q. And did you fill out that
* [25] Special Victims Unit to you or your partner, [25] paperwork in fact that you're holding?
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[1] | Officer Mort - direct [1] - Officer Mort - direct
2] A. That's correct. 2. «a. And did he also provide you~
3] @ Is that a true and correct copy [3] with the same residence, the 2931 North Eighth
[4] of the original of the 2297? [4] Street address?
[5] A. That's correct. [s]) A That's correct.
fe] @Q. Let me direct your attention to fe] Now, there's a second page to
[7] the first page, the upper portion. It looks [7] this as well, is there not, Officer?
[8] to be biographical information; is that, . [8] (A. That's correct. 4
[9] correct, Officer? i) «6. Do you go through this second
fio] A. That's correct. [10] page as well with the person being placed» /
fi. Qa And whose biographical [11] under arrest? .
[12] information is that? [iz] A Basically on the back we just
[13] A It's Johnathan Robins’. [13] put the, sometimes what he's being arrested
[14] Q. And how did you get the [14] for.
[15] information that you used to fill in the (5) Q. Okay.
[16] blanks there? . [16] A. Which | left blank, and then
[17] =A. When he was placed under [17] just the police officers’ names that were
[18] arrest, you just go step by step asking him [18] arresting him.
[19] questions about his information. (197) Q. All right. The question | was
[299 Q. And did he provide you with his [20] going to pose to you was there is a form for
[21] date of birth at that time again? _ [21] relatives and in particular a spouse. Do you
22] A. That's correct. ” 1{22] see that top part of it?
23] Q@.. And what was that date of A. That's correct.
[24] birth? . _ Did you ask the defendant for
25) A.. 3/29/66. of a spouse? There's also a
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Official Court Reporter rt Reporter
(215) 683-8060
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[1] Officer Mort - cross
[2] spot for mother, father, brother, sister.
[3] A. | believe when we were on™
[4] location before we arrested him that he stated
[5] to us when we were out front of the residence
[6] that he was legally married to her out of

[7] another state.

[8] QQ... Okay.
i] A. But | didn’t put that on there.
[10] MR. STACKOW: Thank you very

[11] much, Officer. That is all the questions |
[12] have for this witness, Your Honor.

[13] THE COURT: Any questions?
[14] THE DEFENDANT: Yes.
[15] CROSS EXAMINATION

[16] BY THE DEFENDANT:

[17] Q. - When you came to the residence, |
[18] did | seem nervous or did | act like | had

[19] tried to run or, you know, basic signs of like
[20] someone being nervous or anything? Or did |
[21] just seem regular and normal?

(22) A. You seemed normal to me. You
[23] were both just standing there arguing about.a
[24] child.

[25] Q. Did 1 seem like | was concerned

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mething wrong?
u ‘were just standing

. Do you “know if she spoke to you
[6] about if she called me earlier? Or did Ericka
[7] ever say that she called earlier? Did she

[8] speak to you and did she say that she had
[9] called earlier?

[10] A. No. She just stated she wanted
[11] her child back.
[12] Q. And that's what her main

[13] mission was, to have —

{14] A. She said it was her day to have
[15] the child. |
(16] THE DEFENDANT: No more

[17] questions.

[18] MR. STACKOW: No redirect.

Ag] - THE.COURT: Okay. You're

[20] excused. You can step down.

[21] THE WITNESS: Thank you, Your —

[22] Honor.

[23] (Witness excused.)

[24] THE COURT: What would you like
[25] to do?

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iM.
12] MR. STACKOW: Your Honor, at:

{3] this point | would formally move for the

[4] admission of all four Commonwealth Exhibits,

[5] C-1 through C-4 inclusive. With that motion,

[6] the Commonwealth rests its case.

7] THE COURT: All right. The
” [8] Commonwealth has rested. Defense, what would
[9] you like to do? .
S10] THE DEFENDANT: Can we just

[11] start new tomorrow or do | have to do my

[12] opening statement now?

[13] THE COURT: Do you have any

[14] witnesses here?

[15] THE DEFENDANT: We have the one

[16] welfare worker.

[17] THE COURT: All right. Then

[18] why don’t you give your opening and you can

[19] call your first witness. It's not going to be

[20] a long witness. .

[21] THE DEFENDANT: Okay. Good

[22] morning, ladies and gentlemen. As you know,
[23] you've heard the testimony. | intend fo give
[24] testimony that when | met Ericka on the d
[25] line that she lied about her age. ' | stayed

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[1]

[2] with her until we got married and then later

[3] on, you know, found out what age she was.
[4] Then | kind of, everything changed, you know.
[5] | had to basically send her back to her mom
[6] and everything.

[7] Obviously I'm not skilled at

[8] this. You know, this is something | felt that
{9] | just had to be the one to represent myself
[10] because, you know, my future is on the line,

-{[11] my son's on the line and so is my wife even

[12] though, you know. And one of the reasons why’
[13] | brought up the welfare fraud and the custody
[14] is because they did not make a fuss about

[15] anything, just as long as --

[16] MR. STACKOW: Objection.

[17] THE COURT: Well, the objection

[18] is that, as | explained to the jury earlier,

[19] what an opening statement does is it explains
[20] to the jury where you expect to go when you

[21] present your evidence. At the conclusion of

A {22] the case, there will be closing arguments and

| at that time you can argue whatever you want
om whatever evidence has been introduced.
just a statement of what

[1]
[2] you expect to present and you should.
[3] your statement to those limits.
[4]. THEDEFENDANT: Okay. They
[5] basically, it was okay for me to take care of
[6] the baby and them to collect welfare and me to
_{7] pay it. But when | decided, you know, it's
[8] time for me to take care of my son and for my
[9] wife to go grow up like she's supposed to and
[10] they didn't and obviously the check would be
[11] cut off and obviously, as you've heard, my
[12] wife says that son is hers. She's always said
[13] it's hers. She doesn't really think it's
-[14] mine. So when I filed for custody it sort of,
[15] you know, she wanted fo stop that. And !'m
_[16} going to show that her actually going through
[17] these proceedings actually stopped me from
[18] actually going to court and getting custody of
[19] my son so that they can keep him and have kept
[20] him and had him on welfare while | was paying
[21] over eight hundred something dollars a month
[22) to Welfare for them to have him.
[23] That's about all | can say.
[24] I'm going to present my first witness and then
~ [25] I'll go ahead and if there's enough time | may
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: 1) your first witness?

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mony. Thank you very much for

URT: Do you want to call

[6] THE DEFENDANT: Yeah. -

7] THE COURT: Do we have a name?
[8] MR. McGILL: Michael Ward.

[9] THE DEFENDANT: Michael Ward. |
[10} THE COURT: The usual ending

[11] time is about 4:30. That's so that the staff
[12] can take care of business and others as well
[13] who have to go back to their offices.
114] Sometimes we stretch it a little bit beyond
[15] that if it means completing a witness. But
[16] expect that today we should conclude about
[17] 4:30. Of course, that involves making
[18] reckless predictions about how long the
[19] witness is going to take.
[20] COURT CRIER: Up here, sir.
[21] Please remain standing. Please state your
[22] name and spell your name for the record.
[23] THE WITNESS: My name is
[24] Michael M. Ward. And that's W-A-R-D is the
[25] last name.

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[1] Michael Ward - direct [1] Michael Ward - direct 4
[2] MICHAEL M. WARD, after having 2 a From the date of his birth? :
[3] been duly sworn, was examined and testified as [3] A. February twentieth, | believe,

[4] follows. . . [4] 2008. And we're required at least to open

[5] DIRECT EXAMINATION [5] medical coverage for any newborn in the state

[6] BY THE DEFENDANT: [6] automatically, without application.

7] @Q. Okay. Mr. Ward, you have (7) @. Okay. At that point in time,

[8] certain dates when my son was put on and taken [8] did she say at any point was the father taking

[g] off of welfare? Do you have those specific {9] care of the child? Was | taking care of the
[10] dates and who actually filed forhim? [10] child or was Ericka taking care of the child, .
[1] A. Yes, | do. [11] or did she mention who actually was. caring for ,
(127 @Q. Okay. Who filed for custody of [12] the child when she filed on her application?
[13] Johnathan Robins, Jr.? [13] A. No. | would say no. .
(141 A. Okay. No one filed custody (14) Q. So if she filed the application /

[15] with me. | don't handle anything to do with [15] and someone else was caring for the child, how

[16] custody. [16] do you find that out? How do you actually? -

{177 Q Okay. I'm sorry. Filed for [17] A. Okay. Well, what our

[18] welfare for Johnathan Robins, Jr. [18] department is concerned with is first of all

[19] A. Okay. For welfare benefits. [19] where they're residing, where the child is

[20] It would be his grandmother, Miss Lucille [20] residing, where the applicant is residing. .

[21] Freeman. (21] When the application is submitted, the

[22] Qa. And when did she first put in [22] applicant would list what's required to list,

{23] her first application? who else fs in the household and their

(24) A. Benefits were first opened from relationship, familial relationship. Then we

[25] the date of his birth. have an interview and at that time it may be

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4 i Page 244

[1] Michael Ward - direct ~ L

[2] discussed what the situation is, whose.child: .

[3] it is, how they're related, as followup * “she notify you? Why

[4] verification to the application. Some of that top? .-Why did the benefits stop?

[5] could be, you know, implied from the general © : A. Because the mother, Ericka

(6] information that I'm given by a client. We're (6] Johnson, and the infant, Johnathan Robins,

[7] not interested in our department as to who has [7] Jr., had left the household.

[8] custody necessarily, particularly if it's a Is} =. Did she say when? Who fold

[9] natural, the natural, one of the natural [9] you? Was it Ericka, me myself or Lucille

[10] parents bringing the child in or coming in to [10] Freeman that told you that?

[11] apply for benefits. 11] A. | can't remember exactly, but

[12] Q. So to your knowledge, so you [12] we have several means of communication that a

[13] spoke with her. So no mention at all was | [13] client has with the office, either direct call

[14] taking care of the child, to your Knowledge, [14] to me on my own phone line. Information could

[15] or you don't remember. [15] have been left with our call center, statewide

[16] A. Well, our assumption would be [16] call center, and I'm sent an e-mail. And we

[17] if she physically has the child and they're [17] have a system of alerts. Well, actually, the

[18] living in the household that they are at least [18] alerts wouldn't affect anyone leaving the

[19] head of the household. We rarely get anybody [19] household.

[20] state one way or another in specific words, [20} If there's a question as to 7

[21] “I'm taking care of the child."
[22] Q. At what point in time did --
[23] okay. Benefits started February twentieth,
[24] 2008. At what point in time did it cease from
[25] that point? _

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[21] whether or not someone is in the household, we
[22] do get information from time to time in the.
[23] form of what we call a tip, a fraudtip. ~
[24] Basically, | did get a, some information from
[25] the Office of Inspector General and basically
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Fy Michael Ward - direct
[2] it was just that we needed to verify who in

[3] total was in Miss Freeman's household at that
[4] point in time.

pb] Q In the spring of, somewhere

[6] around in | guess March or April, did Ericka

[7] and | call you to tell you that the child was
1g] living with us?

[9] A. Yes. | remember receiving a

410] call approximately during that period from

[11] her. | can't remember if | spoke with you or _
[12] not. And | confirmed at that time that she

[13] was, what she told me was that she was living -
[14] with you, she and the baby. This was ~

[15] subsequent to me speaking with Mrs. Freeman.
(16) Q. Okay.

(17) A. So those were combined.

[1g] Q. So who do you think that you

[19] spoke to first? Myself or --

Zo) A. Oh, | definitely would have

[21] spoken to Miss Freeman first because she's my
[22] client.

[23] Q. But after we called you, |
[24] mean, did we call you first?

[25} A. [mean she was easier to call ‘2

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(1] Michael Ward - direct

[2] first. ‘I'm sorry.

3} 6 Did we call you first? Did we

[4] notify you first or did Lucille Freeman notify .

5) you first?

(6] A. She notified me first.

[7] @. Well, she notified you when?

[8] Do you know the approximate month or a date?
i] A. May | refer to notes at all?

[io] «=. Yes.

[41] MR. STACKOW:
[12] objection.

[13] THE WITNESS: Is that

[14] permissible? Okay. Let's see.

[15] BY THE DEFENDANT:

[16] Q Now, specifically, what are you
[17] referring to?

(18) =A. I'm referring to some

ili 9] handwritten notes which I shared with you |
[20] prior to the trial today.

21}: Q@ Yes.

[22] AL They're basically a reference

] of when the benefits for Johnathan Junior
vere opened and closed and for what period

| have no

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[1] Michael Ward - direct

12] Q. Okay.
[3] A, In looking at them, it could

[4] help me to recall perhaps when | spoke with
[5] her. | can't remember an exact date, though.
[6] QQ. Okay. There was also a
[7] complaint, an investigation, a complaint form
[8] that | looked at. When was that complaint
[9] made and does it say by whom?
[10} A. The information came to me on
[11] May sixth, 2008. That's what | had referred
[12] to earlier as fraud, what we call a fraud tip.
[13] It could come from any source.
[14] Q. Did Lucille, had Lucille
[15] Freeman talked fo you before May fifth, before
[16] the tip came in, or after?
[17] A. Probably after. | can't
[18] remember exactly.
19} Q. So does it say who exactly
{20] called the tip in?
(21 A. No. That's routine for our
[22] office, to comment honestly.
[23] Q. Can you read specifically the
[24] paperwork that the tip is on? Can you read
” [25] specifically what it says on it into the
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: tt says reasons for
[4]: referral .-And let's see. Subject claiming

{5] grandson Johnathan Robins, Jr., to receive

[6] benefits. Grandson Johnathan Robins, Jr., has
[7] never lived at the client address at 256 Kent

[8] Road, Upper Darby, PA., 19082. He has always
[9] been with his mother since birth, February

[10] twentieth, 2008. Please verify.

[11] This was more or less the

[12] complaint.

[13] Q. Okay.

(14) A. Not a conclusion.

[15] Q. Okay.

[16] A, Or not a finding and not fact.
[17] Q. So you do remember our phone

[18] call or Ericka, well, Ericka's phone call to
[19] you with me. Did you file any paperwork o on
[20] the phone call we made to you?

[21] A. No.

[22] Q. Okay.
723] A. ! closed the case but there was
[24] no paperwork.

(25) Q. Okay. You got the complaint in

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[1] Michael Ward - direct [1] * Michael Ward - direct os ;
[2] May and the files were closed in July, right? 2] +#A. Yes, that's right. Well, | .

[3] A. The case, the benefits were
[4] closed in July, yes.

hb a And when were the benefits

[6] opened again?

I] 2A; When were they opened?.

[3] Q Again. oo

(9) A. Again?
[10] Q Yeah.

(11) A. That was September sixteenth,
[12] 2008. :

[13] @Q. So from what, July? What was

114] the date again? July?.
[15] A. They were closed between July
[16] first, 2008, until September sixteenth, 2008.

(i7] @Q So the benefits were off fora
. [18] month and a half before they, before she
[19] refiled.
20) ~A. Yes.
[214] @. And on September first, what

[22] did she? | guess Lucille Freeman filed again.
[23] What did she claim in this claim again to get
[24] the benefits? She claimed that Ericka and the
[25] child again was living now on Kent Road?
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[3] can't recall if that was the address at the

[4] time, but that they were living with her

[5] again, yes.

[6] Q. _. Now, when the complaint was

[7] made for the benefits from February to July,

.| [8] no followup on the complaint was done? It was

[9] just left open?

[10] A. Yeah, there was followup on the
[11] eighth of May, 2008. An investigator

[12] physically went to the premises. He did not
[13] speak with Mrs. Freeman but he spoke with
[14] neighbors and went to one of her other

[15] daughters’ schoo! to seek any information he
[16] could on the household.

[17] Q. And what was the findings of

[18] the | guess investigation?

[19] A. Okay. I'll read that to you.

[20] After visits to school and neighborhood, -

[21] verification. | believe this says one child

22] who's twelve years old —- that would be
Devette, it's Miss Freeman's daughter — only
the house. And that's the end of the

rt Reporter

[1] Michael Ward - direct
2 a Okay. So was she collectin
[3] money or just medical benefits for the chile
[4] from February to July?
I} OA. Cash assistance, medical
[6] benefits and food stamp benefits.
7} Q If it was verified that my son
[8] wasn't living there, was she made to give the
[9] money and food stamps back?
io) OA Could you repeat that for me?
(11) @Q. If the report, the
[12] investigation from the complaint found out
[13] that my son was not living with her and the
[14] case was closed because of the investigation,
[15] did Welfare request the money and-food stamps
[16] back that were given to her for the time my
[17] son was not there? ,
[18] A. If we determine there's an
[19] overpayment, I'm required to process it.
[20] There are many reasons when you can have an
[21] overpayment, particularly when you have
[22] overlapping dates and the time frame.
[23] Sometimes it's the fault of the client.
[24] Sometimes it's the fault of our office.
(25) Q So basically, no. Right? Yes

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“An overpayment was filed..

. a An.overpayment was fi led.
[6] A. Right.
7] Q. For how much?
[3] =O. | can't tell you the exact

[9] figure, but it would have been for the period
[10] that between when we first knew or from when
[11] we first determined that she was gone until it
[12] was actually closed.

{i3z] @Q. Okay. Now, since the

[14] overpayment, it was filed but did they collect
[15] it?

[16] A. Oh, | have no idea, because my

[17] department, | have nothing to do with the
[18] collections. That's handled elsewhere.
[19] @. + Okay. Now, okay. So the
[20] benefits again started for my son from og
[21] September of 2008 until when? .
[22] A. When were they opened again?
[23] @ You said it was opened
[24] September sixteenth, 2008?
(25) A. Reopened September sixteenth,
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[1] Michael Ward - cross

[2] correct?
I] A. It's possible that we could

[4] find, that we could make a determination ‘tha
[6] there was an overpayment for a period during’
[6] which Ericka and Johnathan Robins, Jr., were
[7] not in the household. That's as much as | can
[8] tell you or confirm at this point without more
[9] information.

[10] THE DEFENDANT: Okay. That's

(11) it.

[12]

[13] Honor?
[14]

MR. STACKOW: May I, Your

THE COURT: If you'd like.
[15] MR. STACKOW: | would.
[16] CROSS EXAMINATION
[17] BY MR. STACKOW:

[18} =. Good morning or good afternoon,
[19] Mr. Ward. What do you do for a living, first
[20] of all?

21] A. | am an income maintenance

[22] caseworker for the Department of Public

[23] Welfare, Income Maintenance Bureau. I'm at
[24] the Delaware County office in Darby. .
Okay. And you mentioned that

(25) Q.
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Any indication at all in your

1 a
[8] records or your? You've dealt with Miss
[9] Freeman, | assume, on a personal basis?

(io) A. Yes. /

[11] @. ‘At any times when you've dealt

[12] with her or anything in your records, any

[13] indication to any degree whatsoever that Miss
[14] Freeman was anything less than forthright and
[15] honest with you?

(is) A. No. | never had any indication
[17] other than that.
[18] @. And you mentioned that, are you

[19] familiar with her daughter, Ericka Johnson?
[20] A. Yes, ] am.
[21] Q. Have you actually had in- person
[22] discussions with her?
[23] A. Yes. I've had a couple of
[24] conversations with her, an interview.
[25] Q. Same thing with Ericka. Any
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$y Michael Ward - direct [1] Michael Ward - direct

[2] yes. , 2] A.- No. I never saw any formal

3] @Q Until when? [3] complaint. | never remember any complaint

4) A. Until February first, 2010. [4] made by you to me directly on the phone. |

5 a. February first. So it's been {5) think, let me backtrack a minute. Wehad —

[6] opened since September until just a a few months [6] discussed that issue but there was never a

[7] ago. [7| formal complaint made. | have no recollection
“[] OAL Right, last month. [8] of you coming to the office, and my supervisor

ps] Q Last month? [9] has never relayed to me that you had had any
Mo) OA. Continuous. [10] discussion with her about that matter in

114] Q And was there any mention or [11] particular.

[12] consideration of me actually caring for my son [12] @Q Okay. So if | was able to

[13] in this time frame in the report? [13] prove that in another court forum that |

[14] - A. No. [14] actually had the child and reported that to

(15) @. Were there any mention of me [15] Welfare, if | actually got proof from like a

[16] coming down to your office in November or [16] court hearing or something, and they were

[17] October complaining to a supervisor that | had [17] found again and Miss Freeman was found again

[18] my son and I 'was trying to get him on CHIP and [18] to be receiving monies when she did not have

[19] have my son seen at a health center but | [19] the child, ! assume again she would be

[20] couldn't, but | was complaining that ! [20] reported and told to give some money back.

[21] couldn't get health care for my son since | _{[21] I'm assuming that's how the process goes,

[22] have him because Miss Freeman had him listed ;|[22] correct? Because it went that way before. So

[23] on health care and | couldn't get health care? ] if | was able to prove this time that she did

[24] No report or no nothing was filed that you )ot have my son, then she again would be told

[25] know of? ).10 give the money and food stamps back,

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[1] Michael Ward - cross [1] ’ Michael Ward - cross .
. [2] indication that she's been anything less than . [2] Q. Has he said that on more than "

[3] up front and fully cooperative and honest with [3] one occasion?

[4] you? , 4) A. Yes.

[5] A. No indication. 7p) Q. At any point did you raise any

Is) =. All right. There's no fraud [6] concerns about the fact that Ericka's age and

[7] investigations or anything like that? . [7] given Mr. Robins’ age might be something that

I] ~OCA. No, nothing currently and [8] he should be concerned about, meaning Mr.

[9] nothing that | am aware of in either of their / [9] Robins? .

[10] pasts as far as any complaints by the ‘ (10) A. Well, | have perhaps personal .

[11] department. [11] concerns but it wasn't, those concerns had no ,

(123 @Q. And ! guess | just want to ask [12] bearing on eligibility, which is the sort of

[13] you this last question or last few questions. [13] first-line concern as an income maintenance

[14] Have you had personal dealings with the [14] caseworker.

[15] defendant, Mr. Robins? (15) Q. So it would be fair to say that

6) A We've had maybe two or three [16] you might have had personal concerns but no

[17] phone conversations within maybe the last six [17] professional concerns. That didn't affect how

[18] months. [18] you would handle the case.

[ig] Q. Anything before that? (19) A. Exactly.

(20) ~=OAC No, not that ! can recall. [20] Q. I see.

[21] @Q. During those phone [21] A. Exactly.

Q. Did you express any of those
personal concerns to Mr. Robins at any of
ose conversations?

[22] conversations, did he say how he was involved
[23] with Lucille Freeman and Ericka Johnson?

[24] A. | think he has said to me that

[25] he ts Johnathan Junior's father. .

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rd -‘Tecross

[1] Michael Ward - redirect
ill be getting it

[2] that to be a private, personal matter.
3B] @ Okay. You mentioned that the
[4] last date was February first, 2010, | believe
[5] for payments for Johnathan Junior; is that

[: Vell-1 haven't made a
| determinaton as to whether or not | could add

[6] right? . ' | je] them yet, but more than likely, yes.
i A. Yes, that's correct. [7] THE DEFENDANT: That's it.
3) +Q. And my question Is, does that [8] THE COURT: Anything else?
[9] mean that it's current? Are they still [9] MR. STACKOW: | do have just
[10} getting welfare for Johnathan Junior? [10] one followup.
f11] A. Ericka and Johnathan Junior are [11] RECROSS EXAMINATION
[12] not receiving any benefits of any type [12] BY MR. STACKOW:
[13] currently. 13] @Q That determination is going to
[14] MR. STACKOW: Thank you very [14] be primarily based on where Ericka and her
[15] much. That's all the questions | have. Thank [15] child are living; is that right?
[16] you. (16) A. Living, yes. That's one of
[17] THE DEFENDANT: Can I ask one [17] the, probably the most important factor for
[18] on redirect? [18] our office.
[19] THE COURT: Sure. [19] Q. And because your client again
[20] REDIRECT EXAMINATION . [20] is Lucille Freeman and wherever she's living, : :
[21] BY THE DEFENDANT: [21] | guess; is that right?
22] «a. Even though they're not [22] A, Well, yes, and the fact that
[23] receiving at this moment, they did reapply to ./[23] Ericka is a minor has a bearing on it. She 4
[24] get it again. Am | right? [24] could not apply for benefits on her own
25) A. Yes, that's correct. [25] legally.

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1] Michael Ward - redirect [1] Michael Ward - redirect

2 @ Because she's less than [2] Q. ° Because when you spoke, you

[3] eighteen? [3] said that Ericka and the baby just moved back

[4] A. Yes, that's correct. [4] into with Lucille Freeman.

(5) MR. STACKOW: Thank you. [5] A. The coverage was closed. The

[6} THE WITNESS: As well as the [6] last benefits were closed February first and

[7] baby, of course. [7] it was sent between February first and when
“{8] THE DEFENDANT: A couple of [8} she filed another application, a new

[9]. more on redirect. [9] application on March fifth, | believe, or last

410] THE COURT: It's not tennis. ‘i[to] Friday. She told me that they were not in the

[11] Is this something new based on this last? [11] household.

[12] THE DEFENDANT: Yes. — 12] @Q. So do you know how Iong before

[13] REDIRECT EXAMINATION [13] February first Ericka and my son was not in

[14] BY THE DEFENDANT: [14] the household that Lucille Freeman was

[15] Q. You said it's basically where [15] collecting a check?

[16] the child has living. Has she at any point [16] A. The presumption was that they

[17] between September sixteenth, 2008, and [17] were in the household. She didn't tell me

[18] February a month ago fold you that Ericka and [18] till February first.

[19] the child was not living with her, Lucille [ig] So it's a presumption but you

[20] Freeman? [20] did not check.

[21] A, During the period that you're [21] A. We had no reason to have any

[22] asking about, she informed me by phone and | *, 422] belief that they were not. If we did, we

[23] had her fill out another application, which is ] would have sent an investigator. But | had no

[24] routine, and that's how | was notified for reason for that to be verified.

[25] those periods during which the coverage: And:you also stated that since

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[1} Michael Ward - redirect
[2] Ericka is below eighteen, she couldn't.fil
[3] for herself and her own son, correct? ©

(4) - A. That's correct.

[5] Q. But if she's married, could

[6] she?

I OA. | believe she could if she and

{8] her spouse filed together. But just because

[9] she's married wouldn't necessarily, | don't

[10] believe she could necessarily have benefits in
[11] her own name without at least proof that she's
[12] married.

[13] Qa Okay.
[14] A. And being a minor.
[15] Q. Okay. So, but you do realize

[16] that it says right here in the general policy
[17] of the handbook that you go by, 121.2, General
[18] Policy, General Assistance, that there is no.
[19] age requirements for general assistance. It's
[20] available to any person of any age. A minor
[21] who is married, even if he lives with his
[22] parents, can qualify to get general assistance
[23] on their own under your policy, under your
[24] handbook. This is the handbook that | got off

* [23] line from your department, from the Department

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‘even as long as she is

15] married, even if she lives with her parents,

[6] she can collect it. You didn't know that or?

i] A. I'm not --

[8] Q. Do you want to take a look? Do

[9} you want to look this over?

[10] Ss A. ] don't need to read it. | am

[11] not specifically familiar with those

[12] regulations because | very rarely have cases

[13] where there is a minor parent who is with the

[14] father. Usually, you need welfare because the
[15] father is not providing for the child or

[16] they've already separated.

117] @. So how much? Because I've

[18] actually been paying child support in Delaware
[19] County. Has Delaware County been paying child
[20] support to Welfare, to Ericka Johnson or

{21] Lucille Freeman? Do you know how much of my
[22] money has actually gone to them?

[23] A. No, | don't know that.
[24] THE DEFENDANT: That's it.
[25] MR. STACKOW: {| don't have any

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[1]
- [2] redirect, or recross.

[3] THE COURT: All right. You're
[4] excused. You can step down.

[5] THE WITNESS: Thank you.
[6] (Witness excused.)

[7] THE COURT: All right. That's

[8] probably enough for one day. You'll be back

[9] tomorrow 9:30 or so and be ready to proceed;

[10] is that right?

[11] THE DEFENDANT: Yes.

(12] THE COURT: For this evening,

[13] just let me remind you to wear your juror

[14] badges. I don't see yours. Okay. | know

[15] they're ugly, but that's no excuse to put them

[16] someplace where they can't be seen. And do

[17] not talk to anyone about this case. Do not go

[18] online. Do not start Googling whatever comes

[19] to mind related to your jury service because,

[20] as | explained to you before, it just isn't -

[21] fair. It's not fair to either side if you go

[22] outside of this courtroom and try to come up

[23] with some additional information.

[24] At the end of the day today,

[25] there were a lot of questions raised abo

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11]

[2] married, unmarried, where you're living, do

[3] you get welfare, don't you get welfare. If

[4] you're not convinced of what the law is in

[5] this courtroom, you don't go out and research
[6] it on your own. And as of this moment, |

[7] don't even know what relevance that is to what
[8] we're discussing in this case.

19] Tomorrow at some time you'll

[10] hear the conclusion of the evidence, the

[11] lawyers' speeches and my charge to you with
[12] regard to the crimes involved. And until that
[13] time, until you can go back do deliberate,

[14] keep an open mind and don't discuss the case
[15] even among yourselves. If anyone approaches
[16] you and wants to discuss this case with you,
[17] that can be a serious matter and you should
[18] report that to a court officer as soon as

[19] possible.

[20] Does anyone have anything else

[21] before the jury is excused for the evening?
MR. STACKOW: No, Your Honor.

THE COURT: Anybody?

THE DEFENDANT: No.

THE COURT: All right. You're

[7]

[2] excused.
[3] COURT CRIER: What time do y«
[4] want them in tomorrow, Your Honor?
Io] THE COURT: We're going to try
[6] to get started at 9:30. At nine o'clock
[7] tomorrow, remember how there was a‘judge
[8] during jury selection who came down and

[9] welcomed you for jury service? | get to do
[10] that tomorrow. And we probably have a few
[11] cases that we have to do something with at
[12] 9:30, but our goal is 9:30. So you should be
[13] here by 9:30 just in the off chance we're

[14] actually ready to start at 9:30. Okay?

[15] COURT CRIER: Please remain

[16] seated as the jury exits.

(171. (Jury excused.)

[18] THE COURT: Does anybody have
[19] anything else before we recess for the day?
[20] ~ MR. STACKOW: I, do Your Honor.
[21] THE COURT: Okay.

[22] MR. STACKOW: | actually have a

[23] bail motion. | was made aware of during the
[24] course of the day today that the defendant
[25] actually contacted the complaining witness
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er, paraphrasing, that
utt, that if | lose, you
Ericka was obviously very upset
5] ‘by that, and both she and her mother told me
[6] that today.

Based on that, ] have a motion
[8] to revoke the defendant's bail.

[9] THE COURT: How was the contact

[10] made? [ mean, was it over the phone?

[11] MR. STACKOW: It was over the

[12] phone.

[13] THE COURT: Well, how would

[14] both people know what was said on the phone?
[15] MR. STACKOW: Ericka knows

[16] because she spoke to him and the mother knows
[17] because Ericka told her afterwards and saw how
[18] upset her child was.

[19] THE COURT: Is Ericka still

[20] here? : .

[21] MR. STACKOW: Yes. | asked
[22] them specifically to wait, both of them to
[23] wait.

[24] THE COURT: All right. Do you

[25] admit that what the DA has just represented to
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I]
“I2] the Court?

‘

[3] THE DEFENDANT: | did not say

[4] that. But 1 was a over a friend's house. She
[5] called the friend's house. She called the

[6] friend's house. In fact, if we can, that's

17] why | need Tyra here. If we can get the phone
[8] records of my friend's phone where she called
[9] the friend's phone, then —

$10] THE COURT: All right. Well,

[11] she called the friend's phone but the question
[12] is whether you spoke to her and what the
[13] conversation was.

14 THE DEFENDANT: She asked me

x

[15] what do | want her to do. I'm like, do what

[16] you feeling like doing. | did not threaten

[17] her any type of way. | did not tell her, you

[18] know, not show up. I've been showing up to

[19] court every single day. .

[20] THE COURT: I'm not going to do

(21} anything with the bail at the moment. | am

[22] going fo order the defendant to stay away from

[23] the complainant for the balance of the trial.

[24] If she calls you, you hang up. You do not

[25] cali her. You do not go anywhere near h
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1]

[2] house. You're to stay away from her, the

[3] family members. If anybody contacts her on
[4] your behalf, it's going to come back on you.
‘[5) Do you understand what I'm saying?

[6] THE DEFENDANT: Yes, sir.

7] THE COURT: All right. So he's

[8] been on bail. He's always shown up. | don't
19] know what the amount of the bail is, but it's
[10] been enough for him to be in court on time
[11] every day, and the facts are in dispute as to
[12] that conversation. And she did come in and
[13] she did testify, so whatever harm we would be
[14] seeking to prevent seems to be moot.

{15} MR. STACKOW: Well,

[16] respectfully, | disagree.

[17] THE COURT: What harm are you

[18] trying to prevent by locking him up?

[19] MR. STACKOW: Further contact

{20} to the complaining witness. He's now what |
[21] would characterize as in a desperate

] situation. He thought up until ten a.m. this
morning that he had gotten away with it, that
he wasn't going to show up. Once she takes

[1]
[2] jury everything about their relationship,
[3] knows that he's found and that, | believe,**:
[4] makes him even more dangerous than it'di
[5] this time yesterday.
[6] THE COURT: Why would he be
[7] dangerous to complainant? She's already
[8] testified and her testimony is preserved.
[9] There's nothing he can do about it.
[10] MR. STACKOW: Well, I'd like
[11] her life to be preserved as well. It's just
[12] not her testimony.
[13] THE COURT: Don't say a word.
[14] You didn't represent that there were any
[15] threats. What | heard was he was telling her
[16] don’t come to court tomorrow because it will
[17] be bad for her.
[18] MR. STACKOW: | think it's
[19] implied, at least a threat to some degree,
*20] that if | lose, you lose.
[21] THE COURT: Right. Ifllose, |
[22] you lose. If I lose, I'm not going to be able
[23] to support the child, I'm not going to be able
[24] to take care of John-John. There's nothing
[£5] that you have stated to the Court that implies

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being. And I've entered
hat he's not to have any

's to:stay away. lf you violate
[5] the order, you go to jail. Do you understand

[6] that?

17] THE DEFENDANT: Yes, sir.

[8] THE COURT: Okay. So with

[9] that, is there anything else?

[10] MR. STACKOW: Just one further

[11] request, that the defendant be ordered not to
[12] leave for five minutes just to give Ericka and
{13] her mother a little bit of a head start.

[14] THE COURT: All right. Mr.

[15] McGill and his client will stay here until

[16] five o'clock.

(17] MR. STACKOW: Thank you, Your
[18] Honor. :

[19] THE COURT: And at five o'clock
[20] they can leave. .

[21] MR. STACKOW: Very good. |

[22] appreciate that.

[23] THE COURT: Anything else?

[24] MR. McGILL: No, Judge. |

[25] would just like Mr. Stackow to remain so they
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I1] [1}

[2] could try to work out the stipulation for the : [2] CERTIFICATION.

[3] detective's testimony. . 1B] | HEREBY CERTIFY that the

[4] THE COURT: Well, first he has [4] proceedings and evidence are contained fully

[5] to tell them that they're free to go. [5] and accurately in the stenographic notes taken

[6] MR. McGILL: That's fine. [6] by me upon the foregoing matter on March 11,

[7] THE COURT: And then he can [7] 2010, and that this is a correct transcript of

[8] come back in and whatever the stipulation is, [8] same.

[9] you can try to work it out. Anything else? [9]

[10] MR. STACKOW: That's it. [10]

[11] COURT CRIER: With that, Your : [11]

[12] Honor, that completes your list. May | [12] Carl G. Sokolski.

[13] adjourn court until fomorrow morning nine a.m. Official Court Reporter.

[14] to the call of the crier. [13]

[15] 7 [14] .,

[16] (Trial concluded.) [15} The foregoing certification of

[17] --- [16] this transcript does not apply to any

[18] [17] reproduction of the same by any means unless

[19] [18] under the direct control and/or supervision of

[20] [19] the certifying reporter.

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